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 2   21250 Hawthorne Boulevard, Suite 500
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 9   TRAVIS A. CORDER (SBN 237575)
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12   Email: travisacorder@gmail.com

13   Attorneys for the Plaintiffs, THE AFFILIATI
     NETWORK, LLC And SANJAY PALTA
14
                                 UNITED STATES BANKRUPTCY COURT
15
                                  CENTRAL DISTRICT OF CALIFORNIA
16
                                   SAN FERNANDO VALLEY DIVISION
17
     In re JOSEPH WANAMAKER,                       )       CASE NO. 1:20-bk-10026-VK
18                                                 )
                                 Debtor.           )       [Chapter 7]
19   ________________________________________      )
     THE AFFILIATI NETWORK, LLC, A Delaware        )       Adv. Case No.: 1:22-ap-01038-VK
20   Corporation, Previously known as, THE         )
     AFFILIATI NETWORK, INC., a Florida            )       DISCLOSURES    PURSUANT    TO
                                                   )       FEDERAL RULE OF BANKRUPTCY
21   Corporation, and SANJAY PALTA, an             )       PROCEDURE, RULE 7026(a)(1) BY
     individual,                                   )       THE PLAINTIFFS, THE AFFFILIATI
22                                                 )       NETWORK, LLC AND SANJAY
                                    Plaintiffs,    )       PALTA
23                                                 )
     v.                                            )
24                                                 )
     JOSEPH WANAMAKER, an individual;              )
25                                                 )
                                                   )
26                                  Defendant.

27   TO THE DEFENDANT JOSEPH WANAMAKER, AND HIS COUNSEL OF RECORD:
28
            COMES NOW the Plaintiffs, THE AFFILIATI NETWORK, INC. (“Affiliati”) and SANJAY

                                                       1
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 1   PALTA (“Palta”) (Affiliati and Palta are hereinafter collectively referred to as “Plaintiffs,” unless

 2   otherwise stated), and they hereby make the following disclosures pursuant to Federal Rule of
 3
     Bankruptcy Procedures, Rule 7026 and Federal Rule of Civil Procedure 26(a)(1) in the above-
 4
     referenced adversary actions.
 5
             These disclosures are made without prejudice to the Plaintiffs’ rights to amend these
 6

 7   disclosures based on discovery of new or additional information, and without prejudice to the

 8   Plaintiffs rights to present new or differing evidence at trial based on additional facts and
 9   information obtained through discovery, review of the law, and the arguments presented by the
10
     Defendant Joseph Wanamaker (“Debtor”).
11
             Accordingly, and based on the foregoing, the Plaintiff makes the following disclosures:
12
        A.        INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION:
13

14           Pursuant to FRBP 7026(a)(1)(A), the following individuals may have discoverable

15   information that the Plaintiffs may use to support their claims:
16           1.     Joseph Wanamaker, 10063 Riverside Dr #2656, Toluca Lake, CA 91610, Ph.
17                  Unknown:

18                  Joseph Wanamaker (“Debtor” or “Defendant”) is the Debtor in the bankruptcy
                    case and the Defendant in this adversary action. He has knowledge of the claims
19                  presented in the Complaint. Specifically, he has knowledge of the fraud
                    perpetrated against the Plaintiffs at the time that Plaintiffs entered into the
20
                    contract (“IO”) with the Debtor and FitCrewUSA, Inc. (“Fitcrew”) provide
21                  services, the fraudulent transfers of assets, including, but not limited to, funds
                    generated by the IO from one corporate entity to another to avoid paying Affiliati
22                  on the IO, the transfer of FitCrew’s business and corporate assets to and through
                    other entities owned and controlled by the Debtor, including, but not limited to,
23                  Ship Plus Logistics, Inc. (“Ship Plus”), UR Media Group, Inc. (“UR Media”), and
24                  Direct Media Sales, Inc. (Direct Media”), and dozens of other corporate entities,
                    including, but not limited to, entities identified in Exhibit “1” to the Complaint,
25                  the use of funds generated pursuant to the IO to pay for Debtor’s luxury life style,
                    and renovations to the residence he purchased at 4070 Wilkinson Avenue, Studio
26                  City, CA 91604 (“Subject Property”), for the deposit and down payment for the
                    Debtor to purchase the Subject Property and to subsequently make all of the
27
                    mortgage payments. He also has knowledge about the falsification of
28                  information contained in his bankruptcy schedules, including, but not limited to
                    providing false information concerning liens against the Subject Property

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 1              allegedly held by Ship Plus and Ron Thomas (“Thomas”), the source of funds
                used for the deposit and down payment for the Subject Property, the source of
 2              funds the Debtor used to pay the monthly mortgage paymenst on the Angel Oak
 3              mortgage, the failure to list his interests in corporate entities which he owns or
                controls, his failure to accurately list his income, and to produce records of his
 4              business affairs and transactions that he engaged in pre- and post-petition,
                including, but not limited to, transactions with insiders including, but not limited
 5              to, Christine Naud, Jeffrey Scott, Patrick Merrigan. Also, the Debtor may have
                discoverable information about each of the allegation in the Plaintiffs’ complaint
 6
                and in regard to each of the Defendant’s answers to the allegations in the
 7              complaint as well as his affirmative defenses.

 8        2.    Christine Naud, 22500 Jeffrey Mark Court, Unit 5, Chatworth, CA 91311, Ph.
                Unknown:
 9

10              Christine Naud (“Naud”) is the Debtor’s first cousin and one of two primary co-
                conspirators who assisted the Debtor in his operation of a corporate shell game
11              and fraud scheme the Debtor utilizes to obtain services from creditors and to hide
                his assets, including, but not limited to, attempting to hide his assets in various
12              corporate entities the Debtor has operated or continues to operate. He uses Naud
                as a shill owner in an effort to hide his ownership in the corporate entities and
13
                their assets, and to assert false liens in favor of Ship Plus to interfere with and
14              hide equity in the Subject Property from the Chapter 7 Trustee and his creditors,
                primarily the Plaintiffs. Naud has knowledge of the Debtor’s affairs, in addition
15              to conspiring with the Debtor to hide his assets and to defraud creditors,
                including, but not limited to, the Plaintiffs, she is the office manager for the
16              Debtor’ various business entities and is responsible for maintaining the bank
17              accounts for the various entities through which the Debtor transfers funds for his
                own benefit. She may have discoverable information about each of the allegation
18              in the Plaintiffs’ complaint and in regard to each of the Defendant’s answers to
                the allegations in the complaint as well as the Defendant’s affirmative defenses.
19
          3.    Jeffrey Scott, address and phone number are unknown:
20

21              Jeffrey Scott (“Scott”) is the alleged former spouse of the Debtor. Scott withdrew
                substantial sums of money in cash from various bank accounts of FitCrew, and
22              other entities at the time the Debtor was defrauding the Plaintiffs and then used
                those funds, generated pursuant to the IO, for personal use, to pay personal living
23              expenses, and to move funds from FitCrew to and through other entities to avoid
24              paying Affiliati to benefit himself and the Debtor. Scott worked at FitCrew and
                Debtor’s other entities and has knowledge of the Debtor’s fraud scheme and
25              assisted the Debtor in creating and recording false liens in favor of Ship Plus and
                Thomas against the Subject Property. He may have discoverable information
26              about each of the allegation in the Plaintiffs’ complaint and in regards to each of
                the Defendant’s answers to the allegations in the complaint as well as the
27
                Defendant’s affirmative defenses.
28
          4.    Patrick Merrigan, The Tax Consultants, 14081 Yorba Street, Suite 214, Tustin,

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 1              CA 92780, Ph. (714) 361-9580:
 2              Patrick Merrigan (“Merrigan”) is the CPA for the Debtor’s entities and is an
 3              officer of Ship Plus, UR Media, FitCrew, and numerous other entities identified in
                Exhibit “1” to the Complaint. He is assisting the Debtor in the corporate fraud
 4              scheme to transfer assets through the various corporate entities controlled by the
                Debtor to assist him in avoiding payment of creditors, including, but not limited
 5              to the Plaintiffs. Merrigan is responsible for keeping the financial books and
                records of business entities that the Debtor uses in his fraud scheme, has
 6
                knowledge of the fraudulent transfers, and funds received by the Debtor as part of
 7              that scheme and as an officer of Ship Plus. He may have discoverable information
                about each of the allegation in the Plaintiffs’ complaint and in regard to each of
 8              the Defendant’s answers to the allegations in the complaint as well as the
                Defendant’s affirmative defenses.
 9

10        5.    Ron Thomas, 8722 Ashcroft, Los Angeles, CA 90048, Ph. (310) 650-7115:

11              Ron Thomas (“Thomas”) held a third trust deed against the Subject Property
                based on a false lien that the Debtor asserted against the Subject Property.
12              Thomas is also the real estate agent who assisted the Debtor in purchasing the
                Subject Property with the use of funds fraudulently transferred by the Debtor for
13
                the down payment for the Debtor to purchase the Subject Property. He may have
14              discoverable information about each of the allegation in the Plaintiffs’ complaint
                and in regard to each of the Defendant’s answers to the allegations in the
15              complaint as well as the Defendant’s affirmative defenses.
16        6.    Blair Eldridge, Truss Financial Group, 26381 Crown Valley Parkway, Ste #231D,
17              Mission Viejo, CA 92691, Ph. (949) 244-5502:

18              Blair Eldridge (“Eldridge”) is the mortgage broker at Truss Financial Group
                “Truss”) who assisted the Debtor in obtaining a mortgage for the Debtor to
19              purchase the Subject Property on or about April 26, 2017, from Angel Oak
                Mortgage Solutions, LLC (“Angel Oak”) and in preparing the Debtor’s loan
20
                application. May have discoverable information about each of the allegation in the
21              Plaintiff’s complaint and in regard to each of the Defendant’s answers to the
                allegations in the complaint as well as the Defendant’s affirmative defenses.
22
          7.    Donna Reina, Encore Escrow Company, Inc., 15300 Ventura Boulevard, Suite
23              202, Sherman Oaks, CA 91403, Ph. (818) 981-9814;
24
                Donna Reina (“Reina”) is the escrow officer at Encore Escrow Company, who
25              was responsible for overseeing the escrow for the Debtor’s purchase of the
                Subject Property. The escrow closed on April 26, 2017. She may have
26              discoverable information about each of the allegation in the Plaintiffs’ complaint
                and in regard to each of the Defendant’s answers to the allegations in the
27
                complaint as well as the Defendant’s affirmative defenses.
28
          8.    Sanjay Palta, The Affiliati Network, LLC, 1521 Alton Road #160, Miami FL

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 1              33139, Ph. (305) 767-3173;
 2              Palta is the CEO of Affiliati and has knowledge of the negotiations for the IO
 3              with the Debtor and Naud, services provided by Affiliati pursuant to the IO, the
                Debtor’s breach of the IO, Affiliati’s collection efforts on the judgment in the
 4              Florida Actions, monies paid and owed by the Debtor and FitCrew under the IO,
                invoices not paid for services rendered, the breach of the settlement agreement in
 5              the first Florida Action, monies owed on the original and amended proofs of claim
                filed in the Debtor’s bankruptcy case. He may have discoverable information
 6
                about each of the allegation in the Plaintiffs’ complaint and in regard to each of
 7              the Defendant’s answers to the allegations in the complaint as well as the
                Defendant’s affirmative defenses.
 8
          9.    Ruben E. Socarras, Chane Socarras, PLLC, 327 Plaza Real Blvd., Suite 217 Boca
 9              Raton, FL 33432, Ph. (561) 609-3190;
10
                Counsel for the Plaintiffs in the First and Second Florida Actions filed in the
11              United States District Court, Southern District of Florida, and Co-counsel for the
                Plaintiffs in the California Action, Case No. 21STCV33193. Hemay have
12              discoverable information about each of the allegation in the Plaintiffs’ complaint
                and in regard to each of the Defendant’s answers to the allegations in the
13
                complaint as well as the Defendant’s affirmative defenses.
14
          10.   David P. Reiner, II, Reiner & Reiner, P.A., 9100 South Dadeland Blvd., Suite
15              901, Miami, FL 33156, Ph. (305) 670-8282;
16              Counsel for the Plaintiffs in the First and Second Florida Actions filed in the
17              United States District Court, Southern District of Florida, and counsel in this
                adversary proceeding. He may have discoverable information about each of the
18              allegation in the Plaintiffs’ complaint and in regard to each of the Defendant’s
                answers to the allegations in the complaint as well as the Defendant’s affirmative
19              defenses.
20
          11.   Daniel J. McCarthy, Hill, Farrer & Burrill, LLP, One California Plaza, 300 S.
21              Grand Avenue, 37th Floor, Los Angeles, CA FL 90071, Ph. (213) 620-0460;

22              Co-Counsel for the Plaintiffs in the California Action, Case No. 21STCV33193.
                May have discoverable information about each of the allegation in the Plaintiffs’
23              complaint and in regards to each of the Defendant’s answers to the allegations in
24              the complaint as well as the Defendant’s affirmative defenses.

25        12.   John J. Menchaca, CPA, Menchaca & Company, LLP, 835 Wilshire Boulevard,
                Suite 300, Los Angeles, CA 90017, Ph. (213) 683-3317:
26
                John Menchaca provided accounting services in connection with various matters,
27
                in the main bankruptcy case including, but not limited to, 2004 examination
28              motions, motions by the Plaintiffs to compel further production of records
                pursuant to subpoenas for 2004 examination motions, oppositions to the motion to

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 1              sell the Subject Property, the opposition to Naud’s motions for protective order.
                He may have discoverable information about each of the allegation in the
 2              Plaintiffs’ complaint and in regard to each of the Defendant’s answers to the
 3              allegations in the complaint as well as the Defendant’s affirmative defenses.

 4        13.   Stephen M. Goodman, Esq., Law Offices of Stephen M. Goodman, 9550 Warner
                Avenue, Suite 250, Fountain Valley, CA 92708, Ph. (714) 596-2303:
 5
                Former Counsel for the Debtor in the main bankruptcy case. He may have
 6
                discoverable information about some of the allegations in the Plaintiffs’
 7              complaint and in regard to each of the Defendant’s answers to the allegations in
                the complaint as well as the Defendant’s affirmative defenses.
 8
          14.   Peter M. Lively, Esq., Law Office of Peter M. Lively, 11268 Washington
 9              Boulevard, Suite 203, Culver City, CA 90230-4647, Ph. (310) 391-2400:
10
                Counsel for the Debtor in the main bankruptcy case. He may have discoverable
11              information about some of the allegations in the Plaintiffs’ complaint and in
                regard to each of the Defendant’s answers to the allegations in the complaint as
12              well as the Defendant’s affirmative defenses.
13
          15.   David Brian Lally, Esq., Law Office of David B. Lally, P.O. Box 355,
14              Wilmington, N.Y. 12997, Ph. (949) 500-7409:

15              Former counsel for the Debtor and Naud in the main bankruptcy case. He may
                have discoverable information about some of the allegations in the Plaintiffs’
16              complaint and in regard to each of the Defendant’s answers to the allegations in
17              the complaint as well as the Defendant’s defenses to the Complaint.

18        16.   Brian P. Ballo, Esq., Law Office of Brian Ballo, 120 Vantis, Suite 300, Aliso
                Viejo, CA 92656, Ph. (949) 690-4100:
19
                Counsel for Merrigan in the California Action, Case No. 21STCV33193. He may
20
                have discoverable information about some of the allegation in the Plaintiffs’
21              complaint and in regard to each of the Defendant’s answers to the allegations in
                the complaint as well the Defendant’s defenses to the Complaint.
22
          17.   Christopher L. Frost, Esq., Weinberg Gonser Frost LLP, 10866 Wilshire
23              Boulevard, Suite 1650, Los Angeles, CA 90024, Ph. (424) 239-2850:
24
                Counsel for Ship Plus in the California Action, Case No. 21STCV33193 and for
25              Ship Plus in the Debtor’s bankruptcy case. He may have discoverable
                information about some of the allegations in the Plaintiffs’ complaint and in
26              regards to each of the Defendant’s answers to the allegations in the complaint as
                well as the Defendant’s defenses to the Complaint.
27

28        18.   Amy L. Goldman, Chapter 7 Trustee, 633 W 5th Street, Suite 4000, Los Angeles,
                CA 90071, Ph. (213) 250-1800:

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 1
                    Chapter 7 Trustee for the Debtor’s bankruptcy estate. She may have discoverable
 2                  information regarding the Debtor’s failure to disclose information relevant to the
 3                  disclosures made in the Debtor’s original petition and in the amendments to the
                    petition. She may have discoverable information about some of the allegations in
 4                  the Plaintiffs’ complaint and in regard to each of the Defendant’s answers to the
                    allegations in the complaint as well as the Defendant’s defenses to the Complaint.
 5
            19.     Leonard Pena, Esq., Pena & Soma, Apc, 402 South Marengo Avenue, Suite B,
 6
                    Pasadena, CA 91101, Ph. (626) 396-4000:
 7
                    Counsel for the Chapter 7 Trustee in the main bankruptcy case. He may have
 8                  discoverable information about some of the allegation in the Plaintiffs’ complaint
                    and in regard to each of the Defendant’s answers to the allegations in the
 9                  complaint as well as the Defendant’s defenses to the Complaint.
10
            B.      DISCLOSURE OF DOCUMENTS:
11
            Pursuant to FRBP 7026(a)(1)(B), Plaintiffs provide with these disclosures a list
12
     identifying pleadings, declarations, proofs of claims, and other relevant evidence filed in the
13

14   main bankruptcy case and in this adversary action, that may be used to support the causes of

15   action in the complaint. The list of supporting documents is attached hereto as Exhibit “1.”
16          C.      A COMPUTATION OF CATEGORIES OF DAMAGES:
17
            Pursuant to FRBP 7026(a)(1)(C), Plaintiffs hereby calculates their damages as follows:
18
            1.      There is no calculation of damages in regard to the claims for relief in the
19
     complaint, and all of which seek to bar the Defendant’s discharge of Plaintiffs’ individual debt
20

21   under 11 U.S.C. §523 or generally under 11 U.S.C. §727.

22          D.      INSURANCE AGREEMENTS.
23          Pursuant to FRBP 7026(a)(1)(C), the Plaintiffs disclose that they are not aware of any
24
     insurance policies under which any person carrying on an insurance business may be liable to
25
     satisfy part or all of any judgment which may be entered in this action or to indemnify or
26
     reimburse for payments made to satisfy the judgment.
27

28   Dated: October 17, 2022              LAW OFFICES OF BRETT CURLEE
                                          BRETT B. CURLEE

                                                     7
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 1

 2

 3                                By:_____________________________
                                               Brett B. Curlee
 4                                Attorney for Plaintiff, WESLEY H.
                                  AVERY, as Chapter 7 Trustee for the
 5                                Bankruptcy Estate of Norma Barriga
                                  Rodriguez
 6

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 1                            PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
 3    My business address is: Law Offices Of Brett Curlee, 21250 Hawthorne Boulevard,
     Suite 500, Torrance, CA 90503.
 4
     A true and correct copy of the foregoing document entitled: DISCLOSURES
 5   PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE, RULE 7026(a)(1)
     BY THE PLAINTIFFS, THE AFFFILIATI NETWORK, LLC AND SANJAY PALTA will be
 6   served or was served (a) on the judge in chambers in the form and manner
     required by LBR 5005-2(d); and (b) in the manner stated below:
 7
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
 8   Pursuant to controlling General Orders and LBR, the foregoing document will be served
     by the court via NEF and hyperlink to the document. On October 17, 2022, I checked the
 9
     CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
10   the following persons are on the Electronic Mail Notice List to receive NEF transmission
     at the email addresses stated below:
11
        •   Attorney for Movants: Brett B Curlee      brett.curlee@thecurleelawfirm.com
12
        •   Chapter 7 Trustee: Amy L Goldman (TR)
13          marisol.jaramillo@lewisbrisbois.com,
            AGoldman@iq7technology.com;ecf.alert+Goldman@titlexi.com
14
        •   Attorney for Movants: Stella A Havkin      stella@havkinandshrago.com,
15
            shavkinesq@gmail.com
16
        •   Creditor’s Counsel: David P Reiner       dpr@reinerslaw.com,
17          eservice@reinerslaw.com
18      •   United States Trustee: United States Trustee (SV)
19          ustpregion16.wh.ecf@usdoj.gov
                                                      Service information continued on attached page
20
     2. SERVED BY UNITED STATES MAIL: On October 17, 2022, I served the following
21
     persons and/or entities at the last known addresses in this bankruptcy case or adversary
22   proceeding by placing a true and correct copy thereof in a sealed envelope in the United
     States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
23   constitutes a declaration that mailing to the judge will be completed no later than 24
     hours after the document is filed.
24

25   Bankruptcy Court Judge:
     Honorable Victoria S. Kaufman
26   United States Bankruptcy Court
     Central District of California
27   21041 Burbank Boulevard, Suite 354
     Woodland Hills, CA 91367
28                                                    Service information continued on attached page


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 1
     3.     SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
 2   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant
 3   to F.R.Civ.P. 5 and/or controlling LBR, on ________, I served the following persons
     and/or entities by personal delivery, overnight mail service, or (for those who consented
 4   in writing to such service method), by facsimile transmission and/or email as follows.
     Listing the judge here constitutes a declaration that personal delivery on, or overnight
 5   mail to, the judge will be completed no later than 24 hours after the document is filed.
 6                                                Service information continued on attached page
 7
     I declare under penalty of perjury under the laws of the United States that the foregoing
 8   is true and correct.

 9    October 14, 2022          Stella Havkin                  /s/ Stella Havkin
      Date                 Printed Name                        Signature
10

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Litigants                                                  Attorneys
c/o David B. Lally, Esq.                                   Weinber Gonser LLP
P.O. Box 355                                               10866 Wilshire Blvd.,Suite 1650
Wilmington, NY 12997                                       Beverly Hills, CA 90024
TAXID / EIN:                                               Phone: 424-239-2850
Added: 07/23/2021                                           Assigned: 09/09/21;
Attorney                                                   Email: Chris@weinberg-gonser.com
                                                           Attorney

                                                           Peter M Lively
                                                           The Law Offices of Peter M Lively
                                                           11268 Washington Blvd Ste 203
                                                           Culver City, CA 90230-4647
                                                           Phone: 310-391-2400
                                                            Assigned: 04/06/22;
                                                           Email: PeterMLively2000@yahoo.com

                                                           Leonard Pena
                                                           Pena & Soma, Apc
                                                           402 South Marengo Ave.,Suite B
                                                           Pasadena, CA 91101
                                                           Phone: 626-396-4000
                                                            Assigned: 09/09/21;
                                                           Email: lpena@penalaw.com

                                                           David B Lally
                                                           Law Office of David B. Lally
                                                           PO Box 355
                                                           Wilmington, NY 12997
                                                           Phone: 949-500-7409
                                                            Assigned: 07/23/21; TERMINATED: 02/07/22
                                                           Email: davidlallylaw@gmail.com
American Express National Bank c/o Zwicker & Associates,   Katie E Hankard
P.C.                                                       Zwicker and Associates PC
80 Minuteman Road                                          80 Minuteman Rd POB 9043
P.O. Box 9043                                              Andover, MA 01810-1041
Andover, MA 01810-1041                                     Phone: 866-367-9942
TAXID / EIN:                                                Assigned: 01/14/20;
Phone: 877214-4172                                         Email: bknotices@zwickerpc.com
Email: bknotices@zwickerpc.com                             Creditor
Added: 01/14/2020
Creditor
Sanjay Palta                                               Travis A Corder
c/o Ruben Socarras                                         Corder Law Office
327 Plaza Real Boulevard,Suite 217                         815 Moraga Dr Ste 300
Boca Raton, FL 33432                                       Los Angeles, CA 90049
TAXID / EIN:                                               Phone: 310-775-5762
Phone: 561 609-3190                                         LEAD ATTORNEY; Assigned: 05/03/22;
Email: RSocarras@cslawfl.com                               Creditor
Added: 02/20/2020
Creditor                                                   Brett B Curlee
                                                           Law Offices of Brett Curlee
                                                           21250 Hawthorne Boulevard,Suite 500
                                                           Torrance, CA 90503
                                                           Phone: 310-203-3084
                                                            Assigned: 02/20/20;
                                                           Email: brett.curlee@thecurleelawfirm.com

                                                           Stella A Havkin
                                                           Havkin & Shrago
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Litigants                                                    Attorneys
                                                             5950 Canoga Avenue, Suite 400
                                                             Woodland Hills, CA 91367
                                                             Phone: 818-999-1568
                                                              Assigned: 02/27/21;
                                                             Email: stella@havkinandshrago.com
Reiner & Reiner PA                                           David P Reiner, II
9100 South Dadeland Blvd                                     Reiner & Reiner, P. A.
Suite 901                                                    9100 South Dadeland Blvd.,Suite 901
Miami, FL 33156                                              Miami, FL 33156
TAXID / EIN:                                                 Phone: 305-670-8282
Phone: 3056708282                                             Assigned: 03/30/20;
Fax: 3056708989 fax                                          Email: dpr@reinerslaw.com
Email: dpr@reinerslaw.com                                    Creditor
Added: 03/30/2020
Creditor
The Affiliati Network, Inc.                                  Travis A Corder
c/o Ruben Socarras                                           Corder Law Office
327 Plaza Real Boulevard,Suite 217                           815 Moraga Dr Ste 300
Boca Raton, FL 33432                                         Los Angeles, CA 90049
TAXID / EIN:                                                 Phone: 310-775-5762
Phone: 561 609-3190                                           LEAD ATTORNEY; Assigned: 05/03/22;
Email: RSocarras@cslawfl.com                                 Creditor
Added: 02/20/2020
Creditor                                                     Brett B Curlee
                                                             Law Offices of Brett Curlee
                                                             21250 Hawthorne Boulevard,Suite 500
                                                             Torrance, CA 90503
                                                             Phone: 310-203-3084
                                                              Assigned: 02/20/20;
                                                             Email: brett.curlee@thecurleelawfirm.com

                                                             Stella A Havkin
                                                             Havkin & Shrago
                                                             5950 Canoga Avenue, Suite 400
                                                             Woodland Hills, CA 91367
                                                             Phone: 818-999-1568
                                                              Assigned: 02/27/21;
                                                             Email: stella@havkinandshrago.com
WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT IN ITS             Sean C Ferry
INDIVIDUAL CAPACITY BUT SOLELY AS OWNER                      Robertson, Anschutz, Schneid & Crane LLP
TRUSTEE FOR DEEPHAVEN RESIDENTIAL MORTGAGE                   350 10th Avenue,Suite 1000
TRUST 2017-3                                                 San Diego, CA 92101
TAXID / EIN:                                                 Phone: 561-241-6901
Added: 09/21/2020                                             Assigned: 09/21/20;
Creditor                                                     Email: sferry@raslg.com
                                                             Creditor
Wilmington Savings Fund Society, FSB, d/b/a Christiana       Sean C Ferry
Trust, not individually but as trusteefor Pretium Mortgage   Robertson, Anschutz, Schneid & Crane LLP
Acquisition Trust                                            350 10th Avenue,Suite 1000
c/o Robertson, Anschutz & Schneid, LLP                       San Diego, CA 92101
350 10th Avenue, Suite 1000                                  Phone: 561-241-6901
San Diego, CA 92101                                           Assigned: 04/28/21;
TAXID / EIN:                                                 Email: sferry@raslg.com
Added: 04/28/2021                                            Creditor
Creditor
Ronald Thomas                                                Barry R Wegman
TAXID / EIN:                                                 Law Offices of Barry R Wegman
Added: 09/10/2021                                            7506 Collett Ave
Creditor                                                     Van Nuys, CA 91406
    Case 1:22-ap-01038-VK   Doc 29 Filed 10/17/22 Entered 10/17/22 17:09:41 Desc
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Litigants                                    Attorneys
                                             Phone: 818-507-9312
                                              Assigned: 09/10/21;
                                             Email: brweg@sbcglobal.net
                                             Creditor
Joseph Wanamaker                             Peter M Lively
10063 Riverside Dr #2656                     The Law Offices of Peter M Lively
Toluca Lake, CA 91610                        11268 Washington Blvd Ste 203
SSN / ITIN: xxx-xx-1877                      Culver City, CA 90230-4647
TAXID / EIN:                                 Phone: 310-391-2400
Added: 01/07/2020                             Assigned: 06/05/20;
Debtor                                       Email: PeterMLively2000@yahoo.com
                                             Debtor

                                             Stephen M Goodman
                                             Law Office of Stephen M Goodman
                                             9550 Warner Ave Ste 250
                                             Fountain Valley, CA 92708
                                             Phone: 714-596-2303
                                              Assigned: 01/07/20; TERMINATED: 06/05/20
                                             Email: info@smgoodmanlaw.com

                                             David B Lally
                                             Law Office of David B. Lally
                                             P.O. Box 355,12997
                                             Wilmington, NY 12997
                                             Phone: 949-500-7409
                                              Assigned: 10/07/21; TERMINATED: 02/07/22
                                             Email: davidlallylaw@gmail.com
Coldwell Banker Realty
TAXID / EIN:
Added: 08/04/2021
Broker
Courtesy NEF                                 Shraddha Bharatia
TAXID / EIN:                                 Becket and Lee LLP
Added: 01/08/2020                            PO Box 3001
Interested Party                             Malvern, PA 19355-0701
                                             Phone: 610-644-7800
                                              Assigned: 04/13/20;
                                             Email: notices@becket-lee.com
                                             Interested Party

                                             Jeffrey D Cawdrey
                                             Gordon & Rees, LLP
                                             101 W Broadway,Suite 2000
                                             San Diego, CA 92122
                                             Phone: 619 696-6700
                                              Assigned: 08/30/22;
                                             Email: jcawdrey@grsm.com

                                             Chris L Frost
                                             Weinberg Gonser LLP
                                             10866 Wilshire Blvd,Suite 1650
                                             Los Angeles, CA 90024
                                             Phone: 424-239-2850
                                              Assigned: 10/04/21;
                                             Email: Chris@weinberg-gonser.com

                                             Valerie Smith
    Case 1:22-ap-01038-VK             Doc 29 Filed 10/17/22 Entered 10/17/22 17:09:41 Desc
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                                             1:20bk10026, Joseph Wanamaker

Litigants                                                     Attorneys
                                                              PRA Receivables Management LLC
                                                              130 Corporate Blvd
                                                              Norfolk, VA 23502
                                                              Phone: 757-519-9300
                                                               Assigned: 01/08/20;
                                                              Email: claims@recoverycorp.com
SLBIGGS
TAXID / EIN:
Added: 05/12/2021
Accountant
SLBiggs
10960 Wilshire Boulevard
7th Floor
Los Angeles, CA 90024
TAXID / EIN:
Phone: 310-477-3924
Fax: 310-478-6070 fax
Email: lnuzzi@slbiggs.com
Added: 04/20/2021
Accountant
Amy L Goldman (TR)                                            Leonard Pena
633 W 5th Street, Suite 4000                                  Pena & Soma, Apc
Los Angeles, CA 90071                                         402 South Marengo Ave.,Suite B
TAXID / EIN:                                                  Pasadena, CA 91101
Phone: 213 250-1800                                           Phone: 626-396-4000
Email: marisol.jaramillo@lewisbrisbois.com                     Assigned: 10/09/20;
Added: 01/07/2020                                             Email: lpena@penalaw.com
Trustee                                                       Trustee
United States Trustee (SV)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017
TAXID / EIN:
Phone: 213 894-6811
Email: ustpregion16.wh.ecf@usdoj.gov
Added: 01/07/2020
U.S. Trustee


Schedule
Document     Deadline/Hearing     Event          Due/Set            Satisfied    Terminate     Hearing Judge
No                                Filed                             Date         d
1            AttyDisclArrangmt    01/07/2020     01/21/2020                      01/07/2020
             (LBR F2090-1)
1            BPP Ntc. Dcl.        01/07/2020     01/21/2020                      01/07/2020
             Sign. (Form 119)
1            Corp Resolut Auth    01/07/2020     01/21/2020                      01/07/2020
             File
1            CorpOwnershipSt      01/07/2020     01/21/2020                      01/07/2020
             at(LBR F1007-4)
1            Dcl Db Emp           01/07/2020     01/21/2020         01/16/2020
             Income(LBR
             F1002-1)
1            Decl Re Sched        01/07/2020     01/21/2020         01/07/2020
             (Form 106Dec)
1            Decl for Non-Indiv   01/07/2020     01/21/2020                      01/07/2020
             (Form 202)
1            Discl Comp of        01/07/2020     01/21/2020                      01/07/2020
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Document   Deadline/Hearing     Event        Due/Set         Satisfied    Terminate    Hearing Judge
No                              Filed                        Date         d
           BPP (Form 2800)
1          Discls Comp of       01/07/2020   01/21/2020      01/07/2020
           Atty(Form 2030)
1          Incomplete Filings   01/07/2020   01/21/2020                   01/16/2020
           Due
1          Means                01/07/2020   01/21/2020      01/14/2020
           Calculation(Form
           122A-2)
1          Means                01/07/2020   01/21/2020                   01/14/2020
           Exempt.(Form
           122A-1Supp)
1          Schd                 01/07/2020   01/21/2020      01/07/2020
           A/B(Form106A/B
           or 206A/B)
1          Schd                 01/07/2020   01/21/2020      01/14/2020
           E/F(Form106E/F
           or 206E/F)
1          Schedule C (Form     01/07/2020   01/21/2020      01/14/2020
           106C)
1          Schedule D (Form     01/07/2020   01/21/2020      01/14/2020
           106D or 206D)
1          Schedule G (Form     01/07/2020   01/21/2020      01/07/2020
           106G or 206G)
1          Schedule H (Form     01/07/2020   01/21/2020      01/07/2020
           106H or 206H)
1          Schedule I (Form     01/07/2020   01/21/2020      01/14/2020
           106I)
1          Schedule J (Form     01/07/2020   01/21/2020      01/14/2020
           106J)
1          Schedule J-2         01/07/2020   01/21/2020                   01/07/2020
           (Form 106J-2)
1          Sign. of Atty(Form   01/07/2020   01/21/2020                   01/07/2020
           101 or 201)
1          Statement (Form      01/07/2020   01/21/2020      01/14/2020
           122A-1)
1          StmtFinAffairs(For   01/07/2020   01/21/2020      01/14/2020
           m107 or 207)
1          StmtRelatedCase      01/07/2020   01/21/2020      01/16/2020
           s (LBR F1015-2)
1          Summary(Form         01/07/2020   01/21/2020      01/14/2020
           106Sum or
           206Sum)
1          Verif. of List of    01/07/2020   01/21/2020      01/08/2020
           Cred(Master)
1          Statement of         01/07/2020   02/06/2020      01/16/2020
           Intent (Form 108)
11         341 Meeting          01/07/2020   02/18/2020 at                02/21/2020
                                             09:30 AM
33         Hearing              02/20/2020   03/18/2020 at                03/19/2020   Kaufman, Victoria S.
                                             09:30 AM
35         341 Meeting          02/21/2020   03/23/2020 at                04/30/2020
                                             10:30 AM
41         Hearing              03/25/2020   04/16/2020 at                04/16/2020   Kaufman, Victoria S.
                                             02:00 PM
11         Cert. of Financial   01/07/2020   04/20/2020      10/06/2020
           Management
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Document    Deadline/Hearing   Event        Due/Set         Satisfied    Terminate    Hearing Judge
No                             Filed                        Date         d
11          Objection to       01/07/2020   04/20/2020
            Discharge Due
61          341 Meeting        04/30/2020   05/27/2020 at                05/27/2020
                                            10:30 AM
121         Government Proof   08/11/2020   07/06/2020
            of Claim
65          341 Meeting        05/27/2020   08/03/2020 at   08/11/2020
                                            10:30 AM
121         Proof of Claims    08/11/2020   11/16/2020
            Deadline
217         Show Cause         07/23/2021   09/23/2021 at                             Kaufman, Victoria S.
            Hearing                         01:30 PM
228         Hearing            08/23/2021   09/23/2021 at                             Kaufman, Victoria S.
                                            01:30 PM
232         Hearing            09/01/2021   09/23/2021 at                09/01/2021   Kaufman, Victoria S.
                                            01:30 PM
232         Hearing            09/01/2021   09/23/2021 at                09/24/2021   Kaufman, Victoria S.
                                            01:30 PM
275         Show Cause         09/24/2021   10/07/2021 at                             Kaufman, Victoria S.
            Hearing                         01:30 PM
241         Hearing            09/07/2021   10/21/2021 at                             Kaufman, Victoria S.
                                            01:30 PM
241         Hearing            09/07/2021   10/21/2021 at                10/13/2021   Kaufman, Victoria S.
                                            01:30 PM
            Hearing            10/13/2021   11/18/2021 at                             Kaufman, Victoria S.
                                            01:30 PM
323         Hearing            11/08/2021   12/23/2021 at                12/08/2021   Kaufman, Victoria S.
                                            01:30 PM
323         Hearing            11/08/2021   01/13/2022 at                01/18/2022   Kaufman, Victoria S.
                                            01:30 PM
339         Hearing            12/23/2021   01/13/2022 at                12/27/2021   Kaufman, Victoria S.
                                            01:30 PM
339         Hearing            12/23/2021   01/13/2022 at                01/18/2022   Kaufman, Victoria S.
                                            01:30 PM
323         Hearing            11/08/2021   01/27/2022 at                01/25/2022   Kaufman, Victoria S.
                                            01:30 PM
346         Hearing            12/30/2021   01/27/2022 at                01/04/2022   Kaufman, Victoria S.
                                            01:30 PM
346         Hearing            12/30/2021   01/27/2022 at                01/12/2022   Kaufman, Victoria S.
                                            01:30 PM
401         Hearing            02/28/2022   04/07/2022 at                03/16/2022   Kaufman, Victoria S.
                                            01:30 PM
401         Hearing            02/28/2022   04/07/2022 at                03/18/2022   Kaufman, Victoria S.
                                            01:30 PM
401         Hearing            02/28/2022   04/07/2022 at                04/15/2022   Kaufman, Victoria S.
                                            01:30 PM
401         Hearing            02/28/2022   04/14/2022 at                04/15/2022   Kaufman, Victoria S.
                                            01:30 PM
456         Status Hearing     04/07/2022   04/19/2022 at                             Mund, Geraldine
                                            10:00 AM
478         Hearing            04/24/2022   04/26/2022 at                             Kaufman, Victoria S.
                                            01:30 PM
478         Hearing            04/24/2022   04/26/2022 at                04/25/2022   Mund, Geraldine
                                            01:30 PM
478         Hearing            04/24/2022   04/26/2022 at                04/25/2022   Kaufman, Victoria S.
      Case 1:22-ap-01038-VK        Doc 29 Filed 10/17/22 Entered 10/17/22 17:09:41 Desc
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Document    Deadline/Hearing   Event        Due/Set         Satisfied   Terminate    Hearing Judge
No                             Filed                        Date        d
                                            01:30 PM
480         Hearing            04/24/2022   04/26/2022 at                            Kaufman, Victoria S.
                                            01:30 PM
480         Hearing            04/24/2022   04/26/2022 at               04/25/2022   Mund, Geraldine
                                            01:30 PM
440         Hearing            04/06/2022   04/27/2022 at               04/08/2022   Kaufman, Victoria S.
                                            02:30 PM
448         Hearing            04/06/2022   04/27/2022 at               04/08/2022   Kaufman, Victoria S.
                                            02:30 PM
469         Hearing            04/11/2022   05/12/2022 at                            Kaufman, Victoria S.
                                            01:30 PM
469         Hearing            04/11/2022   05/12/2022 at               04/26/2022   Kaufman, Victoria S.
                                            01:30 PM
471         Hearing            04/12/2022   05/12/2022 at               05/13/2022   Kaufman, Victoria S.
                                            01:30 PM
323         Hearing            11/08/2021   05/20/2022 at                            Kaufman, Victoria S.
                                            09:30 AM
440         Hearing            04/06/2022   05/24/2022 at               05/24/2022   Mund, Geraldine
                                            10:00 AM
446         Hearing            04/06/2022   05/24/2022 at               05/24/2022   Kaufman, Victoria S.
                                            10:00 AM
448         Hearing            04/06/2022   05/24/2022 at               05/24/2022   Mund, Geraldine
                                            10:00 AM
458         Hearing            04/07/2022   05/24/2022 at                            Mund, Geraldine
                                            10:00 AM
409         Hearing            03/27/2022   06/07/2022 at               05/24/2022   Kaufman, Victoria S.
                                            10:00 AM
409         Hearing            03/27/2022   06/07/2022 at               06/07/2022   Mund, Geraldine
                                            10:00 AM
430         Hearing            03/30/2022   06/07/2022 at               06/07/2022   Mund, Geraldine
                                            10:00 AM
440         Hearing            04/06/2022   06/07/2022 at               06/07/2022   Mund, Geraldine
                                            10:00 AM
446         Hearing            04/06/2022   06/07/2022 at               05/24/2022   Kaufman, Victoria S.
                                            10:00 AM
446         Hearing            04/06/2022   06/07/2022 at               06/07/2022   Mund, Geraldine
                                            10:00 AM
448         Hearing            04/06/2022   06/07/2022 at               06/07/2022   Mund, Geraldine
                                            10:00 AM
520         Hearing            05/24/2022   06/07/2022 at                            Mund, Geraldine
                                            10:00 AM
545         Hearing            07/26/2022   08/17/2022 at                            Kaufman, Victoria S.
                                            09:30 AM
545         Hearing            07/26/2022   08/17/2022 at               07/26/2022   Kaufman, Victoria S.
                                            09:30 AM
563         Ntc of Intent to   08/30/2022   09/06/2022
            Req Redaction
563         Redaction          08/30/2022   09/20/2022
            Request Due
563         Redacted           08/30/2022   09/30/2022
            Transcript
            Submission
563         Release            08/30/2022   11/28/2022
            Transcript
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Associated Cases
Case                                        Associated Case                                 Type
1:20-bk-10026-VK Joseph Wanamaker           1:21-ap-01060-VK Goldman v. Thomas et al        Adversary
                                            closed
1:20-bk-10026-VK Joseph Wanamaker           1:21-ap-01062-VK Goldman v. Ship Plus           Adversary
                                            Logistics et al closed
1:20-bk-10026-VK Joseph Wanamaker           1:21-ap-01063-VK The Affiliati Network, LLC     Adversary
                                            et al v. Naud et al closed
1:20-bk-10026-VK Joseph Wanamaker           1:22-ap-01038-VK The Affiliati Network, LLC     Adversary
                                            et al v. Wanamaker


Proceedings

#       Date             Proceeding Text                                                    Source
1       01/07/2020       Chapter 7 Voluntary Petition for Individuals . Fee Amount $335
                         Filed by Joseph Wanamaker Statement of Intention for Individuals
                         Filing Under Chapter 7 (Form 108) due 02/6/2020. Summary of
                         Assets and Liabilities (Form 106Sum or 206Sum ) due
                         01/21/2020. Schedule A/B: Property (Form 106A/B or 206A/B)
                         due 01/21/2020. Schedule C: The Property You Claim as Exempt
                         (Form 106C) due 01/21/2020. Schedule D: Creditors Who Have
                         Claims Secured by Property (Form 106D or 206D) due
                         01/21/2020. Schedule E/F: Creditors Who Have Unsecured
                         Claims (Form 106E/F or 206E/F) due 01/21/2020. Schedule G:
                         Executory Contracts and Unexpired Leases (Form 106G or 206G)
                         due 01/21/2020. Schedule H: Your Codebtors (Form 106H or
                         206H) due 01/21/2020. Schedule I: Your Income (Form 106I) due
                         01/21/2020. Schedule J: Your Expenses (Form 106J) due
                         01/21/2020. Declaration About an Individual Debtors Schedules
                         (Form 106Dec) due 01/21/2020. Declaration Under Penalty of
                         Perjury for Non-Individual Debtors (Form 202) due 01/21/2020.
                         Statement of Financial Affairs (Form 107 or 207) due 01/21/2020.
                         Chapter 7 Statement of Your Current Monthly Income (Form
                         122A-1) Due: 01/21/2020. Statement of Exemption from
                         Presumption of Abuse (Form 122A-1Supp) Due: 01/21/2020.
                         Chapter 7 Means Test Calculation (Form 122A-2) Due:
                         01/21/2020. Signature of Attorney on Petition (Form 101 or 201)
                         due 01/21/2020. Schedule J-2: Expenses for Separate Household
                         of Debtor 2 (Form 106J-2) due 01/21/2020. Corporate Resolution
                         Authorizing Filing of Petition due 01/21/2020. Corporate
                         Ownership Statement (LBR Form F1007-4) due by 01/21/2020.
                         Statement of Related Cases (LBR Form F1015-2) due
                         01/21/2020. Attorney Disclosure of Compensation Arrangement in
                         Individual Chapter 7 Case (LBR Form F2090-1) due 01/21/2020.
                         Petition Preparer Notice, Declaration, and Signature - Form 119
                         due by 01/21/2020. Disclosure of Compensation of Bankruptcy
                         Petition Preparer (Form 2800) due 01/21/2020. Disclosure of
                         Compensation of Attorney for Debtor (Form 2030) due 01
        01/07/2020       Receipt of Voluntary Petition (Chapter 7)(1:20-bk-10026)
                         [misc,volp7] ( 335.00) Filing Fee. Receipt number 50398033. Fee
                         amount 335.00. (re: Doc# 1) (U.S. Treasury) (Entered:
                         01/07/2020)
2       01/07/2020       Statement About Your Social Security Number (Official Form 121)
                         Filed by Debtor Joseph Wanamaker. (Goodman, Stephen)
                         (Entered: 01/07/2020)
3       01/07/2020       Certificate of Credit Counseling Filed by Debtor Joseph
                         Wanamaker. (Goodman, Stephen) (Entered: 01/07/2020)
     Case 1:22-ap-01038-VK     Doc 29 Filed 10/17/22 Entered 10/17/22 17:09:41 Desc
                                                                             Page 10 of 76
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#       Date         Proceeding Text                                                        Source
11      01/07/2020   Meeting of Creditors with 341(a) meeting to be held on 02/18/2020
                     at 09:30 AM at RM 100, 21041 Burbank Blvd., Woodland Hills, CA
                     91367-6003. Objections for Discharge due by 04/20/2020. Cert. of
                     Financial Management due by 04/20/2020 for Debtor and Joint
                     Debtor (if joint case) (Goodman, Stephen) (Entered: 01/07/2020)
4       01/07/2020   Disclosure of Compensation of Attorney for Debtor (Official Form
                     2030) Filed by Debtor Joseph Wanamaker (RE: related
                     document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/07/2020)
5       01/07/2020   Schedule A/B for Individual: Property (Official Form 106A/B or
                     206A/B) Filed by Debtor Joseph Wanamaker (RE: related
                     document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/07/2020)
6       01/07/2020   Schedule G Individual: Executory Contracts and Unexpired
                     Leases (Official Form 106G or 206G) Filed by Debtor Joseph
                     Wanamaker (RE: related document(s)1 Voluntary Petition
                     (Chapter 7)). (Goodman, Stephen) (Entered: 01/07/2020)
7       01/07/2020   Declaration About an Individual Debtor''s Schedules (Official Form
                     106Dec) Filed by Debtor Joseph Wanamaker (RE: related
                     document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/07/2020)
8       01/07/2020   Schedule H Individual: Your Codebtors (Official Form 106H or
                     206H) Filed by Debtor Joseph Wanamaker (RE: related
                     document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/07/2020)
9       01/07/2020   Notice to Filer of Correction Made/No Action Required: Incorrect
                     schedules /statements recorded as deficient. THE PROPER
                     DEFICIENCY HAS BEEN ISSUED. (RE: related document(s)1
                     Voluntary Petition (Chapter 7) filed by Debtor Joseph Wanamaker)
                     (Bever, Sabine) (Entered: 01/07/2020)
10      01/07/2020   Notice of Dismissal of Case If Required Documents Are Not Filed
                     Within 72 Hours (BNC) . (Bever, Sabine) (Entered: 01/07/2020)
        01/08/2020   Notice of Debtor''s Prior Filings for debtor Joseph Wanamaker
                     Case Number 06-11414, Chapter 7 filed in California Central
                     Bankruptcy on 08/22/2006 , Standard Discharge on
                     12/21/2006.(Admin) (Entered: 01/08/2020)
12      01/08/2020   List of Creditors (Master Mailing List of Creditors) Filed by Debtor
                     Joseph Wanamaker. (Goodman, Stephen) (Entered: 01/08/2020)
13      01/08/2020   Verification of Master Mailing List of Creditors (LBR Form F1007-
                     1) Filed by Debtor Joseph Wanamaker (RE: related document(s)1
                     Voluntary Petition (Chapter 7)). (Goodman, Stephen) (Entered:
                     01/08/2020)
14      01/08/2020   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                     Smith, Valerie. (Smith, Valerie) (Entered: 01/08/2020)
15      01/09/2020   BNC Certificate of Notice (RE: related document(s)1 Voluntary
                     Petition (Chapter 7) filed by Debtor Joseph Wanamaker) No. of
                     Notices: 1. Notice Date 01/09/2020. (Admin.) (Entered:
                     01/09/2020)
16      01/09/2020   BNC Certificate of Notice (RE: related document(s)1 Voluntary
                     Petition (Chapter 7) filed by Debtor Joseph Wanamaker) No. of
                     Notices: 1. Notice Date 01/09/2020. (Admin.) (Entered:
                     01/09/2020)
17      01/09/2020   BNC Certificate of Notice (RE: related document(s)10 Notice of
                     Dismissal of Case If Required Documents Are Not Filed Within 72
                     Hours (VAN-197) (BNC)) No. of Notices: 2. Notice Date
                     01/09/2020. (Admin.) (Entered: 01/09/2020)
18      01/10/2020   BNC Certificate of Notice (RE: related document(s)11 Meeting
                     (AutoAssign Chapter 7)) No. of Notices: 49. Notice Date
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                     01/10/2020. (Admin.) (Entered: 01/10/2020)
19      01/14/2020   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                     Hankard, Katie. (Hankard, Katie) (Entered: 01/14/2020)
20      01/14/2020   Schedule C: The Property You Claimed as Exempt (Official Form
                     106C) Filed by Debtor Joseph Wanamaker (RE: related
                     document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/14/2020)
21      01/14/2020   Schedule D Individual: Creditors Who Have Claims Secured by
                     Property (Official Form 106D or 206D) Filed by Debtor Joseph
                     Wanamaker (RE: related document(s)1 Voluntary Petition
                     (Chapter 7)). (Goodman, Stephen) (Entered: 01/14/2020)
22      01/14/2020   Schedule E/F for Individual: Creditors Who Have Unsecured
                     Claims (Official Form 106F or 206F) Filed by Debtor Joseph
                     Wanamaker (RE: related document(s)1 Voluntary Petition
                     (Chapter 7)). (Goodman, Stephen) (Entered: 01/14/2020)
23      01/14/2020   Schedule I Individual: Your Income (Official Form 106I) Filed by
                     Debtor Joseph Wanamaker (RE: related document(s)1 Voluntary
                     Petition (Chapter 7)). (Goodman, Stephen) (Entered: 01/14/2020)
24      01/14/2020   Summary of Assets and Liabilities for Individual (Official Form
                     106Sum or 206Sum) Filed by Debtor Joseph Wanamaker (RE:
                     related document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/14/2020)
25      01/14/2020   Schedule J: Your Expenses (Official Form 106J) Filed by Debtor
                     Joseph Wanamaker (RE: related document(s)1 Voluntary Petition
                     (Chapter 7)). (Goodman, Stephen) (Entered: 01/14/2020)
26      01/14/2020   Statement of Financial Affairs for Individual Filing for Bankruptcy
                     (Official Form 107 or 207) Filed by Debtor Joseph Wanamaker
                     (RE: related document(s)1 Voluntary Petition (Chapter 7)).
                     (Goodman, Stephen) (Entered: 01/14/2020)
27      01/14/2020   Chapter 7 Statement of Your Current Monthly Income (Official
                     Form 122A-1) (BNC Option) Filed by Debtor Joseph Wanamaker
                     (RE: related document(s)1 Voluntary Petition (Chapter 7)).
                     (Goodman, Stephen) (Entered: 01/14/2020)
28      01/14/2020   Chapter 7 Statement of Your Current Monthly Income (Official
                     Form 122A-1) (BNC Option) (Amended) Filed by Debtor Joseph
                     Wanamaker. (Goodman, Stephen) (Entered: 01/14/2020)
29      01/14/2020   Chapter 7 Means Test Calculation (Official Form 122A-2) (BNC
                     Option) Filed by Debtor Joseph Wanamaker (RE: related
                     document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/14/2020)
30      01/16/2020   Statement of Intention for Individuals Filing Under Chapter 7
                     (Official Form 108) Filed by Debtor Joseph Wanamaker (RE:
                     related document(s)1 Voluntary Petition (Chapter 7)). (Goodman,
                     Stephen) (Entered: 01/16/2020)
31      01/16/2020   Statement of Related Cases (LBR Form 1015-2.1) Filed by
                     Debtor Joseph Wanamaker (RE: related document(s)1 Voluntary
                     Petition (Chapter 7)). (Goodman, Stephen) (Entered: 01/16/2020)
32      01/16/2020   Declaration by Debtor as to Whether Debtor(s) Received Income
                     From an Employer Within 60 Days of Petition (LBR Form F1002-
                     1) Filed by Debtor Joseph Wanamaker (RE: related document(s)1
                     Voluntary Petition (Chapter 7)). (Goodman, Stephen) (Entered:
                     01/16/2020)
33      02/20/2020   Notice of motion and motion for relief from automatic stay with
                     supporting declarations ACTION IN NON-BANKRUPTCY FORUM
                     RE: Lawsuits damages $2,148,411.16 (with proof of service). Fee
                     Amount $181, Filed by Creditors The Affiliati Network, Inc., Sanjay
                     Palta (Attachments: # 1 Appendix Part 2 of 5 # 2 Appendix Part 3
                     of 5) # 3 Appendix Part 4 of 5 # 4 Appendix Part 5 of 5) (Curlee,
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#       Date         Proceeding Text                                                        Source
                     Brett) (Entered: 02/20/2020)
        02/20/2020   Receipt of Motion for Relief from Stay - ACTION IN NON-
                     BANKRUPTCY FORUM(1:20-bk-10026-VK) [motion,nman] (
                     181.00) Filing Fee. Receipt number 50673056. Fee amount
                     181.00. (re: Doc# 33) (U.S. Treasury) (Entered: 02/20/2020)
34      02/20/2020   Hearing Set (RE: related document(s)33 Motion for Relief from
                     Stay - ACTION IN NON-BANKRUPTCY FORUM filed by Creditor
                     Sanjay Palta, Creditor The Affiliati Network, Inc.) The Hearing date
                     is set for 3/18/2020 at 09:30 AM at Crtrm 301, 21041 Burbank
                     Blvd, Woodland Hills, CA 91367. The case judge is Victoria S.
                     Kaufman (Bever, Sabine) (Entered: 02/20/2020)
35      02/21/2020   Continuance of Meeting of Creditors (Rule 2003(e)) Filed by
                     Trustee Amy L Goldman (TR). 341(a) Meeting Continued to
                     03/23/2020 at 10:30 AM at RM 100, 21041 Burbank Blvd.,
                     Woodland Hills, CA 91367-6003. (Goldman (TR), Amy) (Entered:
                     02/21/2020)
36      02/21/2020   Notice of continued meeting of creditors and appearance of debtor
                     (11 USC 341(a)) Filed by Trustee Amy L Goldman (TR).
                     (Goldman (TR), Amy) (Entered: 02/21/2020)
37      03/03/2020   Response to (related document(s): 33 Notice of motion and
                     motion for relief from automatic stay with supporting declarations
                     ACTION IN NON-BANKRUPTCY FORUM RE: Lawsuits damages
                     $2,148,411.16 (with proof of service). Fee Amount $181, filed by
                     Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) with
                     Proof of Service Filed by Debtor Joseph Wanamaker (Goodman,
                     Stephen) (Entered: 03/03/2020)
38      03/19/2020   Hearing Held 3/18/20 - Ruling: Motion Granted. (RE: related
                     document(s)33 Motion for Relief from Stay - ACTION IN NON-
                     BANKRUPTCY FORUM filed by Creditor Sanjay Palta, Creditor
                     The Affiliati Network, Inc.) (Garcia, Patty) (Entered: 03/19/2020)
39      03/23/2020   Notice of lodgment of Order on Motion for Relief from Stay (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (RE: related document(s)33 Notice of motion and
                     motion for relief from automatic stay with supporting declarations
                     ACTION IN NON-BANKRUPTCY FORUM RE: Lawsuits damages
                     $2,148,411.16 (with proof of service). Fee Amount $181, Filed by
                     Creditors The Affiliati Network, Inc., Sanjay Palta (Attachments: #
                     1 APPENDIX PART 2 OF 5 # 2 APPENDIX PART 3 OF 5) # 3
                     APPENDIX PART 4 OF 5 # 4 Appendix Part 5 of 5), 38 Hearing
                     Held 3/18/20 - Ruling: Motion Granted. (RE: related
                     document(s)33 Motion for Relief from Stay - ACTION IN NON-
                     BANKRUPTCY FORUM filed by Creditor Sanjay Palta, Creditor
                     The Affiliati Network, Inc.)). (Curlee, Brett) (Entered: 03/23/2020)
40      03/23/2020   Order Granting motion for relief from automatic stay ACTION IN
                     NON-BANKRUPTCY FORUM (BNC-PDF) (Related Doc # 33 )
                     Signed on 3/23/2020 (Garcia, Patty) (Entered: 03/23/2020)
41      03/25/2020   Motion for extension of time to file a complaint objecting to
                     discharge from April 20, 2020 to and Including June 22, 2020 (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (Attachments: # 1 Appendix Part 2 of 2) (Curlee,
                     Brett) (Entered: 03/25/2020)
42      03/25/2020   Notice of motion/application (with proof of service) Filed by
                     Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                     document(s)41 Motion for extension of time to file a complaint
                     objecting to discharge from April 20, 2020 to and Including June
                     22, 2020 (with proof of service) Filed by Creditors Sanjay Palta,
                     The Affiliati Network, Inc. (Attachments: # 1 Appendix Part 2 of
                     2)). (Curlee, Brett) (Entered: 03/25/2020)
43      03/25/2020   Motion for 2004 Examination of Joseph Wanamaker (with proof of
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#       Date         Proceeding Text                                                          Source
                     service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                     (Curlee, Brett) (Entered: 03/25/2020)
44      03/25/2020   *** Disregard Notice sent in error *** Notice to Filer of Error and/or
                     Deficient Document Incorrect docket event was used to file this
                     document. THE FILER IS INSTRUCTED TO RE-FILE THE
                     DOCUMENT USING THE CORRECT DOCKET EVENT.
                     MATTER NOT ON CALENDAR. (RE: related document(s)42
                     Notice of motion/application filed by Creditor Sanjay Palta,
                     Creditor The Affiliati Network, Inc.) (Bever, Sabine) Modified on
                     3/25/2020 (Bever, Sabine). (Entered: 03/25/2020)
45      03/25/2020   Hearing Set (RE: related document(s)41 Motion for extension of
                     time to file a complaint objecting to discharge filed by Creditor
                     Sanjay Palta, Creditor The Affiliati Network, Inc.) The Hearing date
                     is set for 4/16/2020 at 02:00 PM at Crtrm 301, 21041 Burbank
                     Blvd, Woodland Hills, CA 91367. The case judge is Victoria S.
                     Kaufman (Bever, Sabine) (Entered: 03/25/2020)
46      03/25/2020   Notice of lodgment of Order (with proof of service) Filed by
                     Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                     document(s)43 Motion for 2004 Examination of Joseph
                     Wanamaker (with proof of service) Filed by Creditors Sanjay
                     Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                     03/25/2020)
47      03/25/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)40 Motion for relief from automatic stay ACTION IN
                     NON-BANKRUPTCY FORUM (BNC-PDF)) No. of Notices: 1.
                     Notice Date 03/25/2020. (Admin.) (Entered: 03/25/2020)
48      03/30/2020   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                     Reiner, David. (Reiner, David) (Entered: 03/30/2020)
49      03/30/2020   Order on Motion for Examination of the Debtor, Joseph
                     Wanamaker, Pursuant to Rule of Bankruptcy Procedure 2004
                     (PDF-BNC) (Related Doc # 43 ) Signed on 3/30/2020 (Bever,
                     Sabine) (Entered: 03/30/2020)
50      04/01/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)49 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 04/01/2020. (Admin.) (Entered:
                     04/01/2020)
51      04/03/2020   Motion for 2004 Examination of Ms. Christine Naud (with proof of
                     service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                     (Curlee, Brett) Additional attachment(s) added on 4/6/2020
                     (Cetulio, Julie). (Entered: 04/03/2020)
52      04/03/2020   Notice of lodgment of Order on Motion for 2004 Examination of
                     Christine Naud (with proof of service) Filed by Creditor Sanjay
                     Palta (RE: related document(s)51 Motion for 2004 Examination of
                     Ms. Christine Naud (with proof of service) Filed by Creditors
                     Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                     04/03/2020)
53      04/06/2020   Notice of Requirement to Complete Course in Financial
                     Management (Auto VAN-105) (BNC). (AutoDocket, User)
                     (Entered: 04/06/2020)
54      04/07/2020   Order On Motion for Examination of Christine Naud Pursuant to
                     federal Rule of Bankruptcy Procedure 2004. (PDF-BNC) (Related
                     Doc # 51 ) Signed on 4/7/2020 (Garcia, Patty) (Entered:
                     04/07/2020)
55      04/09/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)54 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 04/09/2020. (Admin.) (Entered:
                     04/09/2020)
56      04/09/2020   BNC Certificate of Notice (RE: related document(s)53 Notice of
                     Requirement to Complete Course in Financial Management (Auto
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                     VAN-105) (BNC)) No. of Notices: 1. Notice Date 04/09/2020.
                     (Admin.) (Entered: 04/09/2020)
57      04/13/2020   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                     Bharatia, Shraddha. (Bharatia, Shraddha) (Entered: 04/13/2020)
59      04/16/2020   Hearing Held 04/16/2020 - Ruling: Motion denied as moot. (RE:
                     related document(s)41 Motion for extension of time to file a
                     complaint objecting to discharge filed by Creditor Sanjay Palta,
                     Creditor The Affiliati Network, Inc.) (Bever, Sabine) (Entered:
                     04/17/2020)
58      04/17/2020   Order Denying Motion to Extend Deadlines as Moot (BNC-PDF)
                     (Related Doc # 41 ) Signed on 4/17/2020 (Bever, Sabine)
                     (Entered: 04/17/2020)
60      04/19/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)58 ORDER to extend time (Generic Order - No
                     Motion) (BNC-PDF)) No. of Notices: 1. Notice Date 04/19/2020.
                     (Admin.) (Entered: 04/19/2020)
61      04/30/2020   Continuance of Meeting of Creditors (Rule 2003(e)) Filed by
                     Trustee Amy L Goldman (TR). 341(a) meeting to be held on
                     05/27/2020 at 10:30 AM (check with U.S. Trustee for location).
                     (Goldman (TR), Amy) (Entered: 04/30/2020)
62      04/30/2020   Notice of continued meeting of creditors and appearance of debtor
                     (11 USC 341(a)) Filed by Trustee Amy L Goldman (TR).
                     (Goldman (TR), Amy) (Entered: 04/30/2020)
63      05/27/2020   Ex parte application to Reset Date and Time For 2004
                     Examination of Christine Naud And to Produce Documents
                     Pursuant to Exhibit "1" to the Motion for 2004 Examination of
                     Christine Naud (with proof of service) Filed by Creditors Sanjay
                     Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                     05/27/2020)
64      05/27/2020   Notice of lodgment of Proposed Order (with proof of service) Filed
                     by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                     document(s)63 Ex parte application to Reset Date and Time For
                     2004 Examination of Christine Naud And to Produce Documents
                     Pursuant to Exhibit "1" to the Motion for 2004 Examination of
                     Christine Naud (with proof of service)). (Curlee, Brett) (Entered:
                     05/27/2020)
65      05/27/2020   Continuance of Meeting of Creditors (Rule 2003(e)) Filed by
                     Trustee Amy L Goldman (TR). 341(a) meeting to be held on
                     08/03/2020 at 10:30 AM (check with U.S. Trustee for location).
                     (Goldman (TR), Amy) (Entered: 05/27/2020)
66      05/27/2020   Notice of continued meeting of creditors and appearance of debtor
                     (11 USC 341(a)) Filed by Trustee Amy L Goldman (TR).
                     (Goldman (TR), Amy) (Entered: 05/27/2020)
67      05/28/2020   Order on Ex Parte Application for Order Without Hearing
                     Resetting Dates for the 2004 Examination of Christine Naud and
                     the Production of Documents (BNC-PDF) (Related Doc # 63 )
                     Signed on 5/28/2020 (Cetulio, Julie) (Entered: 05/28/2020)
68      05/30/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)67 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                     Notice Date 05/30/2020. (Admin.) (Entered: 05/30/2020)
69      06/04/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and Joseph
                     Wanamaker to Reset Dates and Times for 2004 Examination and
                     Production of Documents (with Proof of Service) Filed by
                     Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett)
                     (Entered: 06/04/2020)
70      06/04/2020   Notice of lodgment of Order on Stipulation (with Proof of Service)
                     Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                     related document(s)69 Stipulation By Sanjay Palta, The Affiliati
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#       Date         Proceeding Text                                                          Source
                     Network, Inc. and Joseph Wanamaker to Reset Dates and Times
                     for 2004 Examination and Production of Documents (with Proof of
                     Service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                     Inc.). (Curlee, Brett) (Entered: 06/04/2020)
71      06/05/2020   Substitution of attorney With Proof of Service Filed by Debtor
                     Joseph Wanamaker. (Lively, Peter) (Entered: 06/05/2020)
72      06/08/2020   Order on Stipulation to Reset Dates and Times in the Order on
                     Motion for Examination of the Debtor, Joseph Wanamaker,
                     Pursuant to Federal Rule of Bankruptcy Procedure 2004 (BNC-
                     PDF) (Related Doc # 69 ) Signed on 6/8/2020 (Bever, Sabine)
                     (Entered: 06/08/2020)
73      06/10/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)72 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                     Notice Date 06/10/2020. (Admin.) (Entered: 06/10/2020)
74      06/17/2020   Motion for 2004 Examination of 5967 Ventures LLC, dba,
                     Humboldt Merchant Services LLC (with proof of service) Filed by
                     Creditors Sanjay Palta, The Affiliati Network, Inc. (Attachments: #
                     1 Appendix Part 2 of 2) (Curlee, Brett) (Entered: 06/17/2020)
75      06/17/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (RE: related document(s)74 Motion for 2004
                     Examination of 5967 Ventures LLC, dba, Humboldt Merchant
                     Services LLC (with proof of service) Filed by Creditors Sanjay
                     Palta, The Affiliati Network, Inc. (Attachments: # 1 Appendix Part 2
                     of 2)). (Curlee, Brett) (Entered: 06/17/2020)
76      06/18/2020   Errata e: Motion for 2004 Examination (with proof of service) Filed
                     by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                     document(s)74 Motion for 2004 Examination of 5967 Ventures
                     LLC, dba, Humboldt Merchant Services LLC (with proof of
                     service)). (Curlee, Brett) (Entered: 06/18/2020)
77      06/18/2020   Motion for 2004 Examination of National Merchants Association
                     (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (Curlee, Brett) (Entered: 06/18/2020)
78      06/18/2020   Notice of lodgment of Order (with proof of service) Filed by
                     Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                     document(s)77 Motion for 2004 Examination of National
                     Merchants Association (with proof of service) Filed by Creditors
                     Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                     06/18/2020)
79      06/18/2020   Motion for 2004 Examination of Paysafe Partners LP (with proof of
                     service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                     (Curlee, Brett) (Entered: 06/18/2020)
80      06/18/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (RE: related document(s)79 Motion for 2004
                     Examination of Paysafe Partners LP (with proof of service) Filed
                     by Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee,
                     Brett) (Entered: 06/18/2020)
81      06/18/2020   Motion for 2004 Examination of Paysafe Services Lending LLC
                     (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (Curlee, Brett) (Entered: 06/18/2020)
82      06/18/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (RE: related document(s)81 Motion for 2004
                     Examination of Paysafe Services Lending LLC (with proof of
                     service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                     Inc.). (Curlee, Brett) (Entered: 06/18/2020)
83      06/19/2020   Motion for 2004 Examination of Signapay Gateway, LLC (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
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#       Date         Proceeding Text                                                         Source
                     Network, Inc. (Curlee, Brett) (Entered: 06/19/2020)
84      06/19/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                     Network, Inc. (RE: related document(s)83 Motion for 2004
                     Examination of Signapay Gateway, LLC (with proof of service)
                     Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.).
                     (Curlee, Brett) (Entered: 06/19/2020)
85      06/24/2020   Order Granting Motion for 2004 Examination (PDF-BNC) (Related
                     Doc # 81 ) Signed on 6/24/2020 (Cetulio, Julie) (Entered:
                     06/24/2020)
86      06/24/2020   Order Granting Motion for 2004 Examination (PDF-BNC) (Related
                     Doc # 79 ) Signed on 6/24/2020 (Cetulio, Julie) (Entered:
                     06/24/2020)
87      06/24/2020   Order Granting Motion for 2004 Examination (PDF-BNC) (Related
                     Doc # 77 ) Signed on 6/24/2020 (Cetulio, Julie) (Entered:
                     06/24/2020)
88      06/24/2020   Order Granting Motion for 2004 Examination (PDF-BNC) (Related
                     Doc # 74 ) Signed on 6/24/2020 (Cetulio, Julie) (Entered:
                     06/24/2020)
89      06/26/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)85 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 06/26/2020. (Admin.) (Entered:
                     06/26/2020)
90      06/26/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)86 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 06/26/2020. (Admin.) (Entered:
                     06/26/2020)
91      06/26/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)87 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 06/26/2020. (Admin.) (Entered:
                     06/26/2020)
92      06/26/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)88 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 06/26/2020. (Admin.) (Entered:
                     06/26/2020)
93      07/02/2020   Order on Motion for Examination of and Production of Documents
                     by Signapay Gateway, LLC Pursuant to Federal Rule of
                     Bankruptcy Procedure 2004. (PDF-BNC) (Related Doc # 83 )
                     Signed on 7/2/2020 (Bever, Sabine) (Entered: 07/02/2020)
94      07/04/2020   BNC Certificate of Notice - PDF Document. (RE: related
                     document(s)93 Order on Motion for Examination (BNC-PDF)) No.
                     of Notices: 1. Notice Date 07/04/2020. (Admin.) (Entered:
                     07/04/2020)
95      07/07/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                     Debtor to Extend deadlines to File a Complaint under 11 U.S.C.
                     Sections 523/727 (with proof of service) Filed by Creditors Sanjay
                     Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                     07/07/2020)
96      07/07/2020   Notice of lodgment of Order on Stipulation (with Stipulation) Filed
                     by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                     document(s)95 Stipulation By Sanjay Palta, The Affiliati Network,
                     Inc. and the Debtor to Extend deadlines to File a Complaint under
                     11 U.S.C. Sections 523/727 (with proof of service) Filed by
                     Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                     (Entered: 07/07/2020)
97      07/07/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                     Debtor and Christine Naud to Reset 2004 Examinations (with
                     proof of service) Filed by Creditors Sanjay Palta, The Affiliati
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#        Date         Proceeding Text                                                          Source
                      Network, Inc. (Curlee, Brett) (Entered: 07/07/2020)
98       07/07/2020   Notice of lodgment of Order on Stipulation to Reset 2004
                      Examinations (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)97
                      Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Christine Naud to Reset 2004 Examinations (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Curlee, Brett) (Entered: 07/07/2020)
99       07/10/2020   Order Approving Stipulation Between the Debtor and Creditors
                      The Affiliati Network, Inc. and Sanjay Palta to Extend Deadline to
                      File a Complaint Under 11 U.S.C. sec 523 and 727 ( extended
                      until 10/30/2020) (BNC-PDF) (Related Doc # 95 ) Signed on
                      7/10/2020 (Bever, Sabine) (Entered: 07/10/2020)
100      07/10/2020   Order on Stipulation to Reset Dates and Times in the Orders on
                      Motions for Examinations of the Debtor, Joseph Wanamaker, and
                      Christine Naud Pursuant to Federal Rule of Bankruptcy Procedure
                      2004 (BNC-PDF) (Related Doc # 97 ) Signed on 7/10/2020
                      (Bever, Sabine) (Entered: 07/10/2020)
101      07/12/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)99 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 07/12/2020. (Admin.) (Entered: 07/12/2020)
102      07/12/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)100 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 07/12/2020. (Admin.) (Entered: 07/12/2020)
103      07/21/2020   Motion for 2004 Examination of EastBiz.com, Inc., dba,
                      Incparadise (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (Attachments: # 1 Appendix Part 2 of 2)
                      (Curlee, Brett) (Entered: 07/21/2020)
104      07/21/2020   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)103 Motion for 2004 Examination of EastBiz.com,
                      Inc., dba, Incparadise (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (Attachments: # 1
                      Appendix Part 2 of 2)). (Curlee, Brett) (Entered: 07/21/2020)
105      07/23/2020   Motion for 2004 Examination of Chase Bank, N.A. (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Curlee, Brett) (Entered: 07/23/2020)
106      07/23/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)105 Motion for 2004
                      Examination of Chase Bank, N.A. (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 07/23/2020)
107      07/24/2020   Motion for 2004 Examination of Esquire Financial Holdings, Inc.,
                      dba, Esquire Bank National Association (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee,
                      Brett) (Entered: 07/24/2020)
108      07/24/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)107 Motion for 2004
                      Examination of Esquire Financial Holdings, Inc., dba, Esquire
                      Bank National Association (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 07/24/2020)
109      07/27/2020   Motion for 2004 Examination of Progressive Title Company, Inc.
                      (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 07/27/2020)
110      07/27/2020   Notice of lodgment of Order on Motion for 2004 Examination of
                      Progessive Title Company, Inc. (with proof of service) Filed by
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                                   1:20bk10026, Joseph Wanamaker

#        Date         Proceeding Text                                                     Source
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)109 Motion for 2004 Examination of Progressive Title
                      Company, Inc. (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      07/27/2020)
111      07/29/2020   Order on Motion for 2004 Examination of Eastbiz.Com, Inc., dba
                      Incparadise, and for Production of Documents (PDF-BNC)
                      (Related Doc # 103 ) Signed on 7/29/2020 (Bever, Sabine)
                      (Entered: 07/29/2020)
112      07/29/2020   Order on Motion for 2004 Examination of JPMorgan Chase Bank,
                      N.A., dba Chase Bank and Chase Manhattan Bank, and for
                      Production of Documents (PDF-BNC) (Related Doc # 105 )
                      Signed on 7/29/2020 (Bever, Sabine) (Entered: 07/29/2020)
113      07/31/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)111 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 07/31/2020. (Admin.) (Entered:
                      07/31/2020)
114      07/31/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)112 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 07/31/2020. (Admin.) (Entered:
                      07/31/2020)
115      08/06/2020   Motion for 2004 Examination of Truss Financial Group, LLC (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 08/06/2020)
116      08/06/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)115 Motion for 2004
                      Examination of Truss Financial Group, LLC (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.).
                      (Curlee, Brett) (Entered: 08/06/2020)
117      08/06/2020   Order Granting Motion for Examination of and Production of
                      Documents by Esquire Financial Holdings, Inc., DBA Esquire
                      Bank National Association Pursuant to Federal Rule of Bankruptcy
                      Procedure 2004 (PDF-BNC) (Related Doc # 107 ) Signed on
                      8/6/2020 (Bever, Sabine) (Entered: 08/06/2020)
118      08/06/2020   Order on Motion for Examination of and Production of Documents
                      by Progressive Title Company, Inc. DBA Progressive Title
                      Company Pursuant to Federal Rule of Bankruptcy Procedure
                      2004 (PDF-BNC) (Related Doc # 109 ) Signed on 8/6/2020
                      (Bever, Sabine) (Entered: 08/06/2020)
119      08/08/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)117 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 08/08/2020. (Admin.) (Entered:
                      08/08/2020)
120      08/08/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)118 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 08/08/2020. (Admin.) (Entered:
                      08/08/2020)
121      08/11/2020   Notice of Assets filed by trustee and court''s notice of possible
                      dividend (BNC) Filed by Trustee Amy L Goldman (TR). Proofs of
                      Claims due by 11/16/2020. Government Proof of Claim due by
                      7/6/2020. (Goldman (TR), Amy) (Entered: 08/11/2020)
122      08/11/2020   Meeting of Creditors Held and Concluded (Chapter 7 Asset) on
                      08/03/2020 Filed by Trustee Amy L Goldman (TR) (RE: related
                      document(s) 65 Continuance of Meeting of Creditors (Rule
                      2003(e)) Filed by Trustee Amy L Goldman (TR). 341(a) meeting to
                      be held on 08/03/2020 at 10:30 AM (check with U.S. Trustee for
                      location). (Goldman (TR), Amy) filed by Trustee Amy L Goldman
                      (TR)). (Goldman (TR), Amy) (Entered: 08/11/2020)
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#        Date         Proceeding Text                                                          Source
123      08/12/2020   Order on Motion for Examination of and Production of Documents
                      by Truss Financial Group, LLC, dba Truss Financial Group
                      Pursuant Federal Rule of Bankruptcy Procedure 2004 (PDF-BNC)
                      (Related Doc # 115 ) Signed on 8/12/2020 (Cetulio, Julie)
                      (Entered: 08/12/2020)
124      08/13/2020   BNC Certificate of Notice (RE: related document(s)121 Notice of
                      Assets filed by trustee and court''s notice of possible dividend
                      (BNC) filed by Trustee Amy L Goldman (TR)) No. of Notices: 51.
                      Notice Date 08/13/2020. (Admin.) (Entered: 08/13/2020)
125      08/14/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)123 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 08/14/2020. (Admin.) (Entered:
                      08/14/2020)
126      08/17/2020   Amending Schedules (D) (E/F) Amended Summary of your
                      Assets, Schedules A through J, Statement of Financial Affairs,
                      Statement of Intention and Master Mailing List With proof of
                      service Filed by Debtor Joseph Wanamaker. (Lively, Peter)
                      (Entered: 08/17/2020)
         08/17/2020   Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                      106E/F, 206D, or 206E/F) (Fee)(1:20-bk-10026-VK)
                      [misc,amdsch] ( 31.00) Filing Fee. Receipt number 51583004. Fee
                      amount 31.00. (re: Doc# 126) (U.S. Treasury) (Entered:
                      08/17/2020)
127      08/28/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Christine Naud to Reset Dates and Times for 2004
                      Examinations (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                      08/28/2020)
128      08/28/2020   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)127 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor and Christine Naud to Reset Dates
                      and Times for 2004 Examinations (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 08/28/2020)
129      08/28/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Extend Deadlines to File a Complaint under 523 and
                      727 (with proof of service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (Curlee, Brett) (Entered: 08/28/2020)
130      08/28/2020   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)129 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor to Extend Deadlines to File a
                      Complaint under 523 and 727 (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 08/28/2020)
131      09/01/2020   Order on Stipulation to Reset Dates and Times in the Orders on
                      Motions for Examinations of the Debtor, Joseph Wanamaker, and
                      Christine Naud Pursuant to Federal Rule of Bankruptcy Procedure
                      2004 (BNC-PDF) (Related Doc # 127 ) Signed on 9/1/2020
                      (Bever, Sabine) (Entered: 09/01/2020)
132      09/02/2020   Motion for 2004 Examination of Encore Escrow Company, Inc.
                      (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 09/02/2020)
133      09/02/2020   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)132 Motion for 2004 Examination of Encore Escrow
                      Company, Inc. (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
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#        Date         Proceeding Text                                                       Source
                      09/02/2020)
134      09/03/2020   Order Approving Stipulation Between the Debtor and Creditors
                      The Affiliati Network, Inc and Sanjay Palta to Extend Deadline to
                      File a Complaint Under 11 U.S.C. sec 523 and 727 from October
                      30, 2020 to January 15, 2021. (BNC-PDF) (Related Doc # 129 )
                      Signed on 9/3/2020 (Bever, Sabine) (Entered: 09/03/2020)
135      09/03/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)131 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 09/03/2020. (Admin.) (Entered: 09/03/2020)
136      09/05/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)134 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 09/05/2020. (Admin.) (Entered: 09/05/2020)
137      09/08/2020   Motion for 2004 Examination of Angel Oak Mortgage Solutions,
                      LLC (with proof of service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (Curlee, Brett) (Entered: 09/08/2020)
138      09/08/2020   Motion to Redact (for Protective Order to Restrict Access to Filed
                      Document Containing Personal Data Identifiers per LBR 9037-
                      1(a)) (with proof of service). Fee Amount $25 Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                      09/08/2020)
         09/08/2020   Receipt of Motion to Redact (for Protective Order to Restrict
                      Access Pers. ID (LBR Form F9037-1.1) (Fee)(1:20-bk-10026-VK)
                      [motion,mredact] ( 25.00) Filing Fee. Receipt number 51698325.
                      Fee amount 25.00. (re: Doc# 138) (U.S. Treasury) (Entered:
                      09/08/2020)
139      09/10/2020   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)138 Motion to Redact (for Protective Order to Restrict
                      Access to Filed Document Containing Personal Data Identifiers
                      per LBR 9037-1(a)) (with proof of service). Fee Amount $25 Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee,
                      Brett) (Entered: 09/10/2020)
140      09/10/2020   Order on Motion for Examination of and Production of Documents
                      by Encore Escrow Company, Inc. Pursuant to Federal Rule of
                      Bankruptcy Procedure 2004 (PDF-BNC) (Related Doc # 132 )
                      Signed on 9/10/2020 (Bever, Sabine) (Entered: 09/10/2020)
141      09/12/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)140 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 09/12/2020. (Admin.) (Entered:
                      09/12/2020)
142      09/18/2020   Order Granting Motion to Redact (for Protective Order to Restrict
                      Access to Filed Document Containing Personal Data Identifiers
                      per LBR 9037-1(a)) (BNC-PDF) Signed on 9/18/2020 (Bever,
                      Sabine) (Entered: 09/18/2020)
143      09/20/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)142 Order on Motion to Redact (for Protective Order
                      to Restrict Access Pers. ID (LBR Form F9037-1.1) (Fee) (BNC-
                      PDF)) No. of Notices: 1. Notice Date 09/20/2020. (Admin.)
                      (Entered: 09/20/2020)
144      09/21/2020   Motion for 2004 Examination of Angel Oak Mortgage Solutions,
                      LLC (Amended) and redacted (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett)
                      (Entered: 09/21/2020)
145      09/21/2020   Notice of lodgment of Order on Motion for 2004 Examination of
                      Angel Oak Mortgage Solutions, LLC (with proof of service) Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)144 Motion for 2004 Examination of Angel Oak
                      Mortgage Solutions, LLC (Amended) and redacted (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network,
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#        Date         Proceeding Text                                                          Source
                      Inc.). (Curlee, Brett) (Entered: 09/21/2020)
146      09/21/2020   Request for special notice Filed by Creditor WILMINGTON
                      SAVINGS FUND SOCIETY, FSB, NOT IN ITS INDIVIDUAL
                      CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR
                      DEEPHAVEN RESIDENTIAL MORTGAGE TRUST 2017-3.
                      (Ferry, Sean) (Entered: 09/21/2020)
147      09/23/2020   Motion for 2004 Examination of NewRez, LLC, dba, Shellpoint
                      Mortgage Servicing (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                      09/23/2020)
148      09/23/2020   Notice of lodgment of Order on Motion for 2004 Examination (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)147 Motion for 2004
                      Examination of NewRez, LLC, dba, Shellpoint Mortgage Servicing
                      (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Curlee, Brett) (Entered: 09/23/2020)
149      09/24/2020   Order on Motion for Examination of and Production of Documents
                      by Angel Oak Mortgage Solutions, LLC Pursuant to Federal Rule
                      of Bankruptcy Procedure 2004 (Amended) (PDF-BNC) (Related
                      Doc # 144 ) Signed on 9/24/2020 (Bever, Sabine) (Entered:
                      09/24/2020)
150      09/26/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)149 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 09/26/2020. (Admin.) (Entered:
                      09/26/2020)
151      09/29/2020   Order on Motion for Examination of and Production of Documents
                      by Newrez, LLC DBA, Shellpoint Mortgage Servicing Pursuant to
                      Federal Rule of Bankruptcy Procedure 2004 (PDF-BNC) (Related
                      Doc # 147 ) Signed on 9/29/2020 (Bever, Sabine) (Entered:
                      09/29/2020)
152      10/01/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)151 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 10/01/2020. (Admin.) (Entered:
                      10/01/2020)
153      10/06/2020   Certification About a Financial Management Course for Debtor 1
                      (Official Form 423) Filed by Debtor Joseph Wanamaker (RE:
                      related document(s)11 Meeting (AutoAssign Chapter 7)). (Lively,
                      Peter) (Entered: 10/06/2020)
154      10/09/2020   Application to Employ Leonard Pena by Pena & Soma, APC as
                      Attorneys for Chapter 7 Trustee with proof service Filed by
                      Trustee Amy L Goldman (TR) (Pena, Leonard) (Entered:
                      10/09/2020)
155      10/09/2020   Notice of motion/application with proof of service Filed by Trustee
                      Amy L Goldman (TR) (RE: related document(s)154 Application to
                      Employ Leonard Pena by Pena & Soma, APC as Attorneys for
                      Chapter 7 Trustee with proof service Filed by Trustee Amy L
                      Goldman (TR)). (Pena, Leonard) (Entered: 10/09/2020)
156      10/09/2020   Statement Of Disinterestedness For Employment Of Professional
                      Person Under FRBP 2014 with proof of service Filed by Trustee
                      Amy L Goldman (TR). (Pena, Leonard) (Entered: 10/09/2020)
157      11/06/2020   Declaration That No Party Requested a Hearing on Motion (LBR
                      9013-1(o)(3)) with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)154 Application to Employ
                      Leonard Pena by Pena & Soma, APC as Attorneys for Chapter 7
                      Trustee with proof service). (Pena, Leonard) (Entered:
                      11/06/2020)
158      11/09/2020   Order Granting Chapter 7 Trustee''s Application to Employ
                      General Bankruptcy Counsel (BNC-PDF) (Related Doc # 154)
                      Signed on 11/9/2020. (Bever, Sabine) (Entered: 11/09/2020)
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#        Date         Proceeding Text                                                       Source
159      11/11/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)158 Order on Application to Employ (BNC-PDF)) No.
                      of Notices: 1. Notice Date 11/11/2020. (Admin.) (Entered:
                      11/11/2020)
160      11/24/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Christine Naud to Reset 2004 Examinations (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) WARNING: Item subsequently
                      amended by document no. 164. Modified on 11/24/2020 (Bever,
                      Sabine). (Entered: 11/24/2020)
161      11/24/2020   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)160 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor and Christine Naud to Reset 2004
                      Examinations (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      11/24/2020)
162      11/24/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Extend Deadline to file 523 and 727 Complaint (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 11/24/2020)
163      11/24/2020   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)162 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor to Extend Deadline to file 523 and
                      727 Complaint (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      11/24/2020)
164      11/24/2020   Notice to Filer of Error and/or Deficient Document
                      Incorrect/incomplete/unreadable PDF was attached to the docket
                      entry. THE FILER IS INSTRUCTED TO RE-FILE THE
                      DOCUMENT WITH THE CORRECT PDF IMMEDIATELY. (RE:
                      related document(s)160 Stipulation filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc.) (Bever, Sabine) (Entered:
                      11/24/2020)
165      11/24/2020   Order Approving Stipulation Between the Debtor and Creditors the
                      Affiliati Network, Inc. and Sanjay Palta to Extend Deadline to File
                      a Complaint Under 11 U.S.C. sec 523 and 737 from January 15,
                      2021 to June 15, 2021. (BNC-PDF) (Related Doc # 162 ) Signed
                      on 11/24/2020 (Bever, Sabine) (Entered: 11/24/2020)
166      11/25/2020   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Christine Naud to Reset 2004 Examinations (With
                      Proof of Service) (Filed to Correct Errata, See Dkt Entries 160 and
                      164) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Curlee, Brett) (Entered: 11/25/2020)
167      11/25/2020   Order on Stipulation to Reset Dates and Times in the Orders on
                      Motions for Examinations of the Debtor, Jospeh Wanamaker; and
                      Christine Naud Pursuant to Federal Rule of Bankruptyc Procedure
                      2004 (BNC-PDF) (Related Doc # 166 ) Signed on 11/25/2020
                      (Bever, Sabine) (Entered: 11/25/2020)
168      11/26/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)165 ORDER to extend time (Generic Order - No
                      Motion) (BNC-PDF)) No. of Notices: 1. Notice Date 11/26/2020.
                      (Admin.) (Entered: 11/26/2020)
169      11/27/2020   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)167 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 11/27/2020. (Admin.) (Entered: 11/27/2020)
170      02/27/2021   Notice of Association of Counsel Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.. (Havkin, Stella) (Entered: 02/27/2021)
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#        Date         Proceeding Text                                                         Source
171      03/03/2021   Motion for 2004 Examination Bank of America, N.A. (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Curlee, Brett) (Entered: 03/03/2021)
172      03/03/2021   Notice of lodgment of Order on Motion for 2004 Examination (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)171 Motion for 2004
                      Examination Bank of America, N.A. (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 03/03/2021)
173      03/04/2021   Order On Motion for 2004 Examination of Bank of America, N.A.,
                      and for Production of Documents. (PDF-BNC) (Related Doc #
                      171 ) Signed on 3/4/2021 (Garcia, Patty) (Entered: 03/04/2021)
174      03/06/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)173 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 03/06/2021. (Admin.) (Entered:
                      03/06/2021)
175      03/09/2021   Motion for 2004 Examination (Renewed) of 5967 Ventures, LLC,
                      dba, Humboldt Merchant Services (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett)
                      (Entered: 03/09/2021)
176      03/09/2021   Notice of lodgment of Order on Motion for 2004 Examination (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)175 Motion for 2004
                      Examination (Renewed) of 5967 Ventures, LLC, dba, Humboldt
                      Merchant Services (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      03/09/2021)
177      03/09/2021   Errata Declaration of Errata in the Service of the Motion for 2004
                      Examination of 5967 Ventures, LLC, dba, Humboldt Merchant
                      Services and the Notice of Lodgment of the Order Thereon (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)175 Motion for 2004
                      Examination (Renewed) of 5967 Ventures, LLC, dba, Humboldt
                      Merchant Services (with proof of service), 176 Notice of
                      Lodgment). (Curlee, Brett) (Entered: 03/09/2021)
178      03/17/2021   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                      Lally, David. (Lally, David) (Entered: 03/17/2021)
179      03/17/2021   Order on Renewed Motion for 2004 Examination of 5967
                      Ventures, LLC DBA Humboldt Merchant Services and for
                      Production of Documents Due to an Error in Service of Subpoena
                      Issued on the Original Motion (PDF-BNC) (Related Doc # 175 )
                      Signed on 3/17/2021 (Gasparian, Ana) (Entered: 03/17/2021)
180      03/19/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)179 Order on Motion for Examination (BNC-PDF))
                      No. of Notices: 1. Notice Date 03/19/2021. (Admin.) (Entered:
                      03/19/2021)
181      04/02/2021   Summary of Assets and Liabilities for Individual (Official Form
                      106Sum or 206Sum) Amended Schedule A/B for Individual:
                      Property (Official Form 106A/B or 206A/B), Amended Schedule C:
                      The Property You Claimed as Exempt (Official Form 106C), and
                      Amended Statement of Financial Affairs for Individual Filing for
                      Bankruptcy (Official Form 107 or 207) with Proof of Service Filed
                      by Debtor Joseph Wanamaker. (Lively, Peter) (Entered:
                      04/02/2021)
182      04/12/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor, Joseph Wanamaker. and Christine Naud to Reset Dates
                      and Times for 2004 Examinations and Document Production (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 04/12/2021)
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#        Date         Proceeding Text                                                         Source
183      04/12/2021   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)182 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor, Joseph Wanamaker. and Christine
                      Naud to Reset Dates and Times for 2004 Examinations and
                      Document Production (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      04/12/2021)
184      04/12/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Extend the Deadline to File a 523/727 Complaint from
                      June 15, 2021 to August 30, 2021 (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett)
                      (Entered: 04/12/2021)
185      04/12/2021   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)184 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor to Extend the Deadline to File a
                      523/727 Complaint from June 15, 2021 to August 30, 2021 (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Curlee, Brett) (Entered: 04/12/2021)
186      04/14/2021   Order on Stipulation between the debtor Joseph Wanamaker,
                      Christine Naud, and creditors The Affiliati Network Inc., and
                      Sanjay Palta to reset dates and times in the orders on motions for
                      rule 2004 examinations (BNC-PDF) (Related Doc # 182 ) Signed
                      on 4/14/2021 (Gasparian, Ana) (Entered: 04/14/2021)
187      04/14/2021   Order Approving Stipulation between the debtor and creditors The
                      Affiliati Network, Inc. and Sanjay Palta to extend deadline to file a
                      complaint under 11 U.S.C. 523 and 727 from June 15, 2021 to
                      August 30, 2021 (BNC-PDF) (Related Doc # 184 ) Signed on
                      4/14/2021 (Gasparian, Ana) (Entered: 04/14/2021)
188      04/16/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)186 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 04/16/2021. (Admin.) (Entered:
                      04/16/2021)
189      04/16/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)187 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 04/16/2021. (Admin.) (Entered:
                      04/16/2021)
190      04/20/2021   Application to Employ SLBiggs as Accountants to Chapter 7
                      Trustee Application for Retention of Accountants; Statement of
                      Disinterestedness; Declaration of Accountant Filed by Accountant
                      SLBiggs. (Biggs, Samuel) (Entered: 04/20/2021)
191      04/20/2021   Notice of motion/application by Chapter 7 Trustee for Authority to
                      Employ SLBiggs, Accountants Filed by Accountant SLBiggs (RE:
                      related document(s)190 Application to Employ SLBiggs as
                      Accountants to Chapter 7 Trustee Application for Retention of
                      Accountants; Statement of Disinterestedness; Declaration of
                      Accountant Filed by Accountant SLBiggs.). (Biggs, Samuel)
                      (Entered: 04/20/2021)
192      04/28/2021   Request for special notice Filed by Creditor Wilmington Savings
                      Fund Society, FSB, d/b/a Christiana Trust, not individually but as
                      trusteefor Pretium Mortgage Acquisition Trust. (Ferry, Sean)
                      (Entered: 04/28/2021)
193      05/10/2021   Declaration re: Declaration that no Party Requested a Hearing on
                      Motion LBR 9013-1(o)(3) (EVENT CODE UNAVAILABLE FOR
                      OTHER PROFESSIONAL FILINGS) Filed by Accountant SLBiggs
                      (RE: related document(s)190 Application to Employ SLBiggs as
                      Accountants to Chapter 7 Trustee Application for Retention of
                      Accountants; Statement of Disinterestedness; Declaration of
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#        Date         Proceeding Text                                                       Source
                      Accountant Filed by Accountant SLBiggs.). (Attachments: # 1
                      Exhibit Exhibit A # 2 Exhibit Exhibit B) (Biggs, Samuel) (Entered:
                      05/10/2021)
194      05/10/2021   Notice of lodgment of Order in Bankruptcy Case re: Approving
                      Application for Employment of SLBiggs, as Accountants to
                      Chapter 7 Trustee Filed by Accountant SLBiggs (RE: related
                      document(s)190 Application to Employ SLBiggs as Accountants to
                      Chapter 7 Trustee Application for Retention of Accountants;
                      Statement of Disinterestedness; Declaration of Accountant Filed
                      by Accountant SLBiggs.). (Biggs, Samuel) (Entered: 05/10/2021)
195      05/12/2021   Order Granting Application to Employ SLBIGGS (BNC-PDF)
                      (Related Doc # 190) Signed on 5/12/2021. (Gasparian, Ana)
                      (Entered: 05/12/2021)
196      05/14/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)195 Order on Application to Employ (BNC-PDF)) No.
                      of Notices: 1. Notice Date 05/14/2021. (Admin.) (Entered:
                      05/14/2021)
197      07/08/2021   Amending Schedules (E/F) Amended Summary of your Assets
                      and Liabilities, Amended Schedule A/B, C, E/F and Master Mailing
                      List With Proof of Service Filed by Debtor Joseph Wanamaker.
                      (Lively, Peter) (Entered: 07/08/2021)
         07/08/2021   Receipt of Amending Schedules D and/or E/F (Official Form 106D,
                      106E/F, 206D, or 206E/F) (Fee)( 1:20-bk-10026-VK)
                      [misc,amdsch] ( 32.00) Filing Fee. Receipt number AXXXXXXXX.
                      Fee amount 32.00. (re: Doc# 197) (U.S. Treasury) (Entered:
                      07/08/2021)
198      07/15/2021   Application to Employ Coldwell Banker Realty through its agents
                      William Friedman and Jane Schore as Real Estate Broker/Agents
                      For Chapter 7 Trustee with proof of service Filed by Trustee Amy
                      L Goldman (TR) (Pena, Leonard) (Entered: 07/15/2021)
199      07/15/2021   Notice of motion/application with proof of service Filed by Trustee
                      Amy L Goldman (TR) (RE: related document(s)198 Application to
                      Employ Coldwell Banker Realty through its agents William
                      Friedman and Jane Schore as Real Estate Broker/Agents For
                      Chapter 7 Trustee with proof of service Filed by Trustee Amy L
                      Goldman (TR)). (Pena, Leonard) (Entered: 07/15/2021)
200      07/15/2021   Statement of Disinterestedness For Employment Of Professional
                      Person Under FRBP 2014 (William Friedman) with proof of
                      service Filed by Trustee Amy L Goldman (TR). (Pena, Leonard)
                      (Entered: 07/15/2021)
201      07/15/2021   Statement of Disinterestedness For Employment Of Professional
                      Person Under FRBP 2014 (Jane Schore) with proof of service
                      Filed by Trustee Amy L Goldman (TR). (Pena, Leonard) (Entered:
                      07/15/2021)
202      07/19/2021   Motion For Contempt by Creditors The Affiliati Network, Inc. and
                      Sanjay Palta for OSC Re Contempt and Then to Hold 2004
                      Examinee, Christine Naud, in Contempt of Court for Refusing to
                      Produce Bank Records and Tax Returns from and After 1/1/2016
                      Pursuant to Production Requests 40 and 43 in Exhibit 1 to the
                      Subpoena Served 6/22/2020 (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett)
                      (Entered: 07/19/2021)
203      07/19/2021   Notice of motion/application (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)202 Motion For Contempt by Creditors The Affiliati
                      Network, Inc. and Sanjay Palta for OSC Re Contempt and Then to
                      Hold 2004 Examinee, Christine Naud, in Contempt of Court for
                      Refusing to Produce Bank Records and Tax Returns from and
                      After 1/1/2016 Pursuant to Production Requests 40 and 43 in
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#        Date         Proceeding Text                                                         Source
                      Exhibit 1 to the Subpoena Served 6/22/2020 (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.). (Curlee, Brett) (Entered: 07/19/2021)
204      07/19/2021   Declaration re: John J. Menchaca in Support of Motion (with proof
                      of service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc. (RE: related document(s)202 Motion For Contempt by
                      Creditors The Affiliati Network, Inc. and Sanjay Palta for OSC Re
                      Contempt and Then to Hold 2004 Examinee, Christine Naud, in
                      Contempt of Court for Refusing to Produce Bank Records and Tax
                      Returns from and After 1/1/2016 Pursua). (Attachments: # 1
                      Appendix Part 2 of 11 # 2 Appendix Part 3 of 11 # 3 Appendix Part
                      4 of 11 # 4 Appendix Part 5 of 11 # 5 Appendix Part 6 of 11 # 6
                      Appendix Part 7 of 11 # 7 Appendix Part 8 of 11 # 8 Appendix Part
                      9 of 11 # 9 Appendix Part 10 of 11 # 10 Appendix Part 11 of 11)
                      (Curlee, Brett) (Entered: 07/19/2021)
205      07/19/2021   Declaration re: Sanjay Palta in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)202 Motion For Contempt by Creditors
                      The Affiliati Network, Inc. and Sanjay Palta for OSC Re Contempt
                      and Then to Hold 2004 Examinee, Christine Naud, in Contempt of
                      Court for Refusing to Produce Bank Records and Tax Returns
                      from and After 1/1/2016 Pursua). (Curlee, Brett) (Entered:
                      07/19/2021)
206      07/19/2021   Declaration re: Brett Curlee in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)202 Motion For Contempt by Creditors
                      The Affiliati Network, Inc. and Sanjay Palta for OSC Re Contempt
                      and Then to Hold 2004 Examinee, Christine Naud, in Contempt of
                      Court for Refusing to Produce Bank Records and Tax Returns
                      from and After 1/1/2016 Pursua). (Attachments: # 1 Appendix Part
                      2 of 8 # 2 Appendix Part 3 of 8 # 3 Appendix Part 4 of 8 # 4
                      Appendix Part 5 of 8 # 5 Appendix Part 6 of 8 # 6 Appendix Part 7
                      of 8 # 7 Appendix Part 8 of 8) (Curlee, Brett) (Entered:
                      07/19/2021)
207      07/19/2021   Declaration re: Travis A. Corder in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)202 Motion For Contempt by Creditors
                      The Affiliati Network, Inc. and Sanjay Palta for OSC Re Contempt
                      and Then to Hold 2004 Examinee, Christine Naud, in Contempt of
                      Court for Refusing to Produce Bank Records and Tax Returns
                      from and After 1/1/2016 Pursua). (Curlee, Brett) (Entered:
                      07/19/2021)
208      07/19/2021   Request for judicial notice in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)202 Motion For Contempt by Creditors
                      The Affiliati Network, Inc. and Sanjay Palta for OSC Re Contempt
                      and Then to Hold 2004 Examinee, Christine Naud, in Contempt of
                      Court for Refusing to Produce Bank Records and Tax Returns
                      from and After 1/1/2016 Pursua). (Attachments: # 1 Appendix Part
                      2 of 2)) (Curlee, Brett) (Entered: 07/19/2021)
209      07/19/2021   Notice of lodgment of Order on Motion (with proof of service) Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)202 Motion For Contempt by Creditors The Affiliati
                      Network, Inc. and Sanjay Palta for OSC Re Contempt and Then to
                      Hold 2004 Examinee, Christine Naud, in Contempt of Court for
                      Refusing to Produce Bank Records and Tax Returns from and
                      After 1/1/2016 Pursuant to Production Requests 40 and 43 in
                      Exhibit 1 to the Subpoena Served 6/22/2020 (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.). (Curlee, Brett) (Entered: 07/19/2021)
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#        Date         Proceeding Text                                                         Source
210      07/22/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Extend the Deadline to File a Complaint Under 11
                      U.S.C. Sections 523 and 727 from August 30, 2021 to October 8,
                      2021 to Resolve Discovery Disputes (with proof of service) Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee,
                      Brett) (Entered: 07/22/2021)
211      07/22/2021   Notice of lodgment of Order re Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)210 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor to Extend the Deadline to File a
                      Complaint Under 11 U.S.C. Sections 523 and 727 from August 30,
                      2021 to October 8, 2021 to Resolve Discovery Disputes (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Curlee, Brett) (Entered: 07/22/2021)
212      07/23/2021   Opposition to (related document(s): 202 Motion For Contempt by
                      Creditors The Affiliati Network, Inc. and Sanjay Palta for OSC Re
                      Contempt and Then to Hold 2004 Examinee, Christine Naud, in
                      Contempt of Court for Refusing to Produce Bank Records and Tax
                      Returns from and After 1/1/2016 Pursua filed by Creditor Sanjay
                      Palta, Creditor The Affiliati Network, Inc., 203 Notice of
                      motion/application filed by Creditor Sanjay Palta, Creditor The
                      Affiliati Network, Inc.) PRELIMINARY Opposition to Notice of
                      Motion and Motion for OSC re: Contempt of Court against
                      Christine Naud, with Proof of Service Filed by Attorney Christine
                      Naud (Lally, David) (Entered: 07/23/2021)
213      07/23/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Christine Naud to reset dates and times of 2004
                      Exams Pending Resolution of Discovery Disputes (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Curlee, Brett) (Entered: 07/23/2021)
214      07/23/2021   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)213 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor and Christine Naud to reset dates
                      and times of 2004 Exams Pending Resolution of Discovery
                      Disputes (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.). (Curlee, Brett) (Entered: 07/23/2021)
215      07/23/2021   Declaration re: Supplemental Declaration Of Chapter 7 Trustee
                      Amy L. Goldman In Support Of Application To Employ Real Estate
                      Broker To Sell The Estates Interest In The Real Property
                      Commonly Known As 4070 Wilkinson Ave., Studio City, Ca 91604
                      with proof of service Filed by Trustee Amy L Goldman (TR) (RE:
                      related document(s)198 Application to Employ Coldwell Banker
                      Realty through its agents William Friedman and Jane Schore as
                      Real Estate Broker/Agents For Chapter 7 Trustee with proof of
                      service). (Pena, Leonard) (Entered: 07/23/2021)
216      07/23/2021   Order (1) Setting Hearing on Motion By Creditors The Affiliati
                      Network, Inc. and Sanjay Palta for OSC Re Contempt and then for
                      Order Holding 2004 Examinee, Christine Naud, in Contempt of
                      Court After Hearing; and (2) Requiring Complience with LBR
                      7026-1(C)(3) (BNC-PDF) (Related Doc # 202 ) Signed on
                      7/23/2021 (Gasparian, Ana) (Entered: 07/23/2021)
217      07/23/2021   Hearing Set Related document(s) 202 Motion For Contempt by
                      Creditors The Affiliati Network, Inc. and Sanjay Palta for OSC Re
                      Contempt and Then to Hold 2004 Examinee, Christine Naud, in
                      Contempt of Court for Refusing to Produce Bank Records and Tax
                      Returns from and After 1/1/2016 Pursua filed by Creditor Sanjay
                      Palta, Creditor The Affiliati Network, Inc.. Show Cause hearing to
                      be held on 9/23/2021 at 01:30 PM at Crtrm 301, 21041 Burbank
                      Blvd, Woodland Hills, CA 91367. The case judge is Victoria S.
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#        Date         Proceeding Text                                                         Source
                      Kaufman (Gasparian, Ana) (Entered: 07/23/2021)
218      07/23/2021   Order Approving Stipulation Between the Debtor and Creditors the
                      Affiliati Network, Inc. and Sanjay Palta to Extend Deadline to File
                      a Complaint Under 11 U.S.C. 523 and 727 from August 30, 2021
                      to October 8, 2021 (BNC-PDF) (Related Doc # 210 ) Signed on
                      7/23/2021 (Gasparian, Ana) (Entered: 07/23/2021)
219      07/23/2021   Order on Stipulation Between the Debtor Joseph Wanamaker,
                      Christine Naud, and Creditors the Affiliati Network, Inc. and
                      Sanjay Palta to Reset Dates and Times in the Orders on Motions
                      for Rule 2004 Examinations (BNC-PDF) (Related Doc # 213 )
                      Signed on 7/23/2021 (Gasparian, Ana) (Entered: 07/23/2021)
220      07/25/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)216 Order on Motion for Contempt (BNC-PDF)) No.
                      of Notices: 1. Notice Date 07/25/2021. (Admin.) (Entered:
                      07/25/2021)
221      07/25/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)218 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 07/25/2021. (Admin.) (Entered:
                      07/25/2021)
222      07/25/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)219 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 07/25/2021. (Admin.) (Entered:
                      07/25/2021)
223      08/02/2021   Declaration That No Party Requested a Hearing on Motion (LBR
                      9013-1(o)(3)) with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)198 Application to Employ
                      Coldwell Banker Realty through its agents William Friedman and
                      Jane Schore as Real Estate Broker/Agents For Chapter 7 Trustee
                      with proof of service). (Pena, Leonard) (Entered: 08/02/2021)
224      08/04/2021   Order Granting Chapter 7 Trustee''s Application to Employ
                      Coldwell Banker Realty as Real Estate Brokers. (BNC-PDF)
                      (Related Doc # 198) Signed on 8/4/2021. (Garcia, Patty) (Entered:
                      08/04/2021)
225      08/05/2021   Summary of Assets and Liabilities for Individual (Official Form
                      106Sum or 206Sum) , Amended Schedule C: The Property You
                      Claimed as Exempt (Official Form 106C) Amended Schedule E/F,
                      Amendment to List of Creditors. With Proof of Service Fee
                      Amount $32 Filed by Debtor Joseph Wanamaker. (Lively, Peter)
                      (Entered: 08/05/2021)
         08/05/2021   Receipt of Amended List of Creditors (Fee)( 1:20-bk-10026-VK)
                      [misc,amdcm] ( 32.00) Filing Fee. Receipt number AXXXXXXXX.
                      Fee amount 32.00. (re: Doc# 225) (U.S. Treasury) (Entered:
                      08/05/2021)
226      08/05/2021   Notice of Change of Address With Proof of Address Filed by
                      Debtor Joseph Wanamaker. (Lively, Peter) (Entered: 08/05/2021)
227      08/06/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)224 Order on Application to Employ (BNC-PDF)) No.
                      of Notices: 1. Notice Date 08/06/2021. (Admin.) (Entered:
                      08/06/2021)
228      08/23/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and
                      Christine Naud to Hold Christine Naud in Contempt of Court for
                      Failing and Refusing to Produce Documents (related to dkt
                      202)(with proof of service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (Curlee, Brett) (Entered: 08/23/2021)
229      08/23/2021   Notice of service of the OSC on Christine Naud (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)216 Order (1) Setting Hearing on Motion
                      By Creditors The Affiliati Network, Inc. and Sanjay Palta for OSC
                      Re Contempt and then for Order Holding 2004 Examinee,
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#        Date         Proceeding Text                                                           Source
                      Christine Naud, in Contempt of Court After Hearing; and (2)
                      Requiring Complience with LBR 7026-1(C)(3) (BNC-PDF)
                      (Related Doc # 202) Signed on 7/23/2021). (Curlee, Brett)
                      (Entered: 08/23/2021)
230      08/23/2021   Notice of Hearing on Motion for OSC (dkt 202) and Joint
                      Stipulation (dkt 228)(with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)228 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and Christine Naud to Hold Christine Naud in Contempt of
                      Court for Failing and Refusing to Produce Documents (related to
                      dkt 202)(with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.). (Curlee, Brett) (Entered: 08/23/2021)
231      08/23/2021   Notice Hearing to be held remotely using Zoomgov (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)230 Notice of Hearing on Motion for OSC
                      (dkt 202) and Joint Stipulation (dkt 228)(with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)228 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and Christine Naud to Hold Christine Naud in
                      Contempt of Court for Failing and Refusing to Produce
                      Documents (related to dkt 202)(with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.).). (Curlee, Brett)
                      (Entered: 08/23/2021)
232      09/01/2021   Motion For Sale of Property of the Estate under Section 363(b) -
                      No Fee Trustees Motion For Order: (1) Authorizing Sale Of
                      Estates Right, Title And Interest In The Real Property Commonly
                      Known As 4070 Wilkinson Ave, Studio City, Ca 91604 Free And
                      Clear Of Liens; (2) Approving Overbid Procedure; (3) Approving
                      Payment Of Real Estate Brokers Commissions; (4) Approving
                      Chapter 7 Trustees Revocation Of Living Trust; And (4) Finding
                      Purchaser Is A Good Faith Purchaser Memorandum Of Points
                      And Authorities; Declarations In Support Thereof with proof of
                      service Filed by Trustee Amy L Goldman (TR) (Pena, Leonard)
                      (Entered: 09/01/2021)
233      09/01/2021   Notice of Hearing with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)232 Motion For Sale of
                      Property of the Estate under Section 363(b) - No Fee Trustees
                      Motion For Order: (1) Authorizing Sale Of Estates Right, Title And
                      Interest In The Real Property Commonly Known As 4070
                      Wilkinson Ave, Studio City, Ca 91604 Free And Clear Of Liens; (2)
                      Approving Overbid Procedure; (3) Approving Payment Of Real
                      Estate Brokers Commissions; (4) Approving Chapter 7 Trustees
                      Revocation Of Living Trust; And (4) Finding Purchaser Is A Good
                      Faith Purchaser Memorandum Of Points And Authorities;
                      Declarations In Support Thereof with proof of service Filed by
                      Trustee Amy L Goldman (TR)). (Pena, Leonard) (Entered:
                      09/01/2021)
234      09/01/2021   Notice of Hearing Supplemental Notice Of Hearing To Be Held
                      Remotely Using Zoomgov Audio And Video with proof of service
                      Filed by Trustee Amy L Goldman (TR) (RE: related
                      document(s)232 Motion For Sale of Property of the Estate under
                      Section 363(b) - No Fee Trustees Motion For Order: (1)
                      Authorizing Sale Of Estates Right, Title And Interest In The Real
                      Property Commonly Known As 4070 Wilkinson Ave, Studio City,
                      Ca 91604 Free And Clear Of Liens; (2) Approving Overbid
                      Procedure; (3) Approving Payment Of Real Estate Brokers
                      Commissions; (4) Approving Chapter 7 Trustees Revocation Of
                      Living Trust; And (4) Finding Purchaser Is A Good Faith
                      Purchaser Memorandum Of Points And Authorities; Declarations
                      In Support Thereof with proof of service Filed by Trustee Amy L
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#        Date         Proceeding Text                                                          Source
                      Goldman (TR)). (Pena, Leonard) (Entered: 09/01/2021)
235      09/01/2021   Notice of sale of estate property (LBR 6004-2) 4070 Wilkinson
                      Avenue, Studio City, California 91604 Filed by Trustee Amy L
                      Goldman (TR). (Pena, Leonard) (Entered: 09/01/2021)
236      09/01/2021   Hearing Set (RE: related document(s)232 Motion to Sale of
                      Property of the Estate under Section 363(b) - No Fee filed by
                      Trustee Amy L Goldman (TR)) The Hearing date is set for
                      9/23/2021 at 01:30 PM at Crtrm 301, 21041 Burbank Blvd,
                      Woodland Hills, CA 91367. The case judge is Victoria S. Kaufman
                      (Cetulio, Julie) (Entered: 09/01/2021)
237      09/06/2021   Stipulation By Joseph Wanamaker and Creditors the Affiliati
                      Network, Inc. and Sanjay Palta to Extend the Deadline to File a
                      Complaint Under 11 U.S.C. Sections 523 and 727 from October 8,
                      2021 to October 29, 2021 (with Proof of Service) Filed by Debtor
                      Joseph Wanamaker (Lively, Peter) (Entered: 09/06/2021)
238      09/06/2021   Notice of lodgment of Order re Stipulation (with Proof of Service)
                      Filed by Debtor Joseph Wanamaker (RE: related document(s)237
                      Stipulation By Joseph Wanamaker and Creditors the Affiliati
                      Network, Inc. and Sanjay Palta to Extend the Deadline to File a
                      Complaint Under 11 U.S.C. Sections 523 and 727 from October 8,
                      2021 to October 29, 2021 (with Proof of Service) Filed by Debtor
                      Joseph Wanamaker). (Lively, Peter) (Entered: 09/06/2021)
239      09/06/2021   Stipulation By Joseph Wanamaker and and Christine Naud, and
                      Creditors the Affiliati Network, Inc. and Sanjay Palta to Reset
                      Dates and Times in the Orders on Motions for Rule 2004
                      Examinations (with Proof of Service) Filed by Debtor Joseph
                      Wanamaker (Lively, Peter) (Entered: 09/06/2021)
240      09/06/2021   Notice of lodgment of Order re Stipulation (with Proof of Service)
                      Filed by Debtor Joseph Wanamaker (RE: related document(s)239
                      Stipulation By Joseph Wanamaker and and Christine Naud, and
                      Creditors the Affiliati Network, Inc. and Sanjay Palta to Reset
                      Dates and Times in the Orders on Motions for Rule 2004
                      Examinations (with Proof of Service) Filed by Debtor Joseph
                      Wanamaker). (Lively, Peter) (Entered: 09/06/2021)
241      09/07/2021   Motion by Creditors Objecting to the Debtor''s Homestead
                      Exemption Claimed in Amended Schedules filed August 5, 2021
                      (dkt 225)(with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (Curlee, Brett) (Entered: 09/07/2021)
242      09/07/2021   Notice of motion/application (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)241 Motion by Creditors Objecting to the Debtor''s
                      Homestead Exemption Claimed in Amended Schedules filed
                      August 5, 2021 (dkt 225)(with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      09/07/2021)
243      09/07/2021   Declaration re: Sanjay Palta in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)241 Motion by Creditors Objecting to the
                      Debtor''s Homestead Exemption Claimed in Amended Schedules
                      filed August 5, 2021 (dkt 225)(with proof of service)). (Curlee,
                      Brett) (Entered: 09/07/2021)
244      09/07/2021   Declaration re: David Serber (Appraiser) in Support of Motion
                      (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)241 Motion by Creditors
                      Objecting to the Debtor''s Homestead Exemption Claimed in
                      Amended Schedules filed August 5, 2021 (dkt 225)(with proof of
                      service)). (Curlee, Brett) (Entered: 09/07/2021)
245      09/07/2021   Declaration re: Brett B. Curlee in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
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#        Date         Proceeding Text                                                          Source
                      (RE: related document(s)241 Motion by Creditors Objecting to the
                      Debtor''s Homestead Exemption Claimed in Amended Schedules
                      filed August 5, 2021 (dkt 225)(with proof of service)). (Curlee,
                      Brett) (Entered: 09/07/2021)
246      09/07/2021   Declaration re: Travis A. Corder in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)241 Motion by Creditors Objecting to the
                      Debtor''s Homestead Exemption Claimed in Amended Schedules
                      filed August 5, 2021 (dkt 225)(with proof of service)). (Curlee,
                      Brett) (Entered: 09/07/2021)
247      09/07/2021   Request for judicial notice in Support of Motion (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)241 Motion by Creditors Objecting to the
                      Debtor''s Homestead Exemption Claimed in Amended Schedules
                      filed August 5, 2021 (dkt 225)(with proof of service)). (Curlee,
                      Brett) (Entered: 09/07/2021)
248      09/07/2021   Declaration re: John J. Menchaca (Forensic Accountant) in
                      Support of Motion (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)241
                      Motion by Creditors Objecting to the Debtor''s Homestead
                      Exemption Claimed in Amended Schedules filed August 5, 2021
                      (dkt 225)(with proof of service)). (Attachments: # 1 Appendix Part
                      2 of 4 # 2 Appendix Part 3 of 4 # 3 Appendix Part 4 of 4 (with
                      proof of service)) (Curlee, Brett) (Entered: 09/07/2021)
249      09/07/2021   Declaration re: of John J. Menchaca Filed to Correct Defective
                      Filing dkt 248) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)241 Motion by Creditors
                      Objecting to the Debtor''s Homestead Exemption Claimed in
                      Amended Schedules filed August 5, 2021 (dkt 225)(with proof of
                      service)). (Attachments: # 1 Appendix (Part 2 of 9) # 2 Appendix
                      (Part 3 of 9) # 3 Appendix (part 4 of 9) # 4 Appendix (part 5 of 6) #
                      5 Appendix (Part 6 of 9) # 6 Appendix (Part 7 of 9) # 7 Appendix
                      (Part 8 of 9) # 8 Appendix (Part 9 of 9) with proof of service)
                      (Curlee, Brett) (Entered: 09/07/2021)
250      09/07/2021   Errata Re: Defective uploading of dkt 248 and refiling as dkt 249
                      (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)248 Declaration). (Curlee,
                      Brett) (Entered: 09/07/2021)
251      09/09/2021   Opposition to (related document(s): 232 Motion For Sale of
                      Property of the Estate under Section 363(b) - No Fee Trustees
                      Motion For Order: (1) Authorizing Sale Of Estates Right, Title And
                      Interest In The Real Property Commonly Known As 4070
                      Wilkinson Ave, Studio City, Ca 91604 Free And Cle filed by
                      Trustee Amy L Goldman (TR)) Joinder and Limited Opposition to
                      Motion Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Attachments: # 1 Index Part 2 # 2 Index Part 3) (Havkin, Stella)
                      (Entered: 09/09/2021)
252      09/09/2021   Order on Stipulation between the debtor, Joseph Wanamaker,
                      Christine Naud, and creditors the Affiliati Network, Inc. and Sanjay
                      Palta to reset dates and times in the orders on motion for rule
                      2004 examinations (BNC-PDF) (Related Doc # 239 ) Signed on
                      9/9/2021 (Gasparian, Ana) (Entered: 09/09/2021)
253      09/09/2021   Order approving stipulation between the debtor and creditors the
                      Affiliati Network, Inc. and Sanjay Palta to extend the deadline to
                      file a complaint under 11 U.S.C. 523 and 727 from October 8,
                      2021 to October 29, 2021 (BNC-PDF) (Related Doc # 237 )
                      Signed on 9/9/2021 (Gasparian, Ana) (Entered: 09/09/2021)
254      09/09/2021   Stipulation By Christine Naud and Ship Plus Logistics and Amy
                      Goldman, Ch. 7 Trustee Filed by Attorney Christine Naud (Frost,
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#        Date         Proceeding Text                                                         Source
                      Chris) (Entered: 09/09/2021)
255      09/09/2021   Notice of lodgment Ship Plus Logistics and Amy Goldman, Ch. 7
                      Trustee Filed by Attorney Christine Naud (RE: related
                      document(s)254 Stipulation By Christine Naud and Ship Plus
                      Logistics and Amy Goldman, Ch. 7 Trustee Filed by Attorney
                      Christine Naud). (Frost, Chris) (Entered: 09/09/2021)
256      09/09/2021   Opposition to (related document(s): 202 Motion For Contempt by
                      Creditors The Affiliati Network, Inc. and Sanjay Palta for OSC Re
                      Contempt and Then to Hold 2004 Examinee, Christine Naud, in
                      Contempt of Court for Refusing to Produce Bank Records and Tax
                      Returns from and After 1/1/2016 Pursua filed by Creditor Sanjay
                      Palta, Creditor The Affiliati Network, Inc.) Opposition to Motion for
                      Order to Show Cause Re: Contempt of Court Against Christine
                      Naud With Proof of Service Filed by Attorney David Lally (Lally,
                      David) (Entered: 09/09/2021)
257      09/09/2021   Declaration re: of Joe Wanamaker in Support of Opposition to
                      Notice of Motion and Motion for Order to Show Cause Re:
                      Contempt of Court Against Christine Naud With Proof of Service
                      Filed by Attorney David Lally (RE: related document(s)256
                      Opposition). (Attachments: # 1 Exhibit Exhibits A to G # 2 Exhibit
                      Exhibit H to N) (Lally, David) (Entered: 09/09/2021)
258      09/09/2021   Declaration re: of Christine Naud in Support of Opposition to
                      Notice of Motion and Motion for Order to Show Cause Re:
                      Contempt of Court Against Christine Naud With Proof of Service
                      Filed by Attorney David Lally (RE: related document(s)257
                      Declaration). (Lally, David) (Entered: 09/09/2021)
259      09/10/2021   Opposition to (related document(s): 232 Motion For Sale of
                      Property of the Estate under Section 363(b) - No Fee Trustees
                      Motion For Order: (1) Authorizing Sale Of Estates Right, Title And
                      Interest In The Real Property Commonly Known As 4070
                      Wilkinson Ave, Studio City, Ca 91604 Free And Cle filed by
                      Trustee Amy L Goldman (TR)) Filed by Creditor Ronald Thomas
                      (Wegman, Barry) (Entered: 09/10/2021)
260      09/10/2021   Declaration re: Late Filed Limited Opposition Filed by Creditor
                      Ronald Thomas (RE: related document(s)259 Opposition).
                      (Wegman, Barry) (Entered: 09/10/2021)
261      09/11/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)252 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 09/11/2021. (Admin.) (Entered:
                      09/11/2021)
262      09/11/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)253 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 09/11/2021. (Admin.) (Entered:
                      09/11/2021)
263      09/13/2021   Errata re: Table of Contents and Table of Authorities (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)241 Motion by Creditors Objecting to the
                      Debtor''s Homestead Exemption Claimed in Amended Schedules
                      filed August 5, 2021 (dkt 225)(with proof of service)). (Curlee,
                      Brett) (Entered: 09/13/2021)
264      09/13/2021   Adversary case 1:21-ap-01060. Complaint by Amy L Goldman
                      against Ronald Thomas. ($350.00 Fee Charge To Estate).
                      (Attachments: # 1 Adversary Proceeding Cover Sheet # 2
                      Summons And Notice Of Status Conference In Adversary
                      Proceeding) Nature of Suit: (13 (Recovery of money/property -
                      548 fraudulent transfer)) (Pena, Leonard) (Entered: 09/13/2021)
265      09/13/2021   Notice of motion/application Notice of Joinder in Creditor Ronald
                      Thomas Limited Opposition to Trustees Motion for an Order
                      Authorizing Sale of Estates Right, Title, and Interest in Real
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#        Date         Proceeding Text                                                         Source
                      Property Commonly Known as 4070 Wilkinson Ave., Studio City
                      CA 91604 Filed by Attorney Christine Naud. (Frost, Chris)
                      (Entered: 09/13/2021)
266      09/14/2021   Adversary case 1:21-ap-01062. Complaint by Amy L Goldman
                      against Ship Plus Logistics. ($350.00 Fee Charge To Estate).
                      (Attachments: # 1 Adversary Proceeding Cover Sheet # 2
                      Summons and Notice of Status Conference In Adversary
                      Proceeding) Nature of Suit: (13 (Recovery of money/property -
                      548 fraudulent transfer)) (Pena, Leonard) (Entered: 09/14/2021)
267      09/16/2021   Reply to (related document(s): 256 Opposition filed by Attorney
                      David Lally) (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (Curlee, Brett) (Entered: 09/16/2021)
268      09/16/2021   Request for judicial notice Supplemental (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)202 Motion For Contempt by Creditors The
                      Affiliati Network, Inc. and Sanjay Palta for OSC Re Contempt and
                      Then to Hold 2004 Examinee, Christine Naud, in Contempt of
                      Court for Refusing to Produce Bank Records and Tax Returns
                      from and After 1/1/2016 Pursua). (Curlee, Brett) (Entered:
                      09/16/2021)
269      09/16/2021   Notice of Change of Contact Information Filed by Attorney
                      Christine Naud. (Frost, Chris) (Entered: 09/16/2021)
270      09/20/2021   Reply to (related document(s): 251 Opposition filed by Creditor
                      Sanjay Palta, Creditor The Affiliati Network, Inc., 259 Opposition
                      filed by Creditor Ronald Thomas, 265 Notice of motion/application
                      filed by Attorney Christine Naud) with proof of service Filed by
                      Trustee Amy L Goldman (TR) (Pena, Leonard) (Entered:
                      09/20/2021)
271      09/20/2021   Adversary case 1:21-ap-01063. Notice of Removal of Superior
                      Court Complaint For Damages and Declaratory Relief for
                      Fraudulent Conveyances, Conspiracy to Commit Fraudulent
                      Transfers, Declaratory Relief, and Unjust Enrichment, and to
                      Initiate Adversary Proceeding, with Proof of Service by Christine
                      Naud, Joseph Naud, Jeffrey Scott, Patrick M. Merrigan. Fee
                      Amount $350 (Attachments: # 1 Exhibit # 2 Exhibit) Nature of Suit:
                      (01 (Determination of removed claim or cause)),(13 (Recovery of
                      money/property - 548 fraudulent transfer)),(91 (Declaratory
                      judgment)) (Lally, David) (Entered: 09/20/2021)
272      09/24/2021   Notice of Hearing Set for October 21, 2021 at 1:30 p.m. (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)241 Motion by Creditors
                      Objecting to the Debtor''s Homestead Exemption Claimed in
                      Amended Schedules filed August 5, 2021 (dkt 225)(with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.). (Curlee, Brett) (Entered: 09/24/2021)
273      09/24/2021   Supplemental Notice of Hearing to be Held Remotely Using
                      ZOOMGOV Audio and Video (with proof of service)(related to dkt
                      nos. 225 and 272) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.. (Curlee, Brett) (Entered: 09/24/2021)
274      09/24/2021   Hearing Set (RE: related document(s)241 Generic Motion filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) The
                      Hearing date is set for 10/21/2021 at 01:30 PM at Crtrm 301,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The case judge
                      is Victoria S. Kaufman (Garcia, Patty) (Entered: 09/24/2021)
275      09/24/2021   Hearing Continued pursuant to ruling on 9/23/21. Order to Show
                      Cause hearing to be held on 10/7/2021 at 01:30 PM at Crtrm 301,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The case judge
                      is Victoria S. Kaufman (Garcia, Patty). Related document(s) 202
                      Motion For Contempt by Creditors The Affiliati Network, Inc. and
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#        Date         Proceeding Text                                                      Source
                      Sanjay Palta for OSC Re Contempt and Then to Hold 2004
                      Examinee, Christine Naud, in Contempt of Court for Refusing to
                      Produce Bank Records and Tax Returns from and After 1/1/2016
                      Pursua filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc.. Modified on 9/24/2021 (Garcia, Patty). (Entered:
                      09/24/2021)
276      09/24/2021   Hearing Held 9/23/21 - Ruling: Granted. (RE: related
                      document(s)232 Motion to Sale of Property of the Estate under
                      Section 363(b) - No Fee filed by Trustee Amy L Goldman (TR))
                      (Garcia, Patty) (Entered: 09/24/2021)
277      09/27/2021   Notice of lodgment with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)232 Motion For Sale of
                      Property of the Estate under Section 363(b) - No Fee Trustees
                      Motion For Order: (1) Authorizing Sale Of Estates Right, Title And
                      Interest In The Real Property Commonly Known As 4070
                      Wilkinson Ave, Studio City, Ca 91604 Free And Clear Of Liens; (2)
                      Approving Overbid Procedure; (3) Approving Payment Of Real
                      Estate Brokers Commissions; (4) Approving Chapter 7 Trustees
                      Revocation Of Living Trust; And (4) Finding Purchaser Is A Good
                      Faith Purchaser Memorandum Of Points And Authorities;
                      Declarations In Support Thereof with proof of service Filed by
                      Trustee Amy L Goldman (TR)). (Pena, Leonard) (Entered:
                      09/27/2021)
278      10/04/2021   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                      Frost, Chris. (Frost, Chris) (Entered: 10/04/2021)
279      10/04/2021   Objection (related document(s): 277 Notice of Lodgment filed by
                      Trustee Amy L Goldman (TR)) re Trustees Proposed Order
                      Granting Trustees Motion For Order: (1) Authorizing Sale Of
                      Estates Right, Title And Interest In The Real Property Commonly
                      Known As 4070 Wilkinson Ave, Studio City, Ca 91604 Free And
                      Clear Of Liens; (2) Approving Overbid Procedure; (3) Approving
                      Payment Of Real Estate Brokers Commissions; (4) Approving
                      Chapter 7 Trustees Revocation Of Living Trust; And (5) Finding
                      Purchasers Are Good Faith Purchasers Filed by Attorney
                      Christopher Lynn Frost (Attachments: # 1 Proposed Order) (Frost,
                      Chris) (Entered: 10/04/2021)
280      10/04/2021   Notice of lodgment of Order Granting Trustees Motion For Order:
                      (1) Authorizing Sale Of Estates Right, Title And Interest In The
                      Real Property Commonly Known As 4070 Wilkinson Ave, Studio
                      City, Ca 91604 Free And Clear Of Liens; (2) Approving Overbid
                      Procedure; (3) Approving Payment Of Real Estate Brokers
                      Commissions; (4) Approving Chapter 7 Trustees Revocation Of
                      Living Trust; And (5) Finding Purchasers Are Good Faith
                      Purchasers Filed by Attorney Christopher Lynn Frost (RE: related
                      document(s)279 Objection (related document(s): 277 Notice of
                      Lodgment filed by Trustee Amy L Goldman (TR)) re Trustees
                      Proposed Order Granting Trustees Motion For Order: (1)
                      Authorizing Sale Of Estates Right, Title And Interest In The Real
                      Property Commonly Known As 4070 Wilkinson Ave, Studio City,
                      Ca 91604 Free And Clear Of Liens; (2) Approving Overbid
                      Procedure; (3) Approving Payment Of Real Estate Brokers
                      Commissions; (4) Approving Chapter 7 Trustees Revocation Of
                      Living Trust; And (5) Finding Purchasers Are Good Faith
                      Purchasers Filed by Attorney Christopher Lynn Frost
                      (Attachments: # 1 Proposed Order)). (Frost, Chris) (Entered:
                      10/04/2021)
281      10/04/2021   Objection (related document(s): 280 Notice of Lodgment filed by
                      Attorney Christopher Lynn Frost) with proof of service Filed by
                      Trustee Amy L Goldman (TR) (Pena, Leonard) (Entered:
                      10/04/2021)
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#        Date         Proceeding Text                                                         Source
282      10/05/2021   Reply to (related document(s): 256 Opposition filed by Attorney
                      David Lally) (Supplemental) attaching transcripts of 341(a)
                      creditors meeting on February 18, 2020 and May 27, 2020 (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 10/05/2021)
283      10/06/2021   Order Granting Ttustee''s Motion For Order: (1) Authorizing sale of
                      estate''s right, title and interest in the real property commonly
                      known as 4070 Wilkinson Ave. , Studio City, CA 91604 free and
                      clear of liens; (2) Approving overbid procedure; (3) Approving
                      payment of real estate brokers'' commissions; (4) Approving
                      chapter 7 trustee''s revocation of living trust; and (5) Finding
                      purchasers are good faith purchasers (BNC-PDF) (Related Doc #
                      232 ) Signed on 10/6/2021 (Gasparian, Ana) (Entered:
                      10/06/2021)
284      10/06/2021   Request for a Certified Copy Fee Amount $11. The document will
                      be sent via email to :lpena@penalaw.com: Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)283 Order on Motion for
                      Sale of Property under Section 363(b) (BNC-PDF)). (Pena,
                      Leonard) (Entered: 10/06/2021)
         10/06/2021   Receipt of Request for a Certified Copy( 1:20-bk-10026-VK)
                      [misc,paycert] ( 11.00) Filing Fee. Receipt number AXXXXXXXX.
                      Fee amount 11.00. (re: Doc# 284 ) (U.S. Treasury) (Entered:
                      10/06/2021)
285      10/06/2021   Certified Copy Emailed to lpena@penalaw.com (Entered:
                      10/06/2021)
286      10/07/2021   See attached PDF Re Court''s Ruling at hearing held on 10/7/21
                      at 1:30 PM. (RE: related document(s)202 Motion for Contempt
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      (Garcia, Patty) (Entered: 10/07/2021)
287      10/07/2021   Opposition to (related document(s): 241 Motion by Creditors
                      Objecting to the Debtor''s Homestead Exemption Claimed in
                      Amended Schedules filed August 5, 2021 (dkt 225)(with proof of
                      service) filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc.) Opposition to Motion Objecting to Debtor''s
                      Homestead Exemption, with Proof of Service Filed by Debtor
                      Joseph Wanamaker (Lally, David) (Entered: 10/07/2021)
288      10/07/2021   Objection (related document(s): 241 Motion by Creditors Objecting
                      to the Debtor''s Homestead Exemption Claimed in Amended
                      Schedules filed August 5, 2021 (dkt 225)(with proof of service)
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.,
                      244 Declaration filed by Creditor Sanjay Palta, Creditor The
                      Affiliati Network, Inc., 245 Declaration filed by Creditor Sanjay
                      Palta, Creditor The Affiliati Network, Inc., 248 Declaration filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc., 249
                      Declaration filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc.) Evidentiary Objections in Support of Opposition to
                      Motion Objecting to Debtor''s Homestead Exemption, with Proof of
                      Service Filed by Debtor Joseph Wanamaker (Lally, David)
                      (Entered: 10/07/2021)
289      10/07/2021   Opposition to (related document(s): 241 Motion by Creditors
                      Objecting to the Debtor''s Homestead Exemption Claimed in
                      Amended Schedules filed August 5, 2021 (dkt 225)(with proof of
                      service) filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc.) CORRECTED Opposition to Motion Objecting to
                      Debtor''s Homestead Exemption, with Proof of Service Filed by
                      Debtor Joseph Wanamaker (Lally, David) (Entered: 10/07/2021)
290      10/07/2021   Summary of Assets and Liabilities for Individual (Official Form
                      106Sum or 206Sum) , Amended Schedule A/B Individual:
                      Property (Official Form 106A/B or 206A/B) , Amended Schedule
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#        Date         Proceeding Text                                                           Source
                      C: The Property You Claimed as Exempt (Official Form 106C) ,
                      Statement of Financial Affairs for Individual Filing for Bankruptcy
                      (Official Form 107 or 207) Filed by Debtor Joseph Wanamaker.
                      (Lively, Peter) (Entered: 10/07/2021)
291      10/07/2021   Declaration re: of Joseph Wanamaker in Support of Opposition to
                      motion Objection to Debtor''s Homestead Exepmtion With Proof of
                      Service Filed by Debtor Joseph Wanamaker (RE: related
                      document(s)288 Objection, 289 Opposition). (Attachments: # 1
                      Exhibit Exhibit 1 Pt. 1 # 2 Exhibit Exhibit 1 Pt. 2 # 3 Exhibit Exhibit
                      1 Pt. 3 # 4 Exhibit Exhibit 2, 3 and 4 with Proof of Service) (Lively,
                      Peter) (Entered: 10/07/2021)
292      10/08/2021   Hearing Held 10/7/21 - Ruling: Grant Related document(s) 202
                      Motion For Contempt by Creditors The Affiliati Network, Inc. and
                      Sanjay Palta for OSC Re Contempt and Then to Hold 2004
                      Examinee, Christine Naud, in Contempt of Court for Refusing to
                      Produce Bank Records and Tax Returns from and After 1/1/2016
                      Pursua filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc..(Gasparian, Ana) (Entered: 10/08/2021)
293      10/08/2021   Notice to Filer of Error and/or Deficient Document Incorrect
                      hearing date/time was selected. THE FILER IS INSTRUCTED TO
                      FILE AN AMENDED NOTICE OF MOTION/HEARING WITH THE
                      CORRECT HEARING INFORMATION. (RE: related
                      document(s)287 Opposition filed by Debtor Joseph Wanamaker,
                      288 Objection filed by Debtor Joseph Wanamaker, 289 Opposition
                      filed by Debtor Joseph Wanamaker, 291 Declaration filed by
                      Debtor Joseph Wanamaker) (Gasparian, Ana) (Entered:
                      10/08/2021)
294      10/08/2021   Errata Notice of Errata Re: Declaration of Joseph Wanamaker in
                      Support of Opposition to Motion Objecting to the Debtor''s
                      Homestead Exemption (with Proof of Service) Filed by Debtor
                      Joseph Wanamaker (RE: related document(s)291 Declaration).
                      (Lively, Peter) (Entered: 10/08/2021)
295      10/08/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)283 Order on Motion for Sale of Property under
                      Section 363(b) (BNC-PDF)) No. of Notices: 1. Notice Date
                      10/08/2021. (Admin.) (Entered: 10/08/2021)
296      10/11/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Extend the Deadline to File a Complaint under 11
                      U.S.C. Sections 523 and 727 from October 29, 2021 to January
                      18, 2022 (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (Curlee, Brett) (Entered: 10/11/2021)
297      10/11/2021   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)296 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and the Debtor to Extend the Deadline to File a Complaint
                      under 11 U.S.C. Sections 523 and 727 from October 29, 2021 to
                      January 18, 2022 (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      10/11/2021)
298      10/11/2021   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Christine Naud to Continue the 2004 examinations of
                      the Debtor and Christine Naud (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett)
                      (Entered: 10/11/2021)
299      10/11/2021   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)298 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and the Debtor and Christine Naud to Continue the 2004
                      examinations of the Debtor and Christine Naud (with proof of
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                      service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.). (Curlee, Brett) (Entered: 10/11/2021)
300      10/11/2021   Notice of lodgment of Order Holding Christine Naud in Contempt
                      of Court (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (RE: related document(s)202 Motion For
                      Contempt by Creditors The Affiliati Network, Inc. and Sanjay Palta
                      for OSC Re Contempt and Then to Hold 2004 Examinee,
                      Christine Naud, in Contempt of Court for Refusing to Produce
                      Bank Records and Tax Returns from and After 1/1/2016 Pursuant
                      to Production Requests 40 and 43 in Exhibit 1 to the Subpoena
                      Served 6/22/2020 (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc., 216 Order (1) Setting Hearing on
                      Motion By Creditors The Affiliati Network, Inc. and Sanjay Palta for
                      OSC Re Contempt and then for Order Holding 2004 Examinee,
                      Christine Naud, in Contempt of Court After Hearing; and (2)
                      Requiring Complience with LBR 7026-1(C)(3) (BNC-PDF)
                      (Related Doc # 202) Signed on 7/23/2021). (Curlee, Brett)
                      (Entered: 10/11/2021)
301      10/13/2021   Stipulation By Joseph Wanamaker and The Affiliati Network Inc.
                      and Sanjay Palta to Continue Hearing on Creditors Objection to
                      the Creditors Amended Homestead Exemptions in Amended
                      Schedules Filed August 5, 2021 Filed by Debtor Joseph
                      Wanamaker (Lively, Peter) (Entered: 10/13/2021)
302      10/13/2021   Notice of lodgment Of Order in Bankruptcy Case Re: Order
                      Approving Stipulation Between the Debtor and Creditors the
                      Affiliati Network Inc. and Sanjay Palta to Continue Hearing on
                      Creditors Objection to the Debtors Amended Homestead
                      Exemption in Amended Schedules Filed August 5, 2021 Filed by
                      Debtor Joseph Wanamaker (RE: related document(s)301
                      Stipulation By Joseph Wanamaker and The Affiliati Network Inc.
                      and Sanjay Palta to Continue Hearing on Creditors Objection to
                      the Creditors Amended Homestead Exemptions in Amended
                      Schedules Filed August 5, 2021 Filed by Debtor Joseph
                      Wanamaker). (Lively, Peter) (Entered: 10/13/2021)
303      10/13/2021   Order After Hearing On Motion By Creditors The Affiliati Network,
                      Inc. and Sanjay Palta For OSC Re Contempt and Then For Order
                      Holding 2004 Examinee, Christine Naud in Contempt of Court
                      After Hearing For Refusing to Produce ank Records and Tax
                      Returns From and After 1/1/2016 Pursuant to Document
                      Production Requests 40 and 43 in Exhibit "1" to the Motion Served
                      with the Subpoena on 6/22/2020. (BNC-PDF) (Related Doc # 202
                      ) Signed on 10/13/2021 (Garcia, Patty) (Entered: 10/13/2021)
304      10/13/2021   Order On Stipulation To Continue Dates And Times In The Orders
                      On Motions For Examinations of the Debtor, Joseph Wanamaker,
                      and Christine Naud Pursuant to Federal Rule of Bankruptcy
                      Procedure 2004. (BNC-PDF) (Related Doc # 298 ) Signed on
                      10/13/2021 (Garcia, Patty) (Entered: 10/13/2021)
305      10/13/2021   Order Approving Stipulation Between The Debtor and Creditors
                      The Affiliati Network, Inc. and Sanjay Palta to Extend Deadline to
                      File a Coomplaint Under 11 U.S.C. 523 and 727 from October 29,
                      2021 to January 18, 2022. (BNC-PDF) (Related Doc # 296 )
                      Signed on 10/13/2021 (Garcia, Patty) (Entered: 10/13/2021)
306      10/13/2021   Order Approving Stipulation Between The Debtor And Creditors
                      The Affiliati Network Inc. and Sanjay Palta to Continue Hearing On
                      Creditors'' Objection to the Debtor''s Amended Homestead
                      Exemption in Amended Schedules Filed August 5, 2021. (BNC-
                      PDF) (Related Doc # 301 ) Signed on 10/13/2021 (Garcia, Patty)
                      (Entered: 10/13/2021)
         10/13/2021   Hearing (Bk Motion) Continued (RE: related document(s) 241
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                      GENERIC MOTION filed by The Affiliati Network, Inc.) Hearing to
                      be held on 11/18/2021 at 01:30 PM 21041 Burbank Blvd
                      Woodland Hills, CA 91367 for 241 , (Garcia, Patty) (Entered:
                      10/13/2021)
307      10/15/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)303 Order on Motion for Contempt (BNC-PDF)) No.
                      of Notices: 1. Notice Date 10/15/2021. (Admin.) (Entered:
                      10/15/2021)
308      10/15/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)304 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 10/15/2021. (Admin.) (Entered:
                      10/15/2021)
309      10/15/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)305 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 10/15/2021. (Admin.) (Entered:
                      10/15/2021)
310      10/15/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)306 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 10/15/2021. (Admin.) (Entered:
                      10/15/2021)
311      10/19/2021   Request for courtesy Notice of Electronic Filing (NEF) for Travis
                      Corder Filed by Havkin, Stella. (Havkin, Stella) (Entered:
                      10/19/2021)
312      11/02/2021   Declaration re: Noncompliance with Order Holding Christine Naud
                      in Contempt of Court (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)303 Order on Motion for Contempt (BNC-PDF)).
                      (Curlee, Brett) (Entered: 11/02/2021)
313      11/06/2021   Objection to Debtor''s Claim of Exemptions TO DEBTORS WILD
                      CARD EXEMPTION ON THE FIFTH AMENDED SCHEDULE C
                      Dkt #290 AND REQUEST FOR EXTENSION OF TIME TO
                      FURTHER OBJECT PENDING POTENTIAL DISCOVERY
                      THEREON; REQUEST FOR JUDICIAL NOTICE IN SUPPORT
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc..
                      (Havkin, Stella) WARNING: Item subsequently amended by
                      docket entry #318. Modified on 11/8/2021 (Garcia, Patty).
                      (Entered: 11/06/2021)
314      11/06/2021   Notice of Hearing on Objection to Debtor''s Wild Card Exemption
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc..
                      (Havkin, Stella) (Entered: 11/06/2021)
315      11/06/2021   Notice Supplemental Notice of Hearing to be held via Zoomgov
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)313 Objection to Debtor''s Claim of
                      Exemptions TO DEBTORS WILD CARD EXEMPTION ON THE
                      FIFTH AMENDED SCHEDULE C Dkt #290 AND REQUEST FOR
                      EXTENSION OF TIME TO FURTHER OBJECT PENDING
                      POTENTIAL DISCOVERY THEREON; REQUEST FOR JUDICIAL
                      NOTICE IN SUPPORT Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc.., 314 Notice of Hearing on Objection to
                      Debtor''s Wild Card Exemption Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc..). (Havkin, Stella) WARNING: Item
                      subsequently amended by docket entry #319. Modified on
                      11/8/2021 (Garcia, Patty). (Entered: 11/06/2021)
316      11/06/2021   Withdrawal re: of Motion due to Mootness; Declaration of Stella
                      Havkin Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)241 Motion by Creditors Objecting to the
                      Debtor''s Homestead Exemption Claimed in Amended Schedules
                      filed August 5, 2021 (dkt 225)(with proof of service)). (Havkin,
                      Stella) WARNING: Item subsequently amended by docket entry
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#        Date         Proceeding Text                                                         Source
                      #320. Modified on 11/8/2021 (Garcia, Patty). (Entered:
                      11/06/2021)
317      11/06/2021   Notice of corrected time of hearing Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)314
                      Notice of Hearing on Objection to Debtor''s Wild Card Exemption
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc..).
                      (Havkin, Stella) (Entered: 11/06/2021)
318      11/08/2021   Notice to Filer of Error and/or Deficient Document Incorrect
                      docket event was used to file this document. THE FILER IS
                      INSTRUCTED TO RE-FILE THE DOCUMENT USING THE
                      CORRECT MOTION DOCKET EVENT. (RE: related
                      document(s)313 Objection to Debtor''s Claim of Exemptions filed
                      by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      (Garcia, Patty) (Entered: 11/08/2021)
319      11/08/2021   Notice to Filer of Error and/or Deficient Document Other - Matter
                      has NOT been set for hearing. Supplemental Notice is missing
                      ZoomGov Audio and Video information. Attorney must file
                      corrected Supplemental Notice immediately. (RE: related
                      document(s)315 Notice filed by Creditor Sanjay Palta, Creditor
                      The Affiliati Network, Inc.) (Garcia, Patty) (Entered: 11/08/2021)
320      11/08/2021   Notice to Filer of Error and/or Deficient Document Document filed
                      without electronic /s/ or holographic signature on page 4. THE
                      FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT WITH
                      THE PROPER SIGNATURES. (RE: related document(s)316
                      Withdrawal re: filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc.) (Garcia, Patty) (Entered: 11/08/2021)
321      11/08/2021   Notice Corrected attachment with signature Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)316 Withdrawal re: of Motion due to Mootness;
                      Declaration of Stella Havkin Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)241 Motion by
                      Creditors Objecting to the Debtor''s Homestead Exemption
                      Claimed in Amended Schedules filed August 5, 2021 (dkt
                      225)(with proof of service)).). (Havkin, Stella) (Entered:
                      11/08/2021)
322      11/08/2021   Notice Correct Supplemental Notice of Hearing to be held by
                      ZoomGov Audio and Video Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)315 Notice
                      Supplemental Notice of Hearing to be held via Zoomgov Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)313 Objection to Debtor''s Claim of Exemptions TO
                      DEBTORS WILD CARD EXEMPTION ON THE FIFTH AMENDED
                      SCHEDULE C Dkt #290 AND REQUEST FOR EXTENSION OF
                      TIME TO FURTHER OBJECT PENDING POTENTIAL
                      DISCOVERY THEREON; REQUEST FOR JUDICIAL NOTICE IN
                      SUPPORT Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.., 314 Notice of Hearing on Objection to Debtor''s Wild Card
                      Exemption Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc..). (Havkin, Stella) WARNING: Item subsequently amended by
                      docket entry #319. Modified on 11/8/2021., 319 Notice to Filer of
                      Error and/or Deficient Document Other - Matter has NOT been
                      set for hearing. Supplemental Notice is missing ZoomGov Audio
                      and Video information. Attorney must file corrected Supplemental
                      Notice immediately. (RE: related document(s)315 Notice filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)).
                      (Havkin, Stella) (Entered: 11/08/2021)
323      11/08/2021   Motion CREDITORS THE AFFIILIATI NETWORK, INC. AND
                      SANJAY PALTAS MOTION OBJECTING TO DEBTORS WILD
                      CARD EXEMPTION ON THE FIFTH AMENDED SCHEDULE C
                      Dkt #290 AND REQUEST FOR EXTENSION OF TIME TO
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                      FURTHER OBJECT PENDING POTENTIAL DISCOVERY
                      THEREON; REQUEST FOR JUDICIAL NOTICE IN SUPPORT
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 11/08/2021)
324      11/09/2021   Opposition to (related document(s): 316 Withdrawal re: filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      Objection to "Notice" of Withdrawal of Motion By Creditors, and
                      Declaration of Peter M. Lively, Esq., with Proof of Service Filed by
                      Debtor Joseph Wanamaker (Lally, David) (Entered: 11/09/2021)
325      11/09/2021   Hearing Set (RE: related document(s)323 Generic Motion filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) The
                      Hearing date is set for 12/23/2021 at 01:30 PM at Crtrm 301,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The case judge
                      is Victoria S. Kaufman (Gasparian, Ana) (Entered: 11/09/2021)
326      11/12/2021   Objection (related document(s): 291 Declaration filed by Debtor
                      Joseph Wanamaker) Evidentiary Objections Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (Havkin, Stella) (Entered:
                      11/12/2021)
327      11/12/2021   Reply to (related document(s): 241 Motion by Creditors Objecting
                      to the Debtor''s Homestead Exemption Claimed in Amended
                      Schedules filed August 5, 2021 (dkt 225)(with proof of service)
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      Declaration of Travis Corder in Support Thereof Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (Havkin, Stella) (Entered:
                      11/12/2021)
328      11/25/2021   Ex parte application FOR ORDER WITHOUT HEARING
                      RESETTING DATES FOR THE CONTINUED 2004
                      EXAMINATIONS OF JOSEPH WANAMAKER AND CHRISTINE
                      NAUD; DECLARATION OF TRAVIS A. CORDER IN SUPPORT
                      THEREOF Filed by Creditor The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 11/25/2021)
329      11/25/2021   Notice of lodgment of Order Regarding Ex Parte Application Filed
                      by Creditor The Affiliati Network, Inc. (RE: related document(s)328
                      Ex parte application FOR ORDER WITHOUT HEARING
                      RESETTING DATES FOR THE CONTINUED 2004
                      EXAMINATIONS OF JOSEPH WANAMAKER AND CHRISTINE
                      NAUD; DECLARATION OF TRAVIS A. CORDER IN SUPPORT
                      THEREOF Filed by Creditor The Affiliati Network, Inc.). (Havkin,
                      Stella) (Entered: 11/25/2021)
330      11/25/2021   Notice of Motion For Order Without a Hearing (LBR 9013-1(p) or
                      (q)) Filed by Creditor The Affiliati Network, Inc. (RE: related
                      document(s)328 Ex parte application FOR ORDER WITHOUT
                      HEARING RESETTING DATES FOR THE CONTINUED 2004
                      EXAMINATIONS OF JOSEPH WANAMAKER AND CHRISTINE
                      NAUD; DECLARATION OF TRAVIS A. CORDER IN SUPPORT
                      THEREOF Filed by Creditor The Affiliati Network, Inc.). (Havkin,
                      Stella) (Entered: 11/25/2021)
331      11/27/2021   Declaration re: Declaration of Christine Naud in Response to the
                      Inaccurate Declaration of Brett Curlee, Esq., filed on November 2,
                      2021, as Docket # 312, with Proof of Service Filed by Attorney
                      Christine Naud (RE: related document(s)312 Declaration). (Lally,
                      David) (Entered: 11/27/2021)
332      11/29/2021   Order Resetting Dates and Times for Continued Examinations of
                      the Debtor, Joseph Wanamaker and Christine Naud Pursuant to
                      Federal Rule of Bankruptcy Procedure 2004. (BNC-PDF) (Related
                      Doc # 328 ) Signed on 11/29/2021 (Garcia, Patty) (Entered:
                      11/29/2021)
333      11/29/2021   Opposition to (related document(s): 328 Ex parte application FOR
                      ORDER WITHOUT HEARING RESETTING DATES FOR THE
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                      CONTINUED 2004 EXAMINATIONS OF JOSEPH WANAMAKER
                      AND CHRISTINE NAUD; DECLARATION OF TRAVIS A.
                      CORDER IN SUPPORT THEREOF filed by Creditor The Affiliati
                      Network, Inc., 330 Notice of Motion For Order Without a Hearing
                      (LBR 9013-1(p) or (q)) filed by Creditor The Affiliati Network, Inc.)
                      with proof of service Filed by Attorney Christine Naud, Debtor
                      Joseph Wanamaker (Lally, David) (Entered: 11/29/2021)
334      12/01/2021   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)332 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 12/01/2021. (Admin.) (Entered: 12/01/2021)
335      12/06/2021   Motion Motion For Order Authorizing Chapter 7 Trustee To
                      Administer The Nonexempt $75,000 In Her Control and Notice Of
                      Opportuity To Request A Hearing On Motion with proof of service
                      Filed by Trustee Amy L Goldman (TR) (Pena, Leonard) (Entered:
                      12/06/2021)
336      12/08/2021   Notice of Rescheduled Hearing On Creditor''s Motion. (RE: related
                      document(s)323 Motion CREDITORS THE AFFIILIATI
                      NETWORK, INC. AND SANJAY PALTAS MOTION OBJECTING
                      TO DEBTORS WILD CARD EXEMPTION ON THE FIFTH
                      AMENDED SCHEDULE C Dkt #290 AND REQUEST FOR
                      EXTENSION OF TIME TO FURTHER OBJECT PENDING
                      POTENTIAL DISCOVERY THEREON; REQUEST FOR JUDICIAL
                      NOTICE IN SUPPORT Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc.). (Garcia, Patty) (Entered: 12/08/2021)
         12/08/2021   Hearing (Bk Motion) Continued (RE: related document(s) 323
                      GENERIC MOTION filed by The Affiliati Network, Inc.) Hearing to
                      be held on 01/13/2022 at 01:30 PM 21041 Burbank Blvd
                      Woodland Hills, CA 91367 for 323 , (Garcia, Patty) (Entered:
                      12/08/2021)
337      12/08/2021   Opposition to (related document(s): 323 Motion CREDITORS THE
                      AFFIILIATI NETWORK, INC. AND SANJAY PALTAS MOTION
                      OBJECTING TO DEBTORS WILD CARD EXEMPTION ON THE
                      FIFTH AMENDED SCHEDULE C Dkt #290 AND REQUEST FOR
                      EXTENSION OF TIME TO FURTHER OBJECT PENDING
                      POTENTIAL DISCOVERY THEREON; REQ filed by Creditor
                      Sanjay Palta, Creditor The Affiliati Network, Inc.) Opposition to
                      Motion Objecting To The Debtor''s Wildcard Exemptions With
                      Proof of Service Filed by Debtor Joseph Wanamaker (Lively,
                      Peter) (Entered: 12/08/2021)
338      12/08/2021   Objection (related document(s): 323 Motion CREDITORS THE
                      AFFIILIATI NETWORK, INC. AND SANJAY PALTAS MOTION
                      OBJECTING TO DEBTORS WILD CARD EXEMPTION ON THE
                      FIFTH AMENDED SCHEDULE C Dkt #290 AND REQUEST FOR
                      EXTENSION OF TIME TO FURTHER OBJECT PENDING
                      POTENTIAL DISCOVERY THEREON; REQ filed by Creditor
                      Sanjay Palta, Creditor The Affiliati Network, Inc.) Evidentiary
                      Objection in Support of Opposition to Motion Objecting to The
                      Debtor''s Wildcard Exemption With Proof of Service Filed by
                      Debtor Joseph Wanamaker (Lively, Peter) (Entered: 12/08/2021)
339      12/23/2021   Motion For Sanctions/Disgorgement Notice of Motion and Motion
                      Pursuant to Rule 9011 for Attorney''s Fees, Costs and Sanctions
                      Against Creditors The Affiliati Network and Sanjay Palta, and
                      Their Attorneys Brett Curlee, Travis Corder and Stella Havkin, with
                      Proof of Service Filed by Debtor Joseph Wanamaker
                      (Attachments: # 1 Exhibit) (Lally, David) WARNING: Item
                      subsequently amended by docket entry #342. Modified on
                      12/23/2021 (Garcia, Patty). (Entered: 12/23/2021)
340      12/23/2021   Declaration re: Declaration of David B. Lally, Esq., in Support of
                      Notice of Motion and Motion Pursuant to Rule 9011 for Attorney''s
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#        Date         Proceeding Text                                                       Source
                      Fees, Costs and Sanctions Against Creditors The Affiliati Network
                      and Sanjay Palta, and Their Attorneys Brett Curlee, Travis Corder
                      and Stella Havkin, with Proof of Service Filed by Debtor Joseph
                      Wanamaker (RE: related document(s)339 Motion For
                      Sanctions/Disgorgement Notice of Motion and Motion Pursuant to
                      Rule 9011 for Attorney''s Fees, Costs and Sanctions Against
                      Creditors The Affiliati Network and Sanjay Palta, and Their
                      Attorneys Brett Curlee, Travis Corder and Stella Hav). (Lally,
                      David) (Entered: 12/23/2021)
341      12/23/2021   Declaration re: Declaration of Peter Lively, Esq.,in Support of
                      Notice of Motion and Motion Pursuant to Rule 9011 for Attorney''s
                      Fees, Costs and Sanctions Against Creditors The Affiliati Network
                      and Sanjay Palta, and Their Attorneys Brett Curlee, Travis Corder
                      and Stella Havkin, with Proof of Service Filed by Debtor Joseph
                      Wanamaker (RE: related document(s)339 Motion For
                      Sanctions/Disgorgement Notice of Motion and Motion Pursuant to
                      Rule 9011 for Attorney''s Fees, Costs and Sanctions Against
                      Creditors The Affiliati Network and Sanjay Palta, and Their
                      Attorneys Brett Curlee, Travis Corder and Stella Hav). (Lally,
                      David) (Entered: 12/23/2021)
342      12/23/2021   Notice to Filer of Error and/or Deficient Document Other - Matter
                      has NOT been set for hearing. Filer is required to file the
                      Supplemental Notice of Hearing to be Held Remotely Using
                      ZoomGov Audio and Video. See Judge Kaufman''s self
                      calendaring instructions for more information. (RE: related
                      document(s)339 Motion for Sanctions/Disgorgement filed by
                      Debtor Joseph Wanamaker) (Garcia, Patty) (Entered: 12/23/2021)
343      12/27/2021   Notice of Hearing Notice of Hearing for Motion, Pursuant to Rule
                      9011, For Attorney''s Fees and Costs, and Sanctions, Against
                      Creditors Affiliati Network and Sanjay Palta, and their three
                      attorneys Travis Corder, Stella Havkin and Brett Curlee, with Proof
                      of Service Filed by Debtor Joseph Wanamaker (RE: related
                      document(s)339 Motion For Sanctions/Disgorgement Notice of
                      Motion and Motion Pursuant to Rule 9011 for Attorney''s Fees,
                      Costs and Sanctions Against Creditors The Affiliati Network and
                      Sanjay Palta, and Their Attorneys Brett Curlee, Travis Corder and
                      Stella Havkin, with Proof of Service Filed by Debtor Joseph
                      Wanamaker (Attachments: # 1 Exhibit) (Lally, David) WARNING:
                      Item subsequently amended by docket entry #342. Modified on
                      12/23/2021.). (Lally, David) (Entered: 12/27/2021)
344      12/27/2021   Hearing Set (RE: related document(s)339 Motion for
                      Sanctions/Disgorgement filed by Debtor Joseph Wanamaker) The
                      Hearing date is set for 1/13/2022 at 01:30 PM at Crtrm 301, 21041
                      Burbank Blvd, Woodland Hills, CA 91367. The case judge is
                      Victoria S. Kaufman (Cetulio, Julie) (Entered: 12/27/2021)
345      12/28/2021   Declaration That No Party Requested a Hearing on Motion (LBR
                      9013-1(o)(3)) with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)335 Motion Motion For
                      Order Authorizing Chapter 7 Trustee To Administer The
                      Nonexempt $75,000 In Her Control and Notice Of Opportuity To
                      Request A Hearing On Motion with proof of service). (Pena,
                      Leonard) (Entered: 12/28/2021)
346      12/30/2021   Motion for Protective Order Filed by Attorney Christine Naud
                      (Attachments: # 1 Volume(s)) (Frost, Chris) WARNING: Item
                      subsequently amended by docket entry #350. Modified on
                      1/3/2022 (Garcia, Patty). (Entered: 12/30/2021)
347      12/30/2021   Opposition to (related document(s): 339 Motion For
                      Sanctions/Disgorgement Notice of Motion and Motion Pursuant to
                      Rule 9011 for Attorney''s Fees, Costs and Sanctions Against
                      Creditors The Affiliati Network and Sanjay Palta, and Their
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#        Date         Proceeding Text                                                       Source
                      Attorneys Brett Curlee, Travis Corder and Stella Hav filed by
                      Debtor Joseph Wanamaker, 340 Declaration filed by Debtor
                      Joseph Wanamaker, 341 Declaration filed by Debtor Joseph
                      Wanamaker) Declaration of Brett Curlee and Request for Judicial
                      Notice Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Attachments: # 1 Index Part 2 # 2 Index Part 3) (Havkin, Stella)
                      (Entered: 12/30/2021)
348      12/31/2021   Notice of lodgment of Transcript of 2004 Exam of Joseph
                      Wanamaker Dated October 4, 2021 Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)323
                      Motion CREDITORS THE AFFIILIATI NETWORK, INC. AND
                      SANJAY PALTAS MOTION OBJECTING TO DEBTORS WILD
                      CARD EXEMPTION ON THE FIFTH AMENDED SCHEDULE C
                      Dkt #290 AND REQUEST FOR EXTENSION OF TIME TO
                      FURTHER OBJECT PENDING POTENTIAL DISCOVERY
                      THEREON; REQUEST FOR JUDICIAL NOTICE IN SUPPORT
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc., 347
                      Opposition to (related document(s): 339 Motion For
                      Sanctions/Disgorgement Notice of Motion and Motion Pursuant to
                      Rule 9011 for Attorney''s Fees, Costs and Sanctions Against
                      Creditors The Affiliati Network and Sanjay Palta, and Their
                      Attorneys Brett Curlee, Travis Corder and Stella Hav filed by
                      Debtor Joseph Wanamaker, 340 Declaration filed by Debtor
                      Joseph Wanamaker, 341 Declaration filed by Debtor Joseph
                      Wanamaker) Declaration of Brett Curlee and Request for Judicial
                      Notice Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Attachments: # 1 Index Part 2 # 2 Index Part 3)). (Attachments: #
                      1 Exhibit Exhibits) (Havkin, Stella) (Entered: 12/31/2021)
349      01/03/2022   Order Granting Chapter 7 Trustee''s Motion For Order Autjorizing
                      Chapter 7 Trustee To Administer The Nonexempt $75,000 In Her
                      Control. (BNC-PDF) (Related Doc # 335 ) Signed on 1/3/2022
                      (Garcia, Patty) (Entered: 01/03/2022)
350      01/03/2022   Notice to Filer of Error and/or Deficient Document Other - Matter
                      has NOT been set for hearing. Incorrect ZoomGov information
                      was used. Filer is required to file an Amended Supplemental
                      Notice of Hearing to be Held Remotely Using ZoomGov Audio and
                      Video. See Judge Kaufman''s self calendaring instructions for
                      more information. (RE: related document(s)346 Motion for
                      Protective Order filed by Attorney Christine Naud) (Garcia, Patty)
                      (Entered: 01/03/2022)
351      01/03/2022   Notice of Hearing Amended Supplemental Notice of Hearing To
                      Be Held Remotely Using ZoomGov Audio And Video Filed by
                      Attorney Christine Naud (RE: related document(s)346 Motion for
                      Protective Order Filed by Attorney Christine Naud (Attachments:
                      # 1 VOLUME(S)) (FROST, CHRIS) WARNING: ITEM
                      SUBSEQUENTLY AMENDED BY DOCKET ENTRY #350.
                      Modified on 1/3/2022.). (Frost, Chris) (Entered: 01/03/2022)
352      01/04/2022   Hearing Set (RE: related document(s)346 Motion for Protective
                      Order filed by Attorney Christine Naud) The Hearing date is set for
                      1/27/2022 at 01:30 PM at Crtrm 301, 21041 Burbank Blvd,
                      Woodland Hills, CA 91367. The case judge is Victoria S. Kaufman
                      (Garcia, Patty) (Entered: 01/04/2022)
353      01/05/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)349 Order on Generic Motion (BNC-PDF)) No. of
                      Notices: 1. Notice Date 01/05/2022. (Admin.) (Entered:
                      01/05/2022)
354      01/06/2022   Reply to (related document(s): 339 Motion For
                      Sanctions/Disgorgement Notice of Motion and Motion Pursuant to
                      Rule 9011 for Attorney''s Fees, Costs and Sanctions Against
                      Creditors The Affiliati Network and Sanjay Palta, and Their
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#        Date         Proceeding Text                                                          Source
                      Attorneys Brett Curlee, Travis Corder and Stella Hav filed by
                      Debtor Joseph Wanamaker, 347 Opposition filed by Creditor
                      Sanjay Palta, Creditor The Affiliati Network, Inc.) to Opposition to
                      Motion Pursuant to Bankruptcy Rule 9011 for Attorneys Fees,
                      Costs and Sanctions Filed by Creditors Affiliati Network Inc. and
                      Sanjay Palta with Proof of Service Filed by Debtor Joseph
                      Wanamaker (Lively, Peter) (Entered: 01/06/2022)
355      01/06/2022   Reply to (related document(s): 313 Objection to Debtor''s Claim of
                      Exemptions filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc., 348 Notice of Lodgment filed by Creditor Sanjay
                      Palta, Creditor The Affiliati Network, Inc.) Declaration of Brett
                      Curlee Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Attachments: # 1 Index Part 2) (Havkin, Stella) (Entered:
                      01/06/2022)
356      01/07/2022   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor, Joseph Wanamaker and Christine Naud to Set Dates and
                      Times for Hearings on Discovery Motions Convenient to the
                      Courts Calendar (with proof of service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                      01/07/2022)
357      01/07/2022   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)356 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and the Debtor, Joseph Wanamaker and Christine Naud to
                      Set Dates and Times for Hearings on Discovery Motions
                      Convenient to the Courts Calendar (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 01/07/2022)
358      01/07/2022   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor and Mrs. Christine Naud to Continue Dates and Times for
                      Rule 2004 Examinations (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (Curlee, Brett) (Entered:
                      01/07/2022)
359      01/07/2022   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)358 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and the Debtor and Mrs. Christine Naud to Continue Dates
                      and Times for Rule 2004 Examinations (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.).
                      (Curlee, Brett) (Entered: 01/07/2022)
360      01/07/2022   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Extend Deadlines to File a Complaint Under 11 U.S.C.
                      Section 523 and/or 727 from January 18, 2022, to April 29, 2022
                      (with proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 01/07/2022)
361      01/07/2022   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)360 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and the Debtor to Extend Deadlines to File a Complaint Under
                      11 U.S.C. Section 523 and/or 727 from January 18, 2022, to April
                      29, 2022 (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.). (Curlee, Brett) (Entered: 01/07/2022)
362      01/10/2022   Order Approving Stipulation Between the Debtor, Joseph
                      Wanamaker, Christine Naud, and Creditors the Affiliati Network
                      Inc. and Sajay Palta to Set Dates and Times for Hearings on
                      Discovery Motions Coanvenient to the Court''s Calendar (BNC-
                      PDF) (Related Doc # 356 ) Signed on 1/10/2022 (Gasparian,
                      Ana) (Entered: 01/10/2022)
363      01/10/2022   Order on Stipulation Between the Debtor, Joseph Wanamaker,
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#        Date         Proceeding Text                                                       Source
                      and Christine Naud, and Creditors Affiliati Network, Inc., and
                      Sanjay Palta to Continue Dates and Times for Rule 2004
                      Examinations (BNC-PDF) (Related Doc # 358 ) Signed on
                      1/10/2022 (Gasparian, Ana) (Entered: 01/10/2022)
364      01/10/2022   Order Approving Stipulation Between the Debtor and Creditors the
                      Affiliati Network, Inc. and Sanjay Palta to Extend Deadline to File
                      a Complaint Under 11 U.S.C. 523 and 727 from January 18, 2022
                      to April 29, 2022 (BNC-PDF) (Related Doc # 360 ) Signed on
                      1/10/2022 (Gasparian, Ana) (Entered: 01/10/2022)
365      01/12/2022   Voluntary Dismissal of Motion Voluntary Dismissal of Motion for
                      Protective Order Re: Discovery [Docket Entry #346]. Filed by
                      Attorney Christine Naud (RE: related document(s)346 Motion for
                      Protective Order ). (Frost, Chris) (Entered: 01/12/2022)
366      01/12/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)362 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 01/12/2022. (Admin.) (Entered:
                      01/12/2022)
367      01/12/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)363 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 01/12/2022. (Admin.) (Entered:
                      01/12/2022)
368      01/12/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)364 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 01/12/2022. (Admin.) (Entered:
                      01/12/2022)
369      01/13/2022   See attached PDF re Courts'' Ruling at hearing held on 1/13/22 at
                      1:30 p.m. (RE: related document(s)339 Motion for
                      Sanctions/Disgorgement filed by Debtor Joseph Wanamaker)
                      (Gasparian, Ana) (Entered: 01/13/2022)
370      01/15/2022   Notice of lodgment of order denying motion Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)339 Motion For Sanctions/Disgorgement Notice of
                      Motion and Motion Pursuant to Rule 9011 for Attorney''s Fees,
                      Costs and Sanctions Against Creditors The Affiliati Network and
                      Sanjay Palta, and Their Attorneys Brett Curlee, Travis Corder and
                      Stella Hav). (Havkin, Stella) (Entered: 01/15/2022)
371      01/17/2022   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)323 Motion CREDITORS THE AFFIILIATI
                      NETWORK, INC. AND SANJAY PALTAS MOTION OBJECTING
                      TO DEBTORS WILD CARD EXEMPTION ON THE FIFTH
                      AMENDED SCHEDULE C Dkt #290 AND REQUEST FOR
                      EXTENSION OF TIME TO FURTHER OBJECT PENDING
                      POTENTIAL DISCOVERY THEREON; REQUEST FOR JUDICIAL
                      NOTICE IN SUPPORT Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc.). (Curlee, Brett) (Entered: 01/17/2022)
372      01/18/2022   Hearing Held 1/13/2022 - Ruling: Denied. (RE: related
                      document(s)339 Motion for Sanctions/Disgorgement filed by
                      Debtor Joseph Wanamaker) (Garcia, Patty) (Entered: 01/18/2022)
         01/18/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
                      Option) (RE: related document(s) 323 GENERIC MOTION filed
                      by The Affiliati Network, Inc.) Hearing to be held on 01/27/2022 at
                      01:30 PM 21041 Burbank Blvd Woodland Hills, CA 91367 for 323
                      , (Garcia, Patty) (Entered: 01/18/2022)
373      01/18/2022   Order Denying The Debtor''s Motion [Doc. 339] and Creditors''
                      Request [Doc. 347] For Attorneys'' Fees and Costs. (BNC-PDF)
                      (Related Doc 339) Signed on 1/18/2022. (Garcia, Patty). Related
                      document(s) 347 Opposition filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc.. (Entered: 01/18/2022)
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#        Date         Proceeding Text                                                       Source
374      01/19/2022   Motion to Withdraw as Attorney Notice of Motion and Motion to
                      Withdraw as the Debtor''s and Christine Naud''s Attorney of
                      Record, Declaration of David B. Lally, Esq., with Proof of Service
                      Filed by Attorney David Lally (Lally, David) (Entered: 01/19/2022)
375      01/20/2022   Order Continuing Hearing on Creditors'' The Affiliati Network, Inc.
                      and Sanjay Palta''s Motion Objecting to the Debtor''s Wildcard
                      Exemption on the Fifth Amended Schedule C and Request for
                      Extension of Time to Further Object Pending Potential Discovery
                      Thereon (BNC-PDF) (Related Doc # 323 ) Signed on 1/20/2022
                      (Cetulio, Julie) (Entered: 01/20/2022)
376      01/20/2022   Brief SUPPLEMENTAL BRIEF RE: CREDITORS THE AFFILIATI
                      NETWORK, INC. AND SANJAY PALTAS MOTION OBJECTING
                      TO THE DEBTORS WILDCARD EXEMPTION (Dkt #290) AND
                      REQUEST FOR EXTENSION OF TIME TO FURTHER OBJECT
                      PENDING DISCOVERY AND EVIDENTIARY HEARING
                      THEREON (dkt 323) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)375 Order on Generic
                      Motion (BNC-PDF)). (Havkin, Stella) (Entered: 01/20/2022)
377      01/20/2022   Statement /Chapter 7 Trustee''s Report Regarding Sale of Real
                      Property Filed by Trustee Amy L Goldman (TR). (Goldman (TR),
                      Amy) (Entered: 01/20/2022)
378      01/20/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)373 Order on Motion For Sanctions/Disgorgement
                      (BNC-PDF)) No. of Notices: 1. Notice Date 01/20/2022. (Admin.)
                      (Entered: 01/20/2022)
379      01/22/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)375 Order on Generic Motion (BNC-PDF)) No. of
                      Notices: 1. Notice Date 01/22/2022. (Admin.) (Entered:
                      01/22/2022)
380      01/24/2022   Stipulation By Joseph Wanamaker and Creditors the Affiliati
                      Network Inc. and Sanjay Palta to Continue Hearing on Creditors
                      Motion Objecting to the Debtors Wildcard Exemption on the Fifth
                      Amended Schedule C and Request for the Extension of Time to
                      Further Object Pending Potential Discovery Thereon With Proof of
                      Service Filed by Debtor Joseph Wanamaker (Lively, Peter)
                      (Entered: 01/24/2022)
381      01/24/2022   Notice of lodgment With Proof of Service Filed by Debtor Joseph
                      Wanamaker (RE: related document(s)313 Objection to Debtor''s
                      Claim of Exemptions TO DEBTORS WILD CARD EXEMPTION
                      ON THE FIFTH AMENDED SCHEDULE C Dkt #290 AND
                      REQUEST FOR EXTENSION OF TIME TO FURTHER OBJECT
                      PENDING POTENTIAL DISCOVERY THEREON; REQUEST
                      FOR JUDICIAL NOTICE IN SUPPORT Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.. (Havkin, Stella) WARNING: Item
                      subsequently amended by docket entry #318. Modified on
                      11/8/2021., 323 Motion CREDITORS THE AFFIILIATI
                      NETWORK, INC. AND SANJAY PALTAS MOTION OBJECTING
                      TO DEBTORS WILD CARD EXEMPTION ON THE FIFTH
                      AMENDED SCHEDULE C Dkt #290 AND REQUEST FOR
                      EXTENSION OF TIME TO FURTHER OBJECT PENDING
                      POTENTIAL DISCOVERY THEREON; REQUEST FOR JUDICIAL
                      NOTICE IN SUPPORT Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc., 380 Stipulation By Joseph Wanamaker and
                      Creditors the Affiliati Network Inc. and Sanjay Palta to Continue
                      Hearing on Creditors Motion Objecting to the Debtors Wildcard
                      Exemption on the Fifth Amended Schedule C and Request for the
                      Extension of Time to Further Object Pending Potential Discovery
                      Thereon With Proof of Service Filed by Debtor Joseph
                      Wanamaker). (Lively, Peter) (Entered: 01/24/2022)
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                                    1:20bk10026, Joseph Wanamaker

#        Date         Proceeding Text                                                        Source
382      01/25/2022   Order Approving Stipulation Between The Debtor And Creditors
                      The Affiliati Network Inc. And Sanjay Palta To Continue Heariong
                      On Creditors'' Motion Objecting to the Debtor''s Wildcard
                      Exemption on the Fifth Amended Schedule C and Request For
                      Extension of Time to Further Object Pending Potential Discovery
                      Thereon. (BNC-PDF) (Related Doc # 380 ) Signed on 1/25/2022
                      (Garcia, Patty) (Entered: 01/25/2022)
         01/25/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
                      Option) (RE: related document(s) 323 GENERIC MOTION filed
                      by The Affiliati Network, Inc.) Hearing to be held on 05/20/2022 at
                      09:30 AM 21041 Burbank Blvd Woodland Hills, CA 91367 for 323
                      , (Garcia, Patty) (Entered: 01/25/2022)
383      01/27/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)382 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 01/27/2022. (Admin.) (Entered:
                      01/27/2022)
384      02/03/2022   Declaration re: Declaration of David B. Lally, Esq. in Support of
                      Order Granting Motion to Withdraw as the Debtor''s and Christine
                      Naud''s attorney of Record, with Proof of Service Filed by Attorney
                      David Lally (RE: related document(s)374 Motion to Withdraw as
                      Attorney Notice of Motion and Motion to Withdraw as the Debtor''s
                      and Christine Naud''s Attorney of Record, Declaration of David B.
                      Lally, Esq., with Proof of Service). (Lally, David) (Entered:
                      02/03/2022)
385      02/03/2022   Notice of lodgment of Order Granting Motion to Withdraw as the
                      Debtor''s and Christine Naud''s Attorney of Record, with Proof of
                      Service Filed by Attorney David Lally (RE: related document(s)374
                      Motion to Withdraw as Attorney Notice of Motion and Motion to
                      Withdraw as the Debtor''s and Christine Naud''s Attorney of
                      Record, Declaration of David B. Lally, Esq., with Proof of Service
                      Filed by Attorney David Lally, 384 Declaration re: Declaration of
                      David B. Lally, Esq. in Support of Order Granting Motion to
                      Withdraw as the Debtor''s and Christine Naud''s attorney of
                      Record, with Proof of Service Filed by Attorney David Lally (RE:
                      related document(s)374 Motion to Withdraw as Attorney Notice of
                      Motion and Motion to Withdraw as the Debtor''s and Christine
                      Naud''s Attorney of Record, Declaration of David B. Lally, Esq.,
                      with Proof of Service).). (Lally, David) (Entered: 02/03/2022)
386      02/07/2022   Order Granting Motion To Withdraw As Debtor''s And Christine
                      Naud''s Attorney Of Record. (BNC-PDF) (Related Doc # 374)
                      Signed on 2/7/2022. (Garcia, Patty) (Entered: 02/07/2022)
387      02/09/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)386 Order on Motion to Withdraw as Attorney (BNC-
                      PDF)) No. of Notices: 1. Notice Date 02/09/2022. (Admin.)
                      (Entered: 02/09/2022)
388      02/16/2022   Stipulation By Joseph Wanamaker and Creditor''s The Affiliati
                      Network, Inc. and Sanjay Palta to Continue Dates and Times for
                      Hearings on The Discovery Motions Filed by Debtor Joseph
                      Wanamaker (Lively, Peter) (Entered: 02/16/2022)
389      02/16/2022   Notice of lodgment of Order Approving Stipulation By Joseph
                      Wanamaker and Creditor''s The Affiliati Network, Inc. and Sanjay
                      Palta to Continue Dates and Times for Hearings on The Discovery
                      Motions Filed by Debtor Joseph Wanamaker (RE: related
                      document(s)388 Stipulation By Joseph Wanamaker and
                      Creditor''s The Affiliati Network, Inc. and Sanjay Palta to Continue
                      Dates and Times for Hearings on The Discovery Motions Filed by
                      Debtor Joseph Wanamaker). (Lively, Peter) (Entered: 02/16/2022)
390      02/16/2022   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and Debtor
                      to Extend Deadline to File a Complaint under 11 USC Sections
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#        Date         Proceeding Text                                                         Source
                      523 and 727 from April 29, 2022 to May 13, 2022 Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin, Stella)
                      (Entered: 02/16/2022)
391      02/16/2022   Notice of lodgment of Proposed Order for the Stipulation Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)390 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and Debtor to Extend Deadline to File a Complaint under 11
                      USC Sections 523 and 727 from April 29, 2022 to May 13, 2022).
                      (Havkin, Stella) (Entered: 02/16/2022)
392      02/16/2022   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Continue Dates and Times for Rule 2004 Examinations
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 02/16/2022)
393      02/16/2022   Notice of lodgment Proposed Order regarding the Stipulation Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)392 Stipulation By Sanjay Palta, The Affiliati Network,
                      Inc. and the Debtor to Continue Dates and Times for Rule 2004
                      Examinations). (Havkin, Stella) (Entered: 02/16/2022)
394      02/17/2022   Request for Removal from Courtesy Notice of Electronic Filing
                      (NEF) Filed by Lally, David. (Lally, David) (Entered: 02/17/2022)
395      02/17/2022   Order Approving Stipulation Between The Debtor And Creditors
                      The Affiliati Network, Inc. and Sanjay Palta To Extend Deadline To
                      File A Complaint Under 11 U.S.C. secs. 523 and 727 From April
                      29, 2022 to May 13, 2022. (BNC-PDF) (Related Doc # 390 )
                      Signed on 2/17/2022 (Garcia, Patty) (Entered: 02/17/2022)
396      02/17/2022   Order On Stipulation Between The Debtor, Joseph Wanamaker,
                      Christine Naud, and Creditors The Affiliati Network, Inc. and
                      Sanjay Palta to Continue Dates and Times For Rulle 2004
                      Examinations. (BNC-PDF) (Related Doc # 392 ) Signed on
                      2/17/2022 (Garcia, Patty) (Entered: 02/17/2022)
397      02/18/2022   Order Approving Stipulation Between the Debtor, Joseph
                      Wanamaker, Christine Naud, and Creditors the Affiliati Network,
                      Inc. and Sanjay Palta to Continue Dates and Times for Hearings
                      on Discovery Motions (BNC-PDF) (Related Doc # 388 ) Signed
                      on 2/18/2022 (Cetulio, Julie) (Entered: 02/18/2022)
398      02/19/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)395 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 02/19/2022. (Admin.) (Entered:
                      02/19/2022)
399      02/19/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)396 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 02/19/2022. (Admin.) (Entered:
                      02/19/2022)
400      02/20/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)397 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 02/20/2022. (Admin.) (Entered:
                      02/20/2022)
401      02/28/2022   Motion to Approve Compromise Under Rule 9019 Re: Trustee''s
                      Motion For Order Approving: (1) Settlement Agreement Between
                      Chapter 7 Trustee And Ronald Thomas; And (2) Approving Form
                      Of Settlement Agreement; Declaration Of Amy L. Goldman In
                      Support Thereof and Notice Of Opportunity To Request A Hearing
                      On Motion [Lbr 9013-1(O)] with proof of service Filed by Trustee
                      Amy L Goldman (TR) (Pena, Leonard) (Entered: 02/28/2022)
402      03/14/2022   Opposition to (related document(s): 401 Motion to Approve
                      Compromise Under Rule 9019 Re: Trustee''s Motion For Order
                      Approving: (1) Settlement Agreement Between Chapter 7 Trustee
                      And Ronald Thomas; And (2) Approving Form Of Settlement
                      Agreement; Declaration Of Amy L. Goldman In Supp filed by
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#        Date         Proceeding Text                                                       Source
                      Trustee Amy L Goldman (TR)) Request for Judicial Notice;
                      Declarations of Sanjay Palta, Brett Curlee and Stella Havkin Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 03/14/2022)
403      03/15/2022   Notice of Hearing with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)401 Motion to Approve
                      Compromise Under Rule 9019 Re: Trustee''s Motion For Order
                      Approving: (1) Settlement Agreement Between Chapter 7 Trustee
                      And Ronald Thomas; And (2) Approving Form Of Settlement
                      Agreement; Declaration Of Amy L. Goldman In Support Thereof
                      and Notice Of Opportunity To Request A Hearing On Motion [Lbr
                      9013-1(O)] with proof of service Filed by Trustee Amy L Goldman
                      (TR)). (Pena, Leonard) (Entered: 03/15/2022)
404      03/15/2022   Notice to Filer of Error and/or Deficient Document Other - Matter
                      has NOT been set for hearing. Filer is required to file the
                      Supplemental Notice of Hearing to be Held Remotely Using
                      ZoomGov Audio and Video. See Judge Kaufman''s self
                      calendaring instructions for more information. (RE: related
                      document(s)403 Notice of Hearing (BK Case) filed by Trustee
                      Amy L Goldman (TR)) (Garcia, Patty) (Entered: 03/15/2022)
405      03/15/2022   Notice of Hearing Re: Supplemental Notice of Hearing to Be Held
                      Remotely Using ZoomGov Audio and Video with proof of service
                      Filed by Trustee Amy L Goldman (TR) (RE: related
                      document(s)401 Motion to Approve Compromise Under Rule 9019
                      Re: Trustee''s Motion For Order Approving: (1) Settlement
                      Agreement Between Chapter 7 Trustee And Ronald Thomas; And
                      (2) Approving Form Of Settlement Agreement; Declaration Of Amy
                      L. Goldman In Support Thereof and Notice Of Opportunity To
                      Request A Hearing On Motion [Lbr 9013-1(O)] with proof of
                      service Filed by Trustee Amy L Goldman (TR)). (Pena, Leonard)
                      (Entered: 03/15/2022)
406      03/16/2022   Hearing Set (RE: related document(s)401 Motion to Approve
                      Compromise Under Rule 9019 filed by Trustee Amy L Goldman
                      (TR)) The Hearing date is set for 4/7/2022 at 01:30 PM at Crtrm
                      301, 21041 Burbank Blvd, Woodland Hills, CA 91367. The case
                      judge is Victoria S. Kaufman (Cetulio, Julie) (Entered: 03/16/2022)
407      03/18/2022   Notice Of Rescheduled Trustee''s Motion For Order Approving
                      Settlement Agreement [Dkt. 401] Hearing rescheduled from
                      4/7/2022 to 4/14/2022 at 1:30 PM. (BNC-PDF) (Garcia, Patty)
                      (Entered: 03/18/2022)
         03/18/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
                      Option) (RE: related document(s) 401 MOTION TO APPROVE
                      COMPROMISE UNDER RULE 9019 filed by Amy L Goldman
                      (TR)) Hearing to be held on 04/14/2022 at 01:30 PM 21041
                      Burbank Blvd Woodland Hills, CA 91367 for 401 , (Garcia, Patty)
                      (Entered: 03/18/2022)
408      03/20/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)407 Notice to creditors (BNC-PDF)) No. of Notices:
                      68. Notice Date 03/20/2022. (Admin.) (Entered: 03/20/2022)
409      03/27/2022   Motion For Contempt FOR ORDER HOLDING CHRISTINE NAUD
                      IN CONTEMPT OF COURT (FRCP 45(g)) AFTER HEARING, (1.)
                      OVERRULING OBJECTIONS BY MS. NAUD AND HER
                      COUNSEL MADE AT 2004 EXAMINATION; (2.) COMPELLING
                      MS. NAUD TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTRUCTIONIST OBJECTIONS BY MS. NAUD OR HER
                      COUNSEL; AND, (3.) AWARDING ATTORNEY FEES AND
                      COSTS; MEMORANDUM OF POINTS AND AUTHORITIES Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 03/27/2022)
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#        Date         Proceeding Text                                                        Source
410      03/27/2022   Notice of motion/application Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)409 Motion For
                      Contempt FOR ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT OF COURT (FRCP 45(g)) AFTER HEARING, (1.)
                      OVERRULING OBJECTIONS BY MS. NAUD AND HER
                      COUNSEL MADE AT 2004 EXAMINATION; (2.) COMPELLING
                      MS. NAUD TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTRUCTIONIST OBJECTIONS BY MS. NAUD OR HER
                      COUNSEL; AND, (3.) AWARDING ATTORNEY FEES AND
                      COSTS; MEMORANDUM OF POINTS AND AUTHORITIES Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc.). (Havkin,
                      Stella) (Entered: 03/27/2022)
411      03/27/2022   Declaration re: of Sanjay Palta (Omnibus) in Support of Discovery
                      Motions Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)409 Motion For Contempt FOR ORDER
                      HOLDING CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP
                      45(g)) AFTER HEARING, (1.) OVERRULING OBJECTIONS BY
                      MS. NAUD AND HER COUNSEL MADE AT 2004
                      EXAMINATION; (2.) COMPELLING MS. NAUD TO APPEAR AND
                      GIVE TESTIMONY WITHOUT OBSTR). (Havkin, Stella) (Entered:
                      03/27/2022)
412      03/27/2022   Declaration re: of John Menchaca in support of Motion (Omnibus
                      to all discovery motions) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)409 Motion For
                      Contempt FOR ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT OF COURT (FRCP 45(g)) AFTER HEARING, (1.)
                      OVERRULING OBJECTIONS BY MS. NAUD AND HER
                      COUNSEL MADE AT 2004 EXAMINATION; (2.) COMPELLING
                      MS. NAUD TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTR). (Havkin, Stella) (Entered: 03/27/2022)
413      03/27/2022   Request for judicial notice (Ombnibus) in support of discovery
                      motions Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)409 Motion For Contempt FOR ORDER
                      HOLDING CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP
                      45(g)) AFTER HEARING, (1.) OVERRULING OBJECTIONS BY
                      MS. NAUD AND HER COUNSEL MADE AT 2004
                      EXAMINATION; (2.) COMPELLING MS. NAUD TO APPEAR AND
                      GIVE TESTIMONY WITHOUT OBSTR). (Havkin, Stella) (Entered:
                      03/27/2022)
414      03/27/2022   Declaration re: (Ombnibus) of Brett C. Curlee in Support of Motion
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)409 Motion For Contempt FOR ORDER
                      HOLDING CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP
                      45(g)) AFTER HEARING, (1.) OVERRULING OBJECTIONS BY
                      MS. NAUD AND HER COUNSEL MADE AT 2004
                      EXAMINATION; (2.) COMPELLING MS. NAUD TO APPEAR AND
                      GIVE TESTIMONY WITHOUT OBSTR). (Havkin, Stella) (Entered:
                      03/27/2022)
415      03/27/2022   Statement OMNIBUS STATEMENT OF FACTS IN SUPPORT OF
                      DISCOVERY MOTIONS FILED BY AND SET FOR HEARING ON
                      April 27, 2022 Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.. (Havkin, Stella). Related document(s) 409 Motion
                      For Contempt FOR ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT OF COURT (FRCP 45(g)) AFTER HEARING, (1.)
                      OVERRULING OBJECTIONS BY MS. NAUD AND HER
                      COUNSEL MADE AT 2004 EXAMINATION; (2.) COMPELLING
                      MS. NAUD TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTR filed by Creditor Sanjay Palta, Creditor The Affiliati
                      Network, Inc.. Modified on 3/28/2022 (Garcia, Patty). (Entered:
                      03/27/2022)
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#        Date         Proceeding Text                                                     Source
416      03/27/2022   Declaration re: Supplemental Declaration of Brett C. Curlee
                      (Omnibus) in Support of Discovery Motions Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)409 Motion For Contempt FOR ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP 45(g))
                      AFTER HEARING, (1.) OVERRULING OBJECTIONS BY MS.
                      NAUD AND HER COUNSEL MADE AT 2004 EXAMINATION; (2.)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTR). (Attachments: # 1 Index Part 2) (Havkin,
                      Stella) (Entered: 03/27/2022)
417      03/27/2022   Notice of lodgment OF TRANSCRIPT (OMNIBUS) OF 2004
                      EXAMINATION OF CHRISTINE NAUD IN SUPPORT OF
                      DISCOVERY MOTIONS FILED BY CREDITORS THE AFFILIATI
                      NETWORK AND SANJAY PALTA AGAINST THE DEBTOR AND
                      MS. CHRISTINE NAUD TO BE HEARD ON APRIL 27, 2022 AT
                      2:30 P.M. Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc. (RE: related document(s)409 Motion For Contempt FOR
                      ORDER HOLDING CHRISTINE NAUD IN CONTEMPT OF
                      COURT (FRCP 45(g)) AFTER HEARING, (1.) OVERRULING
                      OBJECTIONS BY MS. NAUD AND HER COUNSEL MADE AT
                      2004 EXAMINATION; (2.) COMPELLING MS. NAUD TO
                      APPEAR AND GIVE TESTIMONY WITHOUT OBSTRUCTIONIST
                      OBJECTIONS BY MS. NAUD OR HER COUNSEL; AND, (3.)
                      AWARDING ATTORNEY FEES AND COSTS; MEMORANDUM
                      OF POINTS AND AUTHORITIES Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.). (Attachments: # 1 Index part 2)
                      (Havkin, Stella) (Entered: 03/27/2022)
418      03/27/2022   Notice of lodgment OF TRANSCRIPT (OMNIBUS) OF 2004
                      EXAMINATION OF JOSEPH WANAMAKER IN SUPPORT OF
                      DISCOVERY MOTIONS AGAINST THE DEBTOR AND MS.
                      CHRISTINE NAUD TO BE HEARD ON APRIL 27, 2022 AT 2:30
                      P.M. Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)409 Motion For Contempt FOR ORDER
                      HOLDING CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP
                      45(g)) AFTER HEARING, (1.) OVERRULING OBJECTIONS BY
                      MS. NAUD AND HER COUNSEL MADE AT 2004
                      EXAMINATION; (2.) COMPELLING MS. NAUD TO APPEAR AND
                      GIVE TESTIMONY WITHOUT OBSTRUCTIONIST OBJECTIONS
                      BY MS. NAUD OR HER COUNSEL; AND, (3.) AWARDING
                      ATTORNEY FEES AND COSTS; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Attachments: # 1 Index Part 2) (Havkin, Stella)
                      (Entered: 03/27/2022)
419      03/27/2022   Notice of lodgment OF STIPULATION TO DISPUTED ISSUES
                      PERTAINING TO CHRISTINE NAUD''S 2004 EXAMINATION
                      AND REQUEST FOR RESOLUTION OF DISPUTES PURSUANT
                      TO THE MOTION TO COMPEL TESTIMONY OF CHRISTINE
                      NAUD AND REQUEST FOR SANCTIONS IN CONNECTION
                      WITH DISCOVERY MOTIONS AGAINST THE DEBTOR AND
                      MS. CHRISTINE NAUD TO BE HEARD ON APRIL 27, 2022 AT
                      2:30 P.M. Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc. (RE: related document(s)409 Motion For Contempt FOR
                      ORDER HOLDING CHRISTINE NAUD IN CONTEMPT OF
                      COURT (FRCP 45(g)) AFTER HEARING, (1.) OVERRULING
                      OBJECTIONS BY MS. NAUD AND HER COUNSEL MADE AT
                      2004 EXAMINATION; (2.) COMPELLING MS. NAUD TO
                      APPEAR AND GIVE TESTIMONY WITHOUT OBSTRUCTIONIST
                      OBJECTIONS BY MS. NAUD OR HER COUNSEL; AND, (3.)
                      AWARDING ATTORNEY FEES AND COSTS; MEMORANDUM
                      OF POINTS AND AUTHORITIES Filed by Creditors Sanjay Palta,
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#        Date         Proceeding Text                                                         Source
                      The Affiliati Network, Inc.). (Havkin, Stella) (Entered: 03/27/2022)
420      03/27/2022   Notice of lodgment of Order re: Motion Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)409
                      Motion For Contempt FOR ORDER HOLDING CHRISTINE NAUD
                      IN CONTEMPT OF COURT (FRCP 45(g)) AFTER HEARING, (1.)
                      OVERRULING OBJECTIONS BY MS. NAUD AND HER
                      COUNSEL MADE AT 2004 EXAMINATION; (2.) COMPELLING
                      MS. NAUD TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTR). (Havkin, Stella) (Entered: 03/27/2022)
421      03/27/2022   Declaration re: of Travis Corder (Ombnibus) in Support of
                      Discovery Motions against the Debtor and Ms. Naud Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)409 Motion For Contempt FOR ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP 45(g))
                      AFTER HEARING, (1.) OVERRULING OBJECTIONS BY MS.
                      NAUD AND HER COUNSEL MADE AT 2004 EXAMINATION; (2.)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTR). (Havkin, Stella) (Entered: 03/27/2022)
422      03/28/2022   Declaration re: Supplemental Declaration of John J. Menchaca in
                      Support of Discovery Motions (Ombnibus) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)409 Motion For Contempt FOR ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP 45(g))
                      AFTER HEARING, (1.) OVERRULING OBJECTIONS BY MS.
                      NAUD AND HER COUNSEL MADE AT 2004 EXAMINATION; (2.)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTR). (Havkin, Stella) (Entered: 03/28/2022)
423      03/28/2022   Errata (Tables of Contents and Authorities) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)409 Motion For Contempt FOR ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP 45(g))
                      AFTER HEARING, (1.) OVERRULING OBJECTIONS BY MS.
                      NAUD AND HER COUNSEL MADE AT 2004 EXAMINATION; (2.)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTR). (Havkin, Stella) (Entered: 03/28/2022)
424      03/28/2022   Notice to Filer of Error and/or Deficient Document Other - Proof of
                      service is missing. (RE: related document(s)414 Declaration filed
                      by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      (Garcia, Patty) (Entered: 03/28/2022)
425      03/28/2022   Declaration re: of Brett B. Curlee (corrected proof of service) Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)414 Declaration). (Havkin, Stella) (Entered:
                      03/28/2022)
426      03/28/2022   Declaration re: of John J. Menchaca in support of Opposition Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)402 Opposition). (Havkin, Stella) (Entered:
                      03/28/2022)
427      03/28/2022   Declaration re: of John J Menchaca (corrected attachment) with
                      proof of service Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)426 Declaration). (Havkin,
                      Stella) (Entered: 03/28/2022)
428      03/28/2022   Declaration re: of Stella Havkin (Omnibus) in Support of Discovery
                      Motions to Be heard on April 27, 2022 at 2:30 p.m. Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)409 Motion For Contempt FOR ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP 45(g))
                      AFTER HEARING, (1.) OVERRULING OBJECTIONS BY MS.
                      NAUD AND HER COUNSEL MADE AT 2004 EXAMINATION; (2.)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
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                      WITHOUT OBSTR). (Havkin, Stella) (Entered: 03/28/2022)
429      03/29/2022   Errata to Contents of Contents and Authorities Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)409 Motion For Contempt FOR ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT OF COURT (FRCP 45(g))
                      AFTER HEARING, (1.) OVERRULING OBJECTIONS BY MS.
                      NAUD AND HER COUNSEL MADE AT 2004 EXAMINATION; (2.)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTR, 423 Errata). (Havkin, Stella) (Entered:
                      03/29/2022)
430      03/30/2022   Motion For Contempt FOR (1) ORDER TO SHOW CAUSE WHY
                      CHRISTINE NAUD SHOULD NOT BE HELD IN CONTEMPT
                      FOR REFUSING TO PRODUCE DOCUMENTS; (2) ORDER
                      HOLDING CHRISTINE NAUD IN CONTEMPT AND ORDERING
                      HER TO PRODUCE RESPONSIVE DOCUMENTS; AND (3) FOR
                      ORDER AWARDING ATTORNEY FEES AND COSTS TO THE
                      MOVANTS FOR BRINGING THIS MOTION; MEMORANDUM OF
                      POINTS AND AUTHORITIES Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (Havkin, Stella) (Entered: 03/30/2022)
431      03/30/2022   Declaration re: OMNIBUS FIRST SUPPLEMENTAL
                      DECLARATION OF TRAVIS A. CORDER IN SUPPORT OF
                      MOTION FOR CONTEMPT AGAINST MS. CHRISTINE NAUD
                      AND DISCOVERY MOTIONS FILED BY CREDITORS THE
                      AFFILIATI NETWORK, INC. AND SANJAY PALTA AGAINST
                      THE DEBTOR AND CHRISTINE NAUD TO BE HEARD ON
                      APRIL 27, 2022 AT 2:30 P.M. Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (RE: related document(s)430 Motion For
                      Contempt FOR (1) ORDER TO SHOW CAUSE WHY CHRISTINE
                      NAUD SHOULD NOT BE HELD IN CONTEMPT FOR REFUSING
                      TO PRODUCE DOCUMENTS; (2) ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT AND ORDERING HER TO
                      PRODUCE RESPONSIVE DOCUMENTS; AND (3) FOR ORDER
                      AWAR). (Havkin, Stella) (Entered: 03/30/2022)
432      03/30/2022   Notice of lodgment of Proposed Order Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)430
                      Motion For Contempt FOR (1) ORDER TO SHOW CAUSE WHY
                      CHRISTINE NAUD SHOULD NOT BE HELD IN CONTEMPT
                      FOR REFUSING TO PRODUCE DOCUMENTS; (2) ORDER
                      HOLDING CHRISTINE NAUD IN CONTEMPT AND ORDERING
                      HER TO PRODUCE RESPONSIVE DOCUMENTS; AND (3) FOR
                      ORDER AWARDING ATTORNEY FEES AND COSTS TO THE
                      MOVANTS FOR BRINGING THIS MOTION; MEMORANDUM OF
                      POINTS AND AUTHORITIES Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc.). (Havkin, Stella) (Entered: 03/30/2022)
433      03/30/2022   Notice of motion/application Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)430 Motion For
                      Contempt FOR (1) ORDER TO SHOW CAUSE WHY CHRISTINE
                      NAUD SHOULD NOT BE HELD IN CONTEMPT FOR REFUSING
                      TO PRODUCE DOCUMENTS; (2) ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT AND ORDERING HER TO
                      PRODUCE RESPONSIVE DOCUMENTS; AND (3) FOR ORDER
                      AWARDING ATTORNEY FEES AND COSTS TO THE MOVANTS
                      FOR BRINGING THIS MOTION; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Havkin, Stella) (Entered: 03/30/2022)
434      03/31/2022   Notice of lodgment of Draft Stipulation RE DISCOVERY
                      DISPUTE-NAUD MOTION FOR CONTEMPT RE: FAILURE TO
                      PRODUCE DOCUMENTS Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)430 Motion For
                      Contempt FOR (1) ORDER TO SHOW CAUSE WHY CHRISTINE
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                      NAUD SHOULD NOT BE HELD IN CONTEMPT FOR REFUSING
                      TO PRODUCE DOCUMENTS; (2) ORDER HOLDING
                      CHRISTINE NAUD IN CONTEMPT AND ORDERING HER TO
                      PRODUCE RESPONSIVE DOCUMENTS; AND (3) FOR ORDER
                      AWARDING ATTORNEY FEES AND COSTS TO THE MOVANTS
                      FOR BRINGING THIS MOTION; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc., 431 Declaration re: OMNIBUS FIRST
                      SUPPLEMENTAL DECLARATION OF TRAVIS A. CORDER IN
                      SUPPORT OF MOTION FOR CONTEMPT AGAINST MS.
                      CHRISTINE NAUD AND DISCOVERY MOTIONS FILED BY
                      CREDITORS THE AFFILIATI NETWORK, INC. AND SANJAY
                      PALTA AGAINST THE DEBTOR AND CHRISTINE NAUD TO BE
                      HEARD ON APRIL 27, 2022 AT 2:30 P.M. Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)430 Motion For Contempt FOR (1) ORDER TO
                      SHOW CAUSE WHY CHRISTINE NAUD SHOULD NOT BE
                      HELD IN CONTEMPT FOR REFUSING TO PRODUCE
                      DOCUMENTS; (2) ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT AND ORDERING HER TO PRODUCE
                      RESPONSIVE DOCUMENTS; AND (3) FOR ORDER AWAR).,
                      432 Notice of lodgment of Proposed Order Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)430 Motion For Contempt FOR (1) ORDER TO
                      SHOW CAUSE WHY CHRISTINE NAUD SHOULD NOT BE
                      HELD IN CONTEMPT FOR REFUSING TO PRODUCE
                      DOCUMENTS; (2) ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT AND ORDERING HER TO PRODUCE
                      RESPONSIVE DOCUMENTS; AND (3) FOR ORDER
                      AWARDING ATTORNEY FEES AND COSTS TO THE MOVANTS
                      FOR BRINGING THIS MOTION; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.)., 433 Notice of motion/application Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)430 Motion For Contempt FOR (1) ORDER TO
                      SHOW CAUSE W
435      03/31/2022   Order To Transfer Discovery Dispute Motions To The Honorable
                      Geraldine Mund. (BNC-PDF) (Related Doc # doc ) Signed on
                      3/31/2022 (Garcia, Patty) (Entered: 03/31/2022)
436      03/31/2022   Errata as to Tables of Contents and Authorities Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)430 Motion For Contempt FOR (1) ORDER TO
                      SHOW CAUSE WHY CHRISTINE NAUD SHOULD NOT BE
                      HELD IN CONTEMPT FOR REFUSING TO PRODUCE
                      DOCUMENTS; (2) ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT AND ORDERING HER TO PRODUCE
                      RESPONSIVE DOCUMENTS; AND (3) FOR ORDER AWAR).
                      (Havkin, Stella) (Entered: 03/31/2022)
437      04/01/2022   Reply to (related document(s): 402 Opposition filed by Creditor
                      Sanjay Palta, Creditor The Affiliati Network, Inc.) with proof of
                      service Filed by Trustee Amy L Goldman (TR) (Pena, Leonard)
                      (Entered: 04/01/2022)
438      04/02/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)435 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 04/02/2022. (Admin.) (Entered: 04/02/2022)
439      04/06/2022   Notice of lodgment of Joint Stipulation in Support of Motion Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)430 Motion For Contempt FOR (1) ORDER TO
                      SHOW CAUSE WHY CHRISTINE NAUD SHOULD NOT BE
                      HELD IN CONTEMPT FOR REFUSING TO PRODUCE
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#        Date         Proceeding Text                                                        Source
                      DOCUMENTS; (2) ORDER HOLDING CHRISTINE NAUD IN
                      CONTEMPT AND ORDERING HER TO PRODUCE
                      RESPONSIVE DOCUMENTS; AND (3) FOR ORDER
                      AWARDING ATTORNEY FEES AND COSTS TO THE MOVANTS
                      FOR BRINGING THIS MOTION; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Havkin, Stella) (Entered: 04/06/2022)
440      04/06/2022   Motion FOR ORDER: (1.) OVERRULING OBJECTIONS BY
                      DEBTOR AND HIS COUNSEL MADE AT DEBTORS 2004
                      EXAMINATION; (2.) REQUIRING DEBTOR TO APPEAR AND
                      GIVE TESTIMONY WITHOUT OBSTRUCTIONIST OBJECTIONS
                      BY DEBTOR AND HIS COUNSEL; (3) APPOINTMENT OF A
                      DISCOVERY REFEREE AND (4.) FOR AWARD OF ATTORNEY
                      FEES AND COSTS; MEMORANDUM OF POINTS AND
                      AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Havkin, Stella) (Entered: 04/06/2022)
441      04/06/2022   Notice of Hearing Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)440 Motion FOR ORDER:
                      (1.) OVERRULING OBJECTIONS BY DEBTOR AND HIS
                      COUNSEL MADE AT DEBTORS 2004 EXAMINATION; (2.)
                      REQUIRING DEBTOR TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTRUCTIONIST OBJECTIONS BY DEBTOR AND
                      HIS COUNSEL; (3) APPOINTMENT OF A DISCOVERY
                      REFEREE AND (4.) FOR AWARD OF ATTORNEY FEES AND
                      COSTS; MEMORANDUM OF POINTS AND AUTHORITIES Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc.). (Havkin,
                      Stella) (Entered: 04/06/2022)
442      04/06/2022   Notice of lodgment OF JOINT STIPULATION TO DISPUTED
                      ISSUES PERTAINING TO THE DEBTORS 2004 EXAMINATION
                      AND REQUEST FOR RESOLUTION OF DISPUTES PURSUANT
                      TO THE MOTION TO COMPEL TESTIMONY OF THE DEBTOR
                      AND HIS COUNSEL AND REQUEST FOR SANCTIONS TO BE
                      HEARD ON APRIL 27, 2022 AT 2:30 P.M. Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)440 Motion FOR ORDER: (1.) OVERRULING
                      OBJECTIONS BY DEBTOR AND HIS COUNSEL MADE AT
                      DEBTORS 2004 EXAMINATION; (2.) REQUIRING DEBTOR TO
                      APPEAR AND GIVE TESTIMONY WITHOUT OBSTRUCTIONIST
                      OBJECTIONS BY DEBTOR AND HIS COUNSEL; (3)
                      APPOINTMENT OF A DISCOVERY REFEREE AND (4.) FOR
                      AWARD OF ATTORNEY FEES AND COSTS; MEMORANDUM
                      OF POINTS AND AUTHORITIES Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.). (Havkin, Stella) (Entered: 04/06/2022)
443      04/06/2022   Declaration re: FIRST SUPPLEMENTAL OMNIBUS
                      DECLARATION OF STELLA HAVKIN IN SUPPORT OF
                      DISCOVERY MOTIONS FILED AND SCHEDULED FOR
                      MOTIONS FILED BY CREDITORS THE AFFILIATI NETWORK
                      AND SANJAY PALTA AGAINST THE DEBTOR AND MS.
                      CHRISTINE NAUD TO BE HEARD ON APRIL 27, 2022 at 2:30
                      P.M. Filed by Creditor Sanjay Palta (RE: related document(s)440
                      Motion FOR ORDER: (1.) OVERRULING OBJECTIONS BY
                      DEBTOR AND HIS COUNSEL MADE AT DEBTORS 2004
                      EXAMINATION; (2.) REQUIRING DEBTOR TO APPEAR AND
                      GIVE TESTIMONY WITHOUT OBSTRUCTIONIST OBJECTIONS
                      BY DEBTOR AND HIS COUNSEL; (3) APPOINTMENT OF A
                      DISCOVERY R). (Havkin, Stella) (Entered: 04/06/2022)
444      04/06/2022   Errata Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)412 Declaration). (Attachments: # 1
                      Index Part 2) (Havkin, Stella) (Entered: 04/06/2022)
445      04/06/2022   Errata Corrected attachment Filed by Creditors Sanjay Palta, The
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                      Affiliati Network, Inc. (RE: related document(s)412 Declaration,
                      444 Errata). (Attachments: # 1 Index Part 2) (Havkin, Stella)
                      (Entered: 04/06/2022)
446      04/06/2022   Motion for Protective Order Notice of Motion and Motion for
                      Protective Order Re: Discovery; Memorandum of Points and
                      Authorities; Supporting Declarations of David Reiner, Christine
                      Naud, Damon Mosler, Owen Nunez, David McMenomey, Ather
                      Ahmed, and Peter M. Lively (with Proof of Service) Filed by
                      Attorney Christine Naud (Attachments: # 1 Volume(s)) (Lively,
                      Peter) (Entered: 04/06/2022)
447      04/06/2022   Notice of lodgment of Joint Stipulation Regarding Christine
                      Naud''s Motion for Protective Order (with Proof of Service) Filed
                      by Attorney Christine Naud (RE: related document(s)446 Motion
                      for Protective Order Notice of Motion and Motion for Protective
                      Order Re: Discovery; Memorandum of Points and Authorities;
                      Supporting Declarations of David Reiner, Christine Naud, Damon
                      Mosler, Owen Nunez, David McMenomey, Ather Ahmed, and
                      Peter M. Lively (with Proof of Service) Filed by Attorney Christine
                      Naud (Attachments: # 1 Volume(s))). (Lively, Peter) (Entered:
                      04/06/2022)
448      04/06/2022   Motion FOR (1) ORDER COMPELLING DEBTOR TO PRODUCE
                      FURTHER DOCUMENTS RESPONSIVE TO RULE 2004
                      DOCUMENT REQUESTS PURSUANT TO MOTION FOR 2004
                      EXAMINATION (dkt 43); AND (2) FOR ORDER AWARDING
                      ATTORNEY FEES AND COSTS TO THE MOVANTS;
                      MEMORANDUM OF POINTS AND AUTHORITIES Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin, Stella)
                      (Entered: 04/06/2022)
449      04/06/2022   Declaration re: OMNIBUS SECOND SUPPLEMENTAL
                      DECLARATION OF TRAVIS A. CORDER IN SUPPORT OF
                      DISCOVERY MOTIONS FILED BY CREDITORS THE AFFILIATI
                      NETWORK, INC. AND SANJAY PALTA AGAINST THE DEBTOR
                      AND MS. CHRISTINE NAUD TO BE HEARD ON April 27, 2022
                      AT 2:30 P.M. Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)448 Motion FOR (1)
                      ORDER COMPELLING DEBTOR TO PRODUCE FURTHER
                      DOCUMENTS RESPONSIVE TO RULE 2004 DOCUMENT
                      REQUESTS PURSUANT TO MOTION FOR 2004 EXAMINATION
                      (dkt 43); AND (2) FOR ORDER AWARDING ATTORNEY FEES
                      AND COSTS TO THE MOVANTS; MEMORANDUM OF POINTS
                      AN). (Havkin, Stella) (Entered: 04/06/2022)
450      04/06/2022   Notice of lodgment OF JOINT STIPULATION RE: MOTION BY
                      THE AFFILIATI NETWORK, INC AND SANJAY PALTA TO
                      COMPEL FURTHER PRODUCTION OF DOCUMENTS FROM
                      DEBTOR PURSUANT TO MOTION FOR2004 EXAMINATION
                      SERVED ON 3/25/2020 FOR WHICH SHALL BE HEARD ON
                      APRIL 27, 2022 AT 2:30 P.M. Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (RE: related document(s)448 Motion
                      FOR (1) ORDER COMPELLING DEBTOR TO PRODUCE
                      FURTHER DOCUMENTS RESPONSIVE TO RULE 2004
                      DOCUMENT REQUESTS PURSUANT TO MOTION FOR 2004
                      EXAMINATION (dkt 43); AND (2) FOR ORDER AWARDING
                      ATTORNEY FEES AND COSTS TO THE MOVANTS;
                      MEMORANDUM OF POINTS AND AUTHORITIES Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc., 449 Declaration
                      re: OMNIBUS SECOND SUPPLEMENTAL DECLARATION OF
                      TRAVIS A. CORDER IN SUPPORT OF DISCOVERY MOTIONS
                      FILED BY CREDITORS THE AFFILIATI NETWORK, INC. AND
                      SANJAY PALTA AGAINST THE DEBTOR AND MS. CHRISTINE
                      NAUD TO BE HEARD ON April 27, 2022 AT 2:30 P.M. Filed by
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#        Date         Proceeding Text                                                         Source
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)448 Motion FOR (1) ORDER COMPELLING
                      DEBTOR TO PRODUCE FURTHER DOCUMENTS
                      RESPONSIVE TO RULE 2004 DOCUMENT REQUESTS
                      PURSUANT TO MOTION FOR 2004 EXAMINATION (dkt 43);
                      AND (2) FOR ORDER AWARDING ATTORNEY FEES AND
                      COSTS TO THE MOVANTS; MEMORANDUM OF POINTS AN).).
                      (Havkin, Stella) (Entered: 04/06/2022)
451      04/06/2022   Notice of Hearing Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)448 Motion FOR (1)
                      ORDER COMPELLING DEBTOR TO PRODUCE FURTHER
                      DOCUMENTS RESPONSIVE TO RULE 2004 DOCUMENT
                      REQUESTS PURSUANT TO MOTION FOR 2004 EXAMINATION
                      (dkt 43); AND (2) FOR ORDER AWARDING ATTORNEY FEES
                      AND COSTS TO THE MOVANTS; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Havkin, Stella) (Entered: 04/06/2022)
452      04/07/2022   Proof of service Amended Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)448 Motion FOR (1)
                      ORDER COMPELLING DEBTOR TO PRODUCE FURTHER
                      DOCUMENTS RESPONSIVE TO RULE 2004 DOCUMENT
                      REQUESTS PURSUANT TO MOTION FOR 2004 EXAMINATION
                      (dkt 43); AND (2) FOR ORDER AWARDING ATTORNEY FEES
                      AND COSTS TO THE MOVANTS; MEMORANDUM OF POINTS
                      AN). (Havkin, Stella) (Entered: 04/07/2022)
453      04/07/2022   Proof of service Amended Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)451 Notice of
                      Hearing (BK Case)). (Havkin, Stella) (Entered: 04/07/2022)
454      04/07/2022   Declaration re: Corrected Supplemental Declaration Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)443 Declaration). (Havkin, Stella) (Entered:
                      04/07/2022)
455      04/07/2022   Order Setting Hearing Dates For Discovery Disputes (BNC-PDF)
                      (Related Doc # 435 ) Signed on 4/7/2022 (Fisher, Liliana)
                      (Entered: 04/07/2022)
456      04/07/2022   Hearing Set (Re: Dkt No. 388 and Dkt. No. 397 Status hearing to
                      be held on 4/19/2022 at 10:00AM at Crtrm 303, 21041 Burbank
                      Blvd, Woodland Hills, CA 91367. The hearing judge is Geraldine
                      Mund (Fisher, Liliana) (Entered: 04/07/2022)
457      04/07/2022   Notice to Filer of Error and/or Deficient Document
                      Incorrect/Incomplete PDF was attached to the docket entry.
                      Document was filed without proper face page that includes Case
                      name, case number, caption, etc. THE FILER IS INSTRUCTED
                      TO RE-FILE THE DOCUMENT WITH THE CORRECT PDF
                      IMMEDIATELY. (RE: related document(s)444 Errata filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) (Garcia,
                      Patty) (Entered: 04/07/2022)
458      04/07/2022   Hearing Set (Re: #435) The Hearing date is set for 5/24/2022 at
                      10:00AM at Crtrm 303, 21041 Burbank Blvd, Woodland Hills, CA
                      91367. The hearing judge is Geraldine Mund (Fisher, Liliana)
                      (Entered: 04/07/2022)
459      04/07/2022   Notice of Remote Video Appearance information Via
                      ZoomGov.com, Re order setting Hearing Dates for Discovery
                      Disputes - (Status Conference) (BNC-PDF) (Related Doc # 455 )
                      Signed on 4/7/2022 (Fisher, Liliana) (Entered: 04/07/2022)
460      04/07/2022   Notice of Remote Video Appearance information Via
                      ZoomGov.com, Re: Motions (BNC-PDF) (Related Doc # 455 )
                      Signed on 4/7/2022 (Fisher, Liliana) (Entered: 04/07/2022)
461      04/08/2022   Notice of Rescheduled Hearings Originally Scheduled for April 27,
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#        Date         Proceeding Text                                                       Source
                      2022 at 2:30 p.m. (Docket Nos. 440 and 448) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)440 Motion FOR ORDER: (1.) OVERRULING
                      OBJECTIONS BY DEBTOR AND HIS COUNSEL MADE AT
                      DEBTORS 2004 EXAMINATION; (2.) REQUIRING DEBTOR TO
                      APPEAR AND GIVE TESTIMONY WITHOUT OBSTRUCTIONIST
                      OBJECTIONS BY DEBTOR AND HIS COUNSEL; (3)
                      APPOINTMENT OF A DISCOVERY REFEREE AND (4.) FOR
                      AWARD OF ATTORNEY FEES AND COSTS; MEMORANDUM
                      OF POINTS AND AUTHORITIES Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc., 448 Motion FOR (1) ORDER
                      COMPELLING DEBTOR TO PRODUCE FURTHER
                      DOCUMENTS RESPONSIVE TO RULE 2004 DOCUMENT
                      REQUESTS PURSUANT TO MOTION FOR 2004 EXAMINATION
                      (dkt 43); AND (2) FOR ORDER AWARDING ATTORNEY FEES
                      AND COSTS TO THE MOVANTS; MEMORANDUM OF POINTS
                      AND AUTHORITIES Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Havkin, Stella) (Entered: 04/08/2022)
462      04/08/2022   Errata Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)445 Errata, 457 Notice to Filer of Error
                      and/or Deficient Document). (Attachments: # 1 Index Part 2)
                      (Havkin, Stella) (Entered: 04/08/2022)
463      04/08/2022   Notice of Hearing Notice of Re-Schedule Hearing Regarding
                      Christine Naud''s Motion for Protective Order Re: Discovery
                      Originally Scheduled for April 27, 2022 [Docket 446] With Proof of
                      Service Filed by Debtor Joseph Wanamaker (RE: related
                      document(s)446 Motion for Protective Order Notice of Motion and
                      Motion for Protective Order Re: Discovery; Memorandum of Points
                      and Authorities; Supporting Declarations of David Reiner,
                      Christine Naud, Damon Mosler, Owen Nunez, David McMenomey,
                      Ather Ahmed, and Peter M. Lively (with Proof of Service) Filed by
                      Attorney Christine Naud (Attachments: # 1 Volume(s))). (Lively,
                      Peter) (Entered: 04/08/2022)
464      04/08/2022   Hearing Set (RE: related document(s)440 Generic Motion filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) The
                      Hearing date is set for 5/24/2022 at 10:00AM at Crtrm 303, 21041
                      Burbank Blvd, Woodland Hills, CA 91367. The hearing judge is
                      Geraldine Mund (Garcia, Patty) (Entered: 04/08/2022)
465      04/08/2022   Hearing Set (RE: related document(s)448 Generic Motion filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) The
                      Hearing date is set for 5/24/2022 at 10:00AM at Crtrm 303, 21041
                      Burbank Blvd, Woodland Hills, CA 91367. The hearing judge is
                      Geraldine Mund (Garcia, Patty) (Entered: 04/08/2022)
466      04/09/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)455 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 04/09/2022. (Admin.) (Entered: 04/09/2022)
467      04/09/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)459 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 04/09/2022. (Admin.) (Entered: 04/09/2022)
468      04/09/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)460 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 04/09/2022. (Admin.) (Entered: 04/09/2022)
469      04/11/2022   Motion to Approve Compromise Under Rule 9019 With Notice of
                      Opportunity To Request A Hearing On Motion with proof of service
                      Filed by Trustee Amy L Goldman (TR) (Pena, Leonard)
                      WARNING: Item subsequently amended by docket entry #470.
                      Modified on 4/12/2022 (Garcia, Patty). (Entered: 04/11/2022)
470      04/12/2022   Notice to Filer of Error and/or Deficient Document Document filed
                      without electronic /s/ or holographic signatures. THE FILER IS
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                      INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                      PROPER SIGNATURES. (RE: related document(s)469 Motion to
                      Approve Compromise Under Rule 9019 filed by Trustee Amy L
                      Goldman (TR)) (Garcia, Patty) (Entered: 04/12/2022)
471      04/12/2022   Motion to Approve Compromise Under Rule 9019 and Notice of
                      Opportunity To Request A Hearing On Motion with proof of service
                      Filed by Trustee Amy L Goldman (TR) (Pena, Leonard) (Entered:
                      04/12/2022)
472      04/15/2022   Hearing Held 4/14/22 - Ruling: Granted. (RE: related
                      document(s)401 Motion to Approve Compromise Under Rule 9019
                      filed by Trustee Amy L Goldman (TR)) (Garcia, Patty) (Entered:
                      04/15/2022)
473      04/18/2022   Notice of lodgment with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)401 Motion to Approve
                      Compromise Under Rule 9019 Re: Trustee''s Motion For Order
                      Approving: (1) Settlement Agreement Between Chapter 7 Trustee
                      And Ronald Thomas; And (2) Approving Form Of Settlement
                      Agreement; Declaration Of Amy L. Goldman In Support Thereof
                      and Notice Of Opportunity To Request A Hearing On Motion [Lbr
                      9013-1(O)] with proof of service Filed by Trustee Amy L Goldman
                      (TR)). (Pena, Leonard) (Entered: 04/18/2022)
474      04/19/2022   Order Setting Dates For Filings And For The Hearings On RHW
                      Discovery Motions (BNC-PDF) (Related Doc # 397 ) Signed on
                      4/19/2022 (Fisher, Liliana) (Entered: 04/19/2022)
475      04/20/2022   Order Granting Motion Approving Settlement Agreement Between
                      Chapter 7 Trustee And Ronald Thomas. (BNC-PDF) (Related Doc
                      # 401) Signed on 4/20/2022. (Garcia, Patty) (Entered: 04/20/2022)
476      04/21/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)474 Order (Generic) (BNC-PDF)) No. of Notices: 1.
                      Notice Date 04/21/2022. (Admin.) (Entered: 04/21/2022)
477      04/22/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)475 Order on Motion to Approve Compromise Under
                      Rule 9019 (BNC-PDF)) No. of Notices: 1. Notice Date 04/22/2022.
                      (Admin.) (Entered: 04/22/2022)
478      04/24/2022   Ex parte application By Creditors, The Affiliati Network, Inc. And
                      Sanjay Palta, For Order Without Hearing Resetting Dates For The
                      Continued 2004 Examinations Of Joseph Wanamaker And
                      Christine Naud; Declaration of Brett Of B. Curlee In Support
                      Thereof (Proof of Service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (Curlee, Brett) (Entered: 04/24/2022)
479      04/24/2022   Notice of lodgment (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)478 Ex parte application By Creditors, The Affiliati
                      Network, Inc. And Sanjay Palta, For Order Without Hearing
                      Resetting Dates For The Continued 2004 Examinations Of Joseph
                      Wanamaker And Christine Naud; Declaration of Brett Of B. Curlee
                      In Support Thereof (Proof of Service) Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      04/24/2022)
480      04/24/2022   Ex parte application By Creditors, The Affiliati Network, Inc. And
                      Sanjay Palta For Order To Extend Deadline To File A Complaint
                      Under 11 U.S.C. 523 AND 727 From May 13, 2022 To August 1,
                      2022; Declaration of Brett B. Curlee In Support Thereof (with proof
                      of service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc. (Curlee, Brett) (Entered: 04/24/2022)
481      04/24/2022   Notice of lodgment of Order (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)480 Ex parte application By Creditors, The Affiliati
                      Network, Inc. And Sanjay Palta For Order To Extend Deadline To
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#        Date         Proceeding Text                                                         Source
                      File A Complaint Under 11 U.S.C. 523 AND 727 From May 13,
                      2022 To August 1, 2022; Declaration of Brett B. Curlee In Support
                      Thereof (with proof of service) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc.). (Curlee, Brett) (Entered: 04/24/2022)
482      04/25/2022   Hearing Set (RE: related document(s)478 Ex parte application
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      The Hearing date is set for 4/26/2022 at 01:30PM at Crtrm 301,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The hearing
                      judge is Geraldine Mund (Fisher, Liliana) (Entered: 04/25/2022)
483      04/25/2022   Hearing Set (RE: related document(s)480 Ex parte application
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      The Hearing date is set for 4/26/2022 at 01:30PM at Crtrm 302,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The hearing
                      judge is Geraldine Mund (Fisher, Liliana) (Entered: 04/25/2022)
484      04/25/2022   Notice of Hearing Scheduled for April 26, 2022 at 1:30 p.m. (with
                      proof of service Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)478 Ex parte application
                      By Creditors, The Affiliati Network, Inc. And Sanjay Palta, For
                      Order Without Hearing Resetting Dates For The Continued 2004
                      Examinations Of Joseph Wanamaker And Christine Naud;
                      Declaration of Brett Of B. Curlee In Support Thereof (Proof of
                      Service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.). (Curlee, Brett) (Entered: 04/25/2022)
485      04/25/2022   Notice of Hearing on April 26, 2022 at 1:30 p.m. (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (RE: related document(s)480 Ex parte application By Creditors,
                      The Affiliati Network, Inc. And Sanjay Palta For Order To Extend
                      Deadline To File A Complaint Under 11 U.S.C. 523 AND 727
                      From May 13, 2022 To August 1, 2022; Declaration of Brett B.
                      Curlee In Support Thereof (with proof of service) Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc.). (Curlee, Brett)
                      (Entered: 04/25/2022)
486      04/25/2022   Notice of Hearing (AMENDED AND CORRECTED TO INCLUDE
                      MISSING SIGNATURE)(Amends the Notice at docket no.
                      484)(with proof of service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)478 Ex parte
                      application By Creditors, The Affiliati Network, Inc. And Sanjay
                      Palta, For Order Without Hearing Resetting Dates For The
                      Continued 2004 Examinations Of Joseph Wanamaker And
                      Christine Naud; Declaration of Brett Of B. Curlee In Support
                      Thereof (Proof of Service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc.). (Curlee, Brett) (Entered: 04/25/2022)
487      04/25/2022   Opposition to (related document(s): 471 Motion to Approve
                      Compromise Under Rule 9019 and Notice of Opportunity To
                      Request A Hearing On Motion with proof of service filed by
                      Trustee Amy L Goldman (TR)) Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (Havkin, Stella) (Entered: 04/25/2022)
488      04/25/2022   Request for judicial notice in Support of Opposition Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)487 Opposition). (Havkin, Stella) (Entered:
                      04/25/2022)
489      04/25/2022   Declaration re: of Sanjay Palta in Support of Limited Opposition
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)487 Opposition). (Havkin, Stella) (Entered:
                      04/25/2022)
490      04/25/2022   Declaration re: of John Menchaca in support of limited opposition
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)487 Opposition). (Attachments: # 1 Index Part
                      2) (Havkin, Stella) (Entered: 04/25/2022)
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#        Date         Proceeding Text                                                        Source
491      04/25/2022   Request for judicial notice Supplemental in support of limited
                      opposition Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc. (RE: related document(s)487 Opposition). (Havkin, Stella)
                      (Entered: 04/25/2022)
492      04/25/2022   Declaration re: of Travis Corder in Support of Limited Opposition
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)487 Opposition). (Havkin, Stella) (Entered:
                      04/25/2022)
493      04/26/2022   Notice of Hearing with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)469 Motion to Approve
                      Compromise Under Rule 9019 With Notice of Opportunity To
                      Request A Hearing On Motion with proof of service Filed by
                      Trustee Amy L Goldman (TR) (Pena, Leonard) WARNING: Item
                      subsequently amended by docket entry #470. Modified on
                      4/12/2022.). (Pena, Leonard) (Entered: 04/26/2022)
494      04/26/2022   Notice of Hearing Re: Supplemental Notice of Hearing to Be Held
                      Remotely Using ZoomGov Audio and Video with proof of service
                      Filed by Trustee Amy L Goldman (TR) (RE: related
                      document(s)471 Motion to Approve Compromise Under Rule 9019
                      and Notice of Opportunity To Request A Hearing On Motion with
                      proof of service Filed by Trustee Amy L Goldman (TR)). (Pena,
                      Leonard) (Entered: 04/26/2022)
495      04/26/2022   Hearing Set (RE: related document(s)471 Motion to Approve
                      Compromise Under Rule 9019 filed by Trustee Amy L Goldman
                      (TR)) The Hearing date is set for 5/12/2022 at 01:30 PM at Crtrm
                      301, 21041 Burbank Blvd, Woodland Hills, CA 91367. The case
                      judge is Victoria S. Kaufman (Garcia, Patty) Modified on
                      4/26/2022 (Cetulio, Julie). (Entered: 04/26/2022)
496      04/26/2022   Order Granting Ex Parte Application by creditors, The Affiliati
                      Network, Inc. And Sanjay Palta for order without hearing resetting
                      dates for the continued 2004 Examination of Joseph Wanamaker
                      and Christine Naud (BNC-PDF) (Related Doc # 478 ) Signed on
                      4/26/2022 (Gonzalez, Emma) (Entered: 04/26/2022)
497      04/26/2022   Order Granting Ex parte Application by creditors, The Affiliati
                      Network, Inc. and Sanjay Palta, for order to Extend Deadline to file
                      a Complaint under 11 U.S.C. section 523 and 727 from May 13,
                      2022 to August 1, 2022. (BNC-PDF) (Related Doc # 480 ) Signed
                      on 4/26/2022 (Gonzalez, Emma) (Entered: 04/26/2022)
498      04/28/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)496 Order on Generic Motion (BNC-PDF)) No. of
                      Notices: 1. Notice Date 04/28/2022. (Admin.) (Entered:
                      04/28/2022)
499      04/28/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)497 Order on Generic Motion (BNC-PDF)) No. of
                      Notices: 1. Notice Date 04/28/2022. (Admin.) (Entered:
                      04/28/2022)
500      04/29/2022   Errata Notice of Errata Re: Notice of Motion and Motion for
                      Protective Order Re: Discovery With Proof of Service Filed by
                      Debtor Joseph Wanamaker (RE: related document(s)446 Motion
                      for Protective Order Notice of Motion and Motion for Protective
                      Order Re: Discovery; Memorandum of Points and Authorities;
                      Supporting Declarations of David Reiner, Christine Naud, Damon
                      Mosler, Owen Nunez, David McMenomey, Ather Ahmed, and
                      Pet). (Lively, Peter) (Entered: 04/29/2022)
501      04/29/2022   Declaration re: Declaration of Peter M. Lively Identifying Mrs.
                      Naud''s Recently Filed Discovery Dispute Document(s) for the
                      Court''s Review Prior to The Schedule Hearing With Proof of
                      Service Filed by Debtor Joseph Wanamaker (RE: related
                      document(s)446 Motion for Protective Order Notice of Motion and
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#        Date         Proceeding Text                                                          Source
                      Motion for Protective Order Re: Discovery; Memorandum of Points
                      and Authorities; Supporting Declarations of David Reiner,
                      Christine Naud, Damon Mosler, Owen Nunez, David McMenomey,
                      Ather Ahmed, and Pet, 455 Order (Generic) (BNC-PDF), 500
                      Errata). (Lively, Peter) (Entered: 04/29/2022)
502      04/29/2022   Statement re: Movants'' LIst of Pleadings for the Court in
                      Connection with Discovery Motions to be Heard on June 7, 2022
                      Submitted Pursuant to the Court''s Order (dkt 474) (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network, Inc..
                      (Curlee, Brett) (Entered: 04/29/2022)
503      04/29/2022   Statement by Movants of List of Additional Discovery that the
                      Debtor and Ms. Christine Naud should be ordered to produce
                      pursuant to the Discovery Motions Scheduled for hearing on June
                      7, 2022 (with proof service) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc.. (Curlee, Brett) (Entered: 04/29/2022)
504      05/02/2022   Amended Schedule C: The Property You Claimed as Exempt
                      (Official Form 106C) With Proof of Service Filed by Debtor Joseph
                      Wanamaker. (Lively, Peter) (Entered: 05/02/2022)
505      05/03/2022   Request for CD of Court Proceedings for 4/19/2022. Fee Amount
                      $32, Filed by Creditors Sanjay Palta , The Affiliati Network, Inc. .
                      (PG) (Entered: 05/03/2022)
506      05/03/2022   Request for CD of Court Proceedings for 4/26/2022 . Fee Amount
                      $32, Filed by Creditors Sanjay Palta , The Affiliati Network, Inc. .
                      (PG) (Entered: 05/03/2022)
         05/03/2022   Receipt of Tape Duplication Fee - $64.00 by 12. Receipt Number
                      10076209. (admin) (Entered: 05/03/2022)
507      05/05/2022   Notice of Proposed Abandonment of Property of the Estate
                      /Notice of Chapter 7 Trustee''s Intention to Abandon Estate
                      Property [11 U.S.C. 554(a); LBR 6007-1] Filed by Trustee Amy L
                      Goldman (TR). (Goldman (TR), Amy) (Entered: 05/05/2022)
508      05/05/2022   Stipulation By Sanjay Palta, The Affiliati Network, Inc. and the
                      Debtor to Take Affiliati Network, Inc. and Sanjay Paltas Motion
                      (dkts 313, 323) Objecting to the Debtors Wildcard Exemption re
                      Amended Schedule C Dkt #290 Off Calendar as the Matter is Now
                      Moot Filed by Creditors Sanjay Palta, The Affiliati Network, Inc.
                      (Curlee, Brett) (Entered: 05/05/2022)
509      05/05/2022   Notice of lodgment of Order on Stipulation (with proof of service)
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE:
                      related document(s)508 Stipulation By Sanjay Palta, The Affiliati
                      Network, Inc. and the Debtor to Take Affiliati Network, Inc. and
                      Sanjay Paltas Motion (dkts 313, 323) Objecting to the Debtors
                      Wildcard Exemption re Amended Schedule C Dkt #290 Off
                      Calendar as the Matter is Now Moot Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Curlee, Brett) (Entered:
                      05/05/2022)
510      05/05/2022   Reply to (related document(s): 487 Opposition filed by Creditor
                      Sanjay Palta, Creditor The Affiliati Network, Inc.) with proof of
                      service Filed by Trustee Amy L Goldman (TR) (Pena, Leonard)
                      (Entered: 05/05/2022)
511      05/06/2022   Order Re Stipulation to Take Affiliati Network, Inc. and Sanjay
                      Palta''s Motion Objecting to the Debtor''s Wildcard Exemption Re
                      Amended Schedule C [Dkt #290] Off Calendar as the Matter is
                      Now Moot (BNC-PDF) (Related Doc # 508 ) Signed on 5/6/2022
                      (JC) (Entered: 05/06/2022)
512      05/08/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)511 Stipulation and ORDER thereon (BNC-PDF)) No.
                      of Notices: 1. Notice Date 05/08/2022. (Admin.) (Entered:
                      05/08/2022)
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513      05/13/2022   Hearing Held 5/12/22 - RULING: motion granted. (RE: related
                      document(s)471 Motion to Approve Compromise Under Rule 9019
                      filed by Trustee Amy L Goldman (TR)) (JC) (Entered: 05/13/2022)
514      05/14/2022   Notice of lodgment with proof of service Filed by Trustee Amy L
                      Goldman (TR) (RE: related document(s)471 Motion to Approve
                      Compromise Under Rule 9019 and Notice of Opportunity To
                      Request A Hearing On Motion with proof of service Filed by
                      Trustee Amy L Goldman (TR)). (Pena, Leonard) (Entered:
                      05/14/2022)
515      05/16/2022   Objection (related document(s): 514 Notice of Lodgment filed by
                      Trustee Amy L Goldman (TR)) Form of Proposed Order (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Curlee, Brett) (Entered: 05/16/2022)
516      05/16/2022   Notice of lodgment of Alternative Proposed Order on Motion to
                      Compromise Controversy betweeen the Chapter 7 Trustee and
                      Ship Plus Logistics (with proof of service) Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)469 Motion to Approve Compromise Under Rule 9019
                      With Notice of Opportunity To Request A Hearing On Motion with
                      proof of service Filed by Trustee Amy L Goldman (TR) (Pena,
                      Leonard) WARNING: Item subsequently amended by docket entry
                      #470. Modified on 4/12/2022., 514 Notice of lodgment with proof
                      of service Filed by Trustee Amy L Goldman (TR) (RE: related
                      document(s)471 Motion to Approve Compromise Under Rule 9019
                      and Notice of Opportunity To Request A Hearing On Motion with
                      proof of service Filed by Trustee Amy L Goldman (TR))., 515
                      Objection (related document(s): 514 Notice of Lodgment filed by
                      Trustee Amy L Goldman (TR)) Form of Proposed Order (with
                      proof of service) Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc.). (Curlee, Brett) (Entered: 05/16/2022)
517      05/17/2022   Order Granting Motion Approving Settlement Agreement Between
                      Chapter 7 Trustee and Ship Plus Logistics. (BNC-PDF) (Related
                      Doc # 471) Signed on 5/17/2022. (PG) (Entered: 05/17/2022)
518      05/19/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)517 Order on Motion to Approve Compromise Under
                      Rule 9019 (BNC-PDF)) No. of Notices: 1. Notice Date 05/19/2022.
                      (Admin.) (Entered: 05/19/2022)
519      05/24/2022   Opposition to (related document(s): 409 Motion For Contempt
                      FOR ORDER HOLDING CHRISTINE NAUD IN CONTEMPT OF
                      COURT (FRCP 45(g)) AFTER HEARING, (1.) OVERRULING
                      OBJECTIONS BY MS. NAUD AND HER COUNSEL MADE AT
                      2004 EXAMINATION; (2.) COMPELLING MS. NAUD TO
                      APPEAR AND GIVE TESTIMONY WITHOUT OBSTR filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc., 410
                      Notice of motion/application filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc., 430 Motion For Contempt FOR
                      (1) ORDER TO SHOW CAUSE WHY CHRISTINE NAUD
                      SHOULD NOT BE HELD IN CONTEMPT FOR REFUSING TO
                      PRODUCE DOCUMENTS; (2) ORDER HOLDING CHRISTINE
                      NAUD IN CONTEMPT AND ORDERING HER TO PRODUCE
                      RESPONSIVE DOCUMENTS; AND (3) FOR ORDER AWAR filed
                      by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc., 433
                      Notice of motion/application filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc., 440 Motion FOR ORDER: (1.)
                      OVERRULING OBJECTIONS BY DEBTOR AND HIS COUNSEL
                      MADE AT DEBTORS 2004 EXAMINATION; (2.) REQUIRING
                      DEBTOR TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTRUCTIONIST OBJECTIONS BY DEBTOR AND HIS
                      COUNSEL; (3) APPOINTMENT OF A DISCOVERY R filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc., 448
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#        Date         Proceeding Text                                                         Source
                      Motion FOR (1) ORDER COMPELLING DEBTOR TO PRODUCE
                      FURTHER DOCUMENTS RESPONSIVE TO RULE 2004
                      DOCUMENT REQUESTS PURSUANT TO MOTION FOR 2004
                      EXAMINATION (dkt 43); AND (2) FOR ORDER AWARDING
                      ATTORNEY FEES AND COSTS TO THE MOVANTS;
                      MEMORANDUM OF POINTS AN filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc.) Omnibus Opposition to
                      Request For Attorneys Fees in Connection with all of Movants''
                      Motions to Compel Against the Debtor and Christine Naud, and
                      Declaration of David B. Lally, Esq. with Proof of Service Filed by
                      Attorney David Lally (Lally, David) (Entered: 05/24/2022)
         05/24/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
                      Option) (RE: related document(s) 440 GENERIC MOTION filed
                      by The Affiliati Network, Inc.) Hearing to be held on 06/07/2022 at
                      10:00 AM 21041 Burbank Blvd Woodland Hills, CA 91367 for 440
                      , (LF1) (Entered: 05/24/2022)
         05/24/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
                      Option) (RE: related document(s) 448 GENERIC MOTION filed
                      by The Affiliati Network, Inc.) Hearing to be held on 06/07/2022 at
                      10:00 AM 21041 Burbank Blvd Woodland Hills, CA 91367 for 448
                      , (LF1) (Entered: 05/24/2022)
520      05/24/2022   Hearing Set Re: #202 Motion For Contempt by Creditors The
                      Affiliati Network, Inc. and Sanjay Palta for OSC Re Contempt and
                      Then to Hold 2004 Examinee, Christine Naud, in Contempt of
                      Court for Refusing to Produce Bank Records and Tax Returns
                      from and After 1/1/2016 Pursuant to Production Requests 40 and
                      43 in Exhibit 1 to the Subpoena Served 6/22/2020 (with proof of
                      service) Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc.) The Hearing date is set for 6/7/2022 at 10:00AM at Crtrm
                      302, 21041 Burbank Blvd, Woodland Hills, CA 91367. The hearing
                      judge is Geraldine Mund (LF1) (Entered: 05/24/2022)
521      05/24/2022   Hearing Set (RE: related document(s)430 Motion for Contempt
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      The Hearing date is set for 6/7/2022 at 10:00AM at Crtrm 302,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The hearing
                      judge is Geraldine Mund (LF1) (Entered: 05/24/2022)
522      05/24/2022   Hearing Set (RE: related document(s)409 Motion for Contempt
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      The Hearing date is set for 6/7/2022 at 10:00 AM at Crtrm 302,
                      21041 Burbank Blvd, Woodland Hills, CA 91367. The case judge
                      is Victoria S. Kaufman (LF1) CORRECTION: THIS MATTER WILL
                      NOT BE HEARD BY JUDGE KAUFMAN. PLEASE SEE BELOW
                      FOR HEARING INFORMATION. Modified on 5/24/2022 (LF1).
                      (Entered: 05/24/2022)
523      05/24/2022   Hearing Set (RE: related document(s)446 Motion for Protective
                      Order filed by Attorney Christine Naud) The Hearing date is set for
                      6/7/2022 at 10:00 AM at Crtrm 302, 21041 Burbank Blvd,
                      Woodland Hills, CA 91367. The case judge is Victoria S. Kaufman
                      (LF1) CORRECTION: THIS MATTER WILL NOT BE HEARD BY
                      JUDGE KAUFMAN. PLEASE SEE BELOW FOR HEARING
                      INFORMATION. Modified on 5/24/2022 (LF1). (Entered:
                      05/24/2022)
         05/24/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
                      Option) (RE: related document(s) 409 MOTION FOR CONTEMPT
                      filed by The Affiliati Network, Inc.) Hearing to be held on
                      06/07/2022 at 10:00 AM 21041 Burbank Blvd Woodland Hills, CA
                      91367 for 409, The hearing judge is Geraldine Mund(LF1)
                      (Entered: 05/24/2022)
         05/24/2022   Hearing Rescheduled/Continued (Motion) (BK Case - BNC
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                      Option) (RE: related document(s) 446 MOTION FOR
                      PROTECTIVE ORDER filed by Christine Naud) Hearing to be held
                      on 06/07/2022 at 10:00 AM 21041 Burbank Blvd Woodland Hills,
                      CA 91367 for 446, The hearing judge is Geraldine Mund (LF1)
                      (Entered: 05/24/2022)
524      05/24/2022   Opposition to (related document(s): 446 Motion for Protective
                      Order Notice of Motion and Motion for Protective Order Re:
                      Discovery; Memorandum of Points and Authorities; Supporting
                      Declarations of David Reiner, Christine Naud, Damon Mosler,
                      Owen Nunez, David McMenomey, Ather Ahmed, and Pet filed by
                      Attorney Christine Naud) Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (Havkin, Stella) (Entered: 05/24/2022)
525      05/24/2022   Declaration re: OMNIBUS THIRD SUPPLEMENTAL
                      DECLARATION OF TRAVIS A. CORDER IN SUPPORT OF
                      OPPOSITION Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)524 Opposition). (Havkin,
                      Stella) (Entered: 05/24/2022)
526      05/24/2022   Request for judicial notice OMNIBUS SUPPLEMENTAL
                      REQUEST FOR JUDICIAL NOTICE Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)524
                      Opposition). (Havkin, Stella) (Entered: 05/24/2022)
527      05/24/2022   Objection (related document(s): 446 Motion for Protective Order
                      Notice of Motion and Motion for Protective Order Re: Discovery;
                      Memorandum of Points and Authorities; Supporting Declarations
                      of David Reiner, Christine Naud, Damon Mosler, Owen Nunez,
                      David McMenomey, Ather Ahmed, and Pet filed by Attorney
                      Christine Naud, 524 Opposition filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc.) Evidentiary Objections to
                      Declarations filed in support of Motion for Protective Order Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 05/24/2022)
528      05/24/2022   Opposition to (related document(s): 440 Motion FOR ORDER: (1.)
                      OVERRULING OBJECTIONS BY DEBTOR AND HIS COUNSEL
                      MADE AT DEBTORS 2004 EXAMINATION; (2.) REQUIRING
                      DEBTOR TO APPEAR AND GIVE TESTIMONY WITHOUT
                      OBSTRUCTIONIST OBJECTIONS BY DEBTOR AND HIS
                      COUNSEL; (3) APPOINTMENT OF A DISCOVERY R filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) Debtors
                      Opposition to Motion by the Affiliati Network Inc. and Sanjay Palta
                      for (1) Order Overuling Objections by Debtor and His Counsel
                      Made at Debtors 2004 Examination, (2) Requiring Debtor to
                      Appear and Give Testimony Without Obstructionist Objections by
                      Debtor and His Counsel, (3) Appointment of a Discovery Referee,
                      and (4) for Award of Attorney Fees and Costs With Proof of
                      Service Filed by Debtor Joseph Wanamaker (Lively, Peter)
                      (Entered: 05/24/2022)
529      05/24/2022   Opposition to (related document(s): 409 Motion For Contempt
                      FOR ORDER HOLDING CHRISTINE NAUD IN CONTEMPT OF
                      COURT (FRCP 45(g)) AFTER HEARING, (1.) OVERRULING
                      OBJECTIONS BY MS. NAUD AND HER COUNSEL MADE AT
                      2004 EXAMINATION; (2.) COMPELLING MS. NAUD TO
                      APPEAR AND GIVE TESTIMONY WITHOUT OBSTR filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      Respondent Christine Nauds Opposition to Motion by the Affiliati
                      Network Inc. and Sanjay Palta for Order Holding Christine Naud in
                      Contempt of Court after Hearing (1) Overruling Objections by Ms.
                      Naud and Her Counsel Made at 2004 Axamination (2) Compelling
                      Ms. Naud to Appear and Give Testimony Without Obstructionist
                      by Ms. Naud and Her Counsel (3) and Awarding Attorney Fees
                      and Cost With Proof of Service Filed by Debtor Joseph
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                      Wanamaker (Lively, Peter) (Entered: 05/24/2022)
530      05/24/2022   Opposition to (related document(s): 448 Motion FOR (1) ORDER
                      COMPELLING DEBTOR TO PRODUCE FURTHER
                      DOCUMENTS RESPONSIVE TO RULE 2004 DOCUMENT
                      REQUESTS PURSUANT TO MOTION FOR 2004 EXAMINATION
                      (dkt 43); AND (2) FOR ORDER AWARDING ATTORNEY FEES
                      AND COSTS TO THE MOVANTS; MEMORANDUM OF POINTS
                      AN filed by Creditor Sanjay Palta, Creditor The Affiliati Network,
                      Inc.) Debtors Opposition to Motion by the Affiliati Network Inc. and
                      Sanjay Palta for (1) Order Compelling Debtor to Produce
                      Documents Responsive to Rule 2004 Document Requests
                      Pursuant to Motion for 2004 Examination and (2) for Order
                      Awarding Attorney Fees and Costs to the Movants Filed by Debtor
                      Joseph Wanamaker (Lively, Peter) (Entered: 05/24/2022)
531      05/24/2022   Opposition to (related document(s): 430 Motion For Contempt
                      FOR (1) ORDER TO SHOW CAUSE WHY CHRISTINE NAUD
                      SHOULD NOT BE HELD IN CONTEMPT FOR REFUSING TO
                      PRODUCE DOCUMENTS; (2) ORDER HOLDING CHRISTINE
                      NAUD IN CONTEMPT AND ORDERING HER TO PRODUCE
                      RESPONSIVE DOCUMENTS; AND (3) FOR ORDER AWAR filed
                      by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      Respondent Christine Nauds Opposition to Motion by the Affiliati
                      Network Inc. and Sanjay Palta for (1) Order to Show Cause Why
                      Christine Naud Should Not Be Held in Contempt for Refusing to
                      Produce Documents, (2) Order Holding Christine Naud in
                      Contempt and Ordering Her to Produce Responsive Documents,
                      and (3) for Order Awarding Attorney Fees and Costs to Movant for
                      Bringing this Motion Filed by Debtor Joseph Wanamaker (Lively,
                      Peter) (Entered: 05/24/2022)
532      05/24/2022   Declaration re: Omnibus Declaration of Peter M. Lively in Support
                      of Debtors and Mrs. Nauds Opposition to The Affiliati Network Inc.
                      And Sanjay Paltas Discovery Motions With Proof of Service Filed
                      by Debtor Joseph Wanamaker (RE: related document(s)528
                      Opposition, 529 Opposition, 530 Opposition, 531 Opposition).
                      (Lively, Peter) (Entered: 05/24/2022)
533      05/24/2022   Declaration re: Omnibus Declaration of Christine Naud in Support
                      of Debtors and Mrs. Nauds Opposition to The Affiliati Network Inc.
                      And Sanjay Paltas Discovery Motions With Proof of Service Filed
                      by Debtor Joseph Wanamaker (RE: related document(s)528
                      Opposition, 529 Opposition, 530 Opposition, 531 Opposition).
                      (Attachments: # 1 Exhibit Part 2) (Lively, Peter) (Entered:
                      05/25/2022)
534      05/25/2022   Declaration re: Omnibus Declaration of Joseph Wanamaker in
                      Support of Debtors and Mrs. Nauds Opposition to The Affiliati
                      Network Inc. And Sanjay Paltas Discovery Motions With Proof of
                      Service Filed by Debtor Joseph Wanamaker (RE: related
                      document(s)528 Opposition, 529 Opposition, 530 Opposition, 531
                      Opposition). (Attachments: # 1 Exhibit Part 2 # 2 Exhibit Part 3 # 3
                      Exhibit Part 4) (Lively, Peter) (Entered: 05/25/2022)
535      05/25/2022   Declaration re: Debtors and Mrs. Nauds Omnibus Statements of
                      Facts in Support of Their Opposition to The Affiliati Network Inc.
                      And Sanjay Paltas Discovery Motions With Proof of Service Filed
                      by Debtor Joseph Wanamaker (RE: related document(s)528
                      Opposition, 529 Opposition, 530 Opposition, 531 Opposition, 532
                      Declaration, 533 Declaration, 534 Declaration). (Lively, Peter)
                      (Entered: 05/25/2022)
536      05/27/2022   Ex parte application FOR ORDERS WITHOUT HEARING
                      RESETTING HEARING DATE ON DISCOVERY MOTIONS
                      DOCKET NUMBERS 202, 409, 430, 440, 446, 448. AND
                      EXTENDING DEADLINE TO FILE REPLIES; DECLARATION OF
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#        Date         Proceeding Text                                                        Source
                      BRETT CURLEE Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (Havkin, Stella) (Entered: 05/27/2022)
537      05/27/2022   Notice of lodgment of Proposed Order Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc. (RE: related document(s)536 Ex
                      parte application FOR ORDERS WITHOUT HEARING
                      RESETTING HEARING DATE ON DISCOVERY MOTIONS
                      DOCKET NUMBERS 202, 409, 430, 440, 446, 448. AND
                      EXTENDING DEADLINE TO FILE REPLIES; DECLARATION OF
                      BRETT CURLEE). (Havkin, Stella) (Entered: 05/27/2022)
538      05/27/2022   Order Denying Ex Parte Application by creditors, The Affiliati
                      Network, Inc. and Sanjay Palta, for orders without hearing
                      resetting hearing date on discovery motions docket,
                      202,409,430,440,446, and 448 (BNC-PDF) (Related Doc # 536 )
                      Signed on 5/27/2022 (EG) (Entered: 05/27/2022)
539      05/29/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)538 Order on Generic Motion (BNC-PDF)) No. of
                      Notices: 1. Notice Date 05/29/2022. (Admin.) (Entered:
                      05/29/2022)
540      06/06/2022   Notice of Waiver Of Claim Nos. 28 and 29 of Ronald Thomas with
                      proof of service Filed by Trustee Amy L Goldman (TR). (Pena,
                      Leonard) (Entered: 06/06/2022)
541      06/07/2022   Tentative Ruling On The Following Motions: Docket Numbers:
                      202, 409, 430, 440, 446, 448, 455 (BNC-PDF) (Related Doc #
                      202 ) Signed on 6/7/2022 (LF1) (Entered: 06/07/2022)
542      06/07/2022   Order Denying Without Prejudice The Following Motions: Docket
                      Numbers: 202, 409, 430, 440, 446, 448, 455 (BNC-PDF) (Related
                      Doc # 202 409 430 440 446 448 455 ) Signed on 6/7/2022
                      (LF1) (Entered: 06/07/2022)
543      06/09/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)541 Order on Motion for Contempt (BNC-PDF)) No.
                      of Notices: 1. Notice Date 06/09/2022. (Admin.) (Entered:
                      06/09/2022)
544      06/09/2022   BNC Certificate of Notice - PDF Document. (RE: related
                      document(s)542 Order on Motion for Contempt (BNC-PDF)) No.
                      of Notices: 1. Notice Date 06/09/2022. (Admin.) (Entered:
                      06/09/2022)
545      07/26/2022   Motion TO CLARIFY RELIEF FROM STAY ORDER TO
                      PROCEED AGAINST AFTER ACQUIRED PROPERTY OF THE
                      DEBTOR (Dkt 40); DECLARATIONS OF RUBEN E. SOCARRAS
                      AND STELLA HAVKIN IN SUPPORT THEREOF Filed by
                      Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin, Stella)
                      (Entered: 07/26/2022)
546      07/26/2022   Notice of Hearing Filed by Creditors Sanjay Palta, The Affiliati
                      Network, Inc. (RE: related document(s)545 Motion TO CLARIFY
                      RELIEF FROM STAY ORDER TO PROCEED AGAINST AFTER
                      ACQUIRED PROPERTY OF THE DEBTOR (Dkt 40);
                      DECLARATIONS OF RUBEN E. SOCARRAS AND STELLA
                      HAVKIN IN SUPPORT THEREOF Filed by Creditors Sanjay
                      Palta, The Affiliati Network, Inc.). (Havkin, Stella) (Entered:
                      07/26/2022)
547      07/26/2022   Notice Supplemental Notice of Remote Hearing Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s)545 Motion TO CLARIFY RELIEF FROM STAY
                      ORDER TO PROCEED AGAINST AFTER ACQUIRED
                      PROPERTY OF THE DEBTOR (Dkt 40); DECLARATIONS OF
                      RUBEN E. SOCARRAS AND STELLA HAVKIN IN SUPPORT
                      THEREOF Filed by Creditors Sanjay Palta, The Affiliati Network,
                      Inc., 546 Notice of Hearing Filed by Creditors Sanjay Palta, The
                      Affiliati Network, Inc. (RE: related document(s)545 Motion TO
      Case 1:22-ap-01038-VK      Doc 29 Filed 10/17/22 Entered 10/17/22 17:09:41 Desc
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#        Date         Proceeding Text                                                          Source
                      CLARIFY RELIEF FROM STAY ORDER TO PROCEED
                      AGAINST AFTER ACQUIRED PROPERTY OF THE DEBTOR
                      (Dkt 40); DECLARATIONS OF RUBEN E. SOCARRAS AND
                      STELLA HAVKIN IN SUPPORT THEREOF Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc.).). (Havkin, Stella)
                      (Entered: 07/26/2022)
548      07/26/2022   Hearing Set (RE: related document(s)545 Generic Motion filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) The
                      Hearing date is set for 8/17/2022 at 09:30 AM at Crtrm 301, 21041
                      Burbank Blvd, Woodland Hills, CA 91367. The case judge is
                      Victoria S. Kaufman (JC) (Entered: 07/26/2022)
549      07/26/2022   Request for CD of Court Proceedings . Fee Amount $32, Filed by
                      Debtor Joseph Wanamaker . (LF1) (Entered: 07/26/2022)
550      07/26/2022   Notice of Filing of Signature Page Filed by Creditors Sanjay Palta,
                      The Affiliati Network, Inc. (RE: related document(s)545 Motion TO
                      CLARIFY RELIEF FROM STAY ORDER TO PROCEED
                      AGAINST AFTER ACQUIRED PROPERTY OF THE DEBTOR
                      (Dkt 40); DECLARATIONS OF RUBEN E. SOCARRAS AND
                      STELLA HAVKIN IN SUPPORT THEREOF Filed by Creditors
                      Sanjay Palta, The Affiliati Network, Inc.). (Havkin, Stella) (Entered:
                      07/26/2022)
         07/26/2022   Receipt of Tape Duplication Fee - $32.00 by 12. Receipt Number
                      10076305. (admin) (Entered: 07/26/2022)
551      07/30/2022   Adversary case 1:22-ap-01038. Complaint by The Affiliati
                      Network, Inc., Sanjay Palta against Joseph Wanamaker. Fee
                      Amount $350 with Cover Sheet Nature of Suit: (62
                      (Dischargeability - 523(a)(2), false pretenses, false representation,
                      actual fraud)),(68 (Dischargeability - 523(a)(6), willful and
                      malicious injury)),(41 (Objection / revocation of discharge -
                      727(c),(d),(e))) (Curlee, Brett) (Entered: 07/30/2022)
552      08/01/2022   Notice of sale of estate property (LBR 6004-2) Lithographs by
                      artists Mr. Brainwash (1) and Bob Dylan (2) Filed by Trustee Amy
                      L Goldman (TR). (Pena, Leonard) (Entered: 08/01/2022)
553      08/01/2022   Notice Of Intent To Sell Estate Property Re: Lithorgraphs
                      Identified As: 1. Grand Ali (Pink), 2017 By Artist Mr. Brainwash;
                      And 2. Two Lithographs By Artist Bob Dylan with proof of service
                      Filed by Trustee Amy L Goldman (TR). (Pena, Leonard) (Entered:
                      08/01/2022)
554      08/03/2022   Opposition to (related document(s): 545 Motion TO CLARIFY
                      RELIEF FROM STAY ORDER TO PROCEED AGAINST AFTER
                      ACQUIRED PROPERTY OF THE DEBTOR (Dkt 40);
                      DECLARATIONS OF RUBEN E. SOCARRAS AND STELLA
                      HAVKIN IN SUPPORT THEREOF filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc.) Debtors Opposition to Motion
                      by the Affiliati Network, Inc. and Sanjay Palta to Clarify Relief from
                      Stay Order to Proceed Againts after Acquire Property of the
                      Debtor; Memorandum of Points and Authorities and Declaration of
                      David P. Reiner, II in Support Thereof with Proof of Service Filed
                      by Debtor Joseph Wanamaker (Lively, Peter) (Entered:
                      08/03/2022)
555      08/04/2022   Notice of Proposed Abandonment of Property of the Estate with
                      proof of service Filed by Trustee Amy L Goldman (TR). (Pena,
                      Leonard) (Entered: 08/04/2022)
556      08/08/2022   Transcript Order Form, regarding Hearing Date 06/07/2022 Filed
                      by Creditors Sanjay Palta, The Affiliati Network, Inc. (RE: related
                      document(s) Hearing Rescheduled/Continued (Motion) (BK Case -
                      BNC Option)). (Havkin, Stella) (Entered: 08/08/2022)
557      08/09/2022   Transcript Record Transmittal (Court transcript records have been
                      uploaded to FDS). For Order Number: 22-VK-014. RE Hearing
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#        Date         Proceeding Text                                                         Source
                      Date: 06/07/2022, [TRANSCRIPTION SERVICE PROVIDER:
                      Briggs Reporting, Telephone number 1310-410-4151.] (RE:
                      related document(s)556 Transcript Order Form (Public Request)
                      filed by Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.)
                      (JC) (Entered: 08/09/2022)
558      08/09/2022   Reply to (related document(s): 545 Motion TO CLARIFY RELIEF
                      FROM STAY ORDER TO PROCEED AGAINST AFTER
                      ACQUIRED PROPERTY OF THE DEBTOR (Dkt 40);
                      DECLARATIONS OF RUBEN E. SOCARRAS AND STELLA
                      HAVKIN IN SUPPORT THEREOF filed by Creditor Sanjay Palta,
                      Creditor The Affiliati Network, Inc.) Request for Judicial Notice
                      Filed by Creditors Sanjay Palta, The Affiliati Network, Inc. (Havkin,
                      Stella) (Entered: 08/09/2022)
559      08/17/2022   See attached PDF Re Court''s Ruling at hearing held on 8/17/22
                      at 9:30 AM. (RE: related document(s)545 Generic Motion filed by
                      Creditor Sanjay Palta, Creditor The Affiliati Network, Inc.) (PG)
                      (Entered: 08/17/2022)
560      08/18/2022   Notice of lodgment Notice of Lodgment of Order Denying the
                      Affiliati Network Incs and Sanjay Paltas Motion to Clarify Relief
                      from Stay Order to Proceed Against after Acquired Property of the
                      Debtor (Dkt 40) With Proof of Service Filed by Debtor Joseph
                      Wanamaker (RE: related document(s)545 Motion TO CLARIFY
                      RELIEF FROM STAY ORDER TO PROCEED AGAINST AFTER
                      ACQUIRED PROPERTY OF THE DEBTOR (Dkt 40);
                      DECLARATIONS OF RUBEN E. SOCARRAS AND STELLA
                      HAVKIN IN SUPPORT THEREOF). (Lively, Peter) (Entered:
                      08/18/2022)
561      08/30/2022   Request for courtesy Notice of Electronic Filing (NEF) Filed by
                      Cawdrey, Jeffrey. (Cawdrey, Jeffrey) (Entered: 08/30/2022)
562      08/30/2022   Request for courtesy Notice of Electronic Filing (NEF) for Annie C.
                      Matthews Filed by Cawdrey, Jeffrey. (Cawdrey, Jeffrey) (Entered:
                      08/30/2022)
563      08/30/2022   Transcript regarding Hearing Held 06/07/22 RE: MOTION FOR
                      ORDER: (1.) OVERRULING OBJECTIONS BY DEBTOR AND
                      HIS COUNSEL MADE AT DEBTORS 2004 EXAMINATION; (2.)
                      REQUIRING DEBTOR TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTRUCTIONIST OBJECTIONS BY DEBTOR AND
                      HIS COUNSEL; (3) APPOINTMENT OF A DISCOVERY
                      REFEREE AND (4.) FOR AWARD OF ATTORNEY FEES AND
                      COSTS MOTION FOR CONTEMPT BY CREDITORS THE
                      AFFILIATI NETWORK, INC. AND SANJAY PALTA FOR OSC RE
                      CONTEMPT AND THEN TO HOLD 2004 EXAMINEE,
                      CHRISTINE NAUD, IN CONTEMPT OF COURT FOR REFUSING
                      TO PRODUCE BANK RECORDS AND TAX RETURNS FROM
                      AND AFTER 1/1/2016 PURSUANT TO PRODUCTION
                      REQUESTS 40 AND 43 IN EXHIBIT 1 TO THE SUBPOENA
                      SERVED 6/22/2020 MOTION BY AFFILIATI NETWORK, INC.
                      AND SANJAY PALTA FOR ORDER HOLDING CHRISTINE
                      NAUD IN CONTEMPT OF COURT (FRCP 45(g)) AFTER
                      HEARING, (1) OVERRULING OBJECTIONS BY MS. NAUD AND
                      HER COUNSEL MADE AT 2004 EXAMINATION; (2)
                      COMPELLING MS. NAUD TO APPEAR AND GIVE TESTIMONY
                      WITHOUT OBSTRUCTIONIST OBJECTIONS BY MS. NAUD OR
                      HER COUNSEL; AND (3) AWARDING ATTORNEY FEES AND
                      COSTS; MEMORANDUM OF POINT AND AUTHORITIES
                      MOTION FOR PROTECTIVE ORDER RE: DISCOVERY;
                      MEMORANDUM OF POINTS AND AUTHORITIES;
                      SUPPORTING DECLARATIONS OF DAVID REINER,
                      CHRISTINE NAUD, DAMON MOSLER, OWEN NUNEZ, DAVID
                      MCMENOMEY, ATHER AHMED, AND PETER M. LIVELY
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#         Date                Proceeding Text                                                    Source
                              MOTION FOR CONTEMPT FOR (1) ORDER TO SHOW CAUSE
                              WHY CHRISTINE NAUD SHOULD NOT BE HELD IN
                              CONTEMPT FOR REFUSING TO PRODUCE DOCUMENTS; (2)
                              ORDER HOLDING CHRISTINE NAUD IN CONTEMPT AND
                              ORDERING HER TO PRODUCE RESPONSIVE DOCUMENTS;
                              AND (3) FOR ORDER AWARDING ATTORNEYS FEES AND
                              COSTS TO THE MOVANT FOR BRINGING THIS MOTION;
                              MEMORANDUM OF POINTS AND AUTHORITIESMOTION FOR
                              (1) ORDER COMPELLING DEBTOR TO PRODUCE FURTHER
                              DOCUMENTS RESPONSIVE TO RULE 2004 DOCUMENT
                              REQUESTS PURSUANT TO MOTION FOR 2004 EXAMINATION
                              (DKT 43); AND (2) FOR ORDER AWARDING ATTORNEYS
                              FEES AND COSTS TO THE MOVANTS HEARING RE:
                              DISCOVERY MOTIONS. Remote electronic access to the
                              transcript is restricted until 11/28/2022. The transc
564       09/01/2022          Statement /Chapter 7 Trustee''s Report of Sale [Local Bankruptcy
                              Rule 6004-1(g) and; FRBP Rule 6004(f)(1)] Filed by Trustee Amy
                              L Goldman (TR). (Goldman (TR), Amy) (Entered: 09/01/2022)


Claims
Clai    Creditor       Address       Filing Info    Entered      Claimed     Other         History             Claim
m#                                                  By           Amount      Amount                            Descriptio
                                                                                                               n/
                                                                                                               Remarks
1       (40424777)     c/o Zwicker   Original       Katie E      $25483.19   Amount        1-1                 1-1 Credit
        American       and           Filing Date:   Hankard                  Claimed :     08/12/2020          card
        Express        Associates,   08/12/2020                              $25483.19     Claim #1 filed by
        National       P.C.          Original                                              American Express
        Bank,          Attorneys/    Enter Date:                                           National Bank,
        AENB           Agents for    08/12/2020                                            AENB, Amount
                       Creditor      Filed                                                 claimed:
                       P.O. Box      By: CR                                                $25483.19
                       9043                                                                Hankard, Katie
                       Andover
                       MA 01810-
                       1041
2       (40432412)     P O Box       Original       Jeffrey      $15907.55   Priority      2-1
        Bank of        982284 El     Filing Date:   Randall                  Claimed :     08/17/2020
        America,       Paso TX       08/17/2020                              $0.00         Claim #2 filed by
        N.A.           79998-        Original                                              Bank of America,
                       2238          Enter Date:                                           N.A., Amount
                                     08/17/2020                                            claimed:
                                     Filed                                                 $15907.55
                                     By: CR                                                Randall, Jeffrey
3       (40435817)     Discover      Original       Melissa L    $6720.24    Amount        3-1
        Discover       Products      Filing Date:   Wilson                   Claimed :     08/19/2020
        Bank           Inc PO Box    08/19/2020                              $6720.24      Claim #3 filed by
                       3025 New      Original                                              Discover Bank,
                       Albany        Enter Date:                                           Amount claimed:
                       Ohio          08/19/2020                                            $6720.24 Wilson,
                       43054-        Filed                                                 Melissa
                       3025          By: CR
4       (40438770)     PO Box        Original       Alex T       $5853.57    Amount        4-1
        Wells          10438,        Filing Date:   Carmichael               Claimed :     08/21/2020
        Fargo          MAC           08/21/2020                              $5853.57      Claim #4 filed by
        Bank, N.A.     F8235-02F     Original                                              Wells Fargo Bank,
                       Des           Enter Date:                                           N.A., Amount
                       Moines IA     08/21/2020                                            claimed: $5853.57
